                                                                                            Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 1 of 88 Page ID #:1



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                                                                                              8
                                                                                                                       UNITED STATES DISTRICT COURT
                                                                                              9
                                                                                                               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                                                             10

                                                                                             11   JUKIN MEDIA, INC., a California             CASE NO.
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                                  corporation,
                                                                                             12
                                                    LOS ANG ELES, CA 90067
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                                                                                                                            Plaintiff,        COMPLAINT FOR:
                                                                                             13
                                                                             310-229-9900




                                                                                                                       v.                     1) COPYRIGHT
                                                                                             14                                               INFRINGEMENT
                                                                                                  DEFY MEDIA, LLC, a Delaware limited
                                                                                             15   liability company,                          2) UNFAIR COMPETITION;
                                                                                                                                              AND
                                                                                             16                             Defendant.
                                                                                                                                              3) TORTIOUS INTERFERENCE
                                                                                             17                                               WITH PROSPECTIVE
                                                                                                                                              ECONOMIC ADVANTAGE
                                                                                             18

                                                                                             19                                               DEMAND FOR JURY TRIAL
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                                                                                                                                                                  COMPLAINT
                                                                                                  9783177-v1
                                                                                            Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 2 of 88 Page ID #:2



                                                                                              1            Plaintiff Jukin Media, Inc., for its complaint, alleges the following:
                                                                                              2                                      INTRODUCTION
                                                                                              3            1.    Jukin Media, Inc. (“Jukin”) is a digital media company headquartered
                                                                                              4   in Los Angeles, California. Jukin provides content and licensing resources for
                                                                                              5   internet video content and has a library of over 17,000 pieces of original user-
                                                                                              6   generated content. To build this library, Jukin employs eleven people full time to
                                                                                              7   discover trending and valuable content. These employees devote their time to
                                                                                              8   identifying content that will be popular and valuable – determinations that depend
                                                                                              9   on their data analysis and experience in the digital media industry. Jukin then
                                                                                             10   commits its resources to finding the correct owner of the content and acquiring or
                                                                                             11   licensing it. Once Jukin and the owner enter into a deal, Jukin actively markets the
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                             12   video to increase its value to the benefit of the creator and Jukin.
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                                                                                             13            2.    Jukin provides private individuals a way to monetize their videos by
                                                                             310-229-9900




                                                                                             14   accessing a historically difficult-to-enter market for media content, and has become
                                                                                             15   a market leader in the discovery, acquisition, monetization, licensing, and
                                                                                             16   distribution of short-form viral video content. Jukin offers a proprietary platform
                                                                                             17   that allows its partners access to its library for use in various commercial
                                                                                             18   applications. Jukin also offers curated video collections via its themed YouTube
                                                                                             19   channels and content-focused websites, and independently produces or co-
                                                                                             20   produces content displayed on broadcast television and other traditional means of
                                                                                             21   media distribution.
                                                                                             22            3.    Jukin also employs a rights management team to actively mitigate the
                                                                                             23   effects of lost revenue to its video owners by seeking licenses or advertising
                                                                                             24   revenue monetization from infringing parties.
                                                                                             25            4.    Despite notice of Jukin’s proprietary rights, Defendant Defy Media,
                                                                                             26   LLC (“Defendant” or “Defy”) has and continues to willfully infringe Jukin’s rights
                                                                                             27   by copying Jukin’s videos without permission or a license to do so.
                                                                                             28                                        THE PARTIES
                                                                                                                                               1
                                                                                                                                                                              COMPLAINT
                                                                                                  9783177-v1
                                                                                            Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 3 of 88 Page ID #:3



                                                                                              1            5.    Plaintiff Jukin Media, Inc. is a California corporation with its
                                                                                              2   principal place of business in Los Angeles, California.
                                                                                              3            6.    On information and belief, Defendant Defy Media, LLC is a Delaware
                                                                                              4   limited liability company with two offices in California, located at 5757 Wilshire
                                                                                              5   Blvd. #300, Los Angeles, California 90036 and 8750 Wilshire Blvd #200, Beverly
                                                                                              6   Hills, California 90211.
                                                                                              7            7.    Defendant operates a website at www.Break.com (“Break.com”) that
                                                                                              8   displays articles, photographs, and videos uploaded by third party users and, upon
                                                                                              9   information and belief, by Defendant’s own staff. Defendant also produces a
                                                                                             10   YouTube channel titled “Break” that broadcasts compilation videos containing
                                                                                             11   videos obtained from third-party sources.
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                                                                                             12                              JURISDICTION AND VENUE
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                                                                                             13            8.    This Complaint arises in part under the Copyright Act, 17 U.S.C. §
                                                                             310-229-9900




                                                                                             14   101 et seq. Accordingly, this Court has subject matter jurisdiction pursuant to 28
                                                                                             15   U.S.C. §§ 1331, 1338, 1367.
                                                                                             16            9.    Defy is subject to the personal jurisdiction of this Court because,
                                                                                             17   among other things, Defy is doing business in the state of California, and the acts
                                                                                             18   of infringement complained of in this Complaint took place in the state of
                                                                                             19   California.
                                                                                             20            10.   Venue is proper in this judicial district pursuant to 28 U.S.C. §
                                                                                             21   1391(b)(2) because a substantial part of the events that give rise to this Complaint
                                                                                             22   occurred in this judicial district.
                                                                                             23                               FACTUAL ALLEGATIONS
                                                                                             24            11.   Jukin invests in substantial research and analytical efforts to discover
                                                                                             25   short-form viral videos that it believes may be interesting to the public. Jukin’s
                                                                                             26   eleven full time employees research and evaluate videos, on a case-by-case basis,
                                                                                             27   that are likely to be popular and valuable, i.e., have the potential to go viral. For
                                                                                             28   every 400 videos it reviews, only about 20 are considered for acquisition. Jukin
                                                                                                                                              2
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                                                                                                  9783177-v1
                                                                                            Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 4 of 88 Page ID #:4



                                                                                              1   then either licenses or acquires the right to use the videos, or portions thereof, in
                                                                                              2   various commercial applications. Jukin often acquires these rights on an exclusive
                                                                                              3   basis. Jukin monetizes these videos through advertising revenue and by licensing
                                                                                              4   to various distribution channels for use in advertisements, entertainment
                                                                                              5   productions, news programs, and other productions desirous of short-form content.
                                                                                              6   For purposes of this Complaint, videos acquired or licensed by Jukin will be
                                                                                              7   referred to as the “Jukin Original Videos” or simply the “Original Videos.”
                                                                                              8            12.   Jukin also monetizes the Original Videos via broadcast on Jukin’s
                                                                                              9   own branded YouTube channels, on several of its websites including
                                                                                             10   www.JukinVideo.com, and through other partners such as Vessel. Jukin may also
                                                                                             11   re-publish certain videos in order to increase their distribution. When Jukin
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                             12   republishes the Original Videos, it typically does so almost immediately after
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                                                                                             13   acquiring the rights to these videos so that it can expand the virality of the videos
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                                                                                             14   and increase its revenue generated therefrom.
                                                                                             15            13.   Jukin’s in-house rights management team spends significant time
                                                                                             16   searching the internet for infringing copies of its Original Videos and identifying
                                                                                             17   persistent infringers. Once infringing content has been identified, the rights
                                                                                             18   management team contacts the infringer and works diligently to try resolving the
                                                                                             19   infringement through a licensing agreement.
                                                                                             20            14.   By acquiring the rights to these Original Videos in exchange for a
                                                                                             21   license fee or a share of net proceeds earned from the videos, Jukin provides a way
                                                                                             22   for individuals to maximize the potential of their videos in a manner that they
                                                                                             23   would not be able to otherwise do on their own. Individual video owners are
                                                                                             24   unlikely to have the full resources, knowledge, or contacts to fully monetize their
                                                                                             25   videos, increase views of their videos (from which increased revenue may be
                                                                                             26   derived), or enforce their rights against infringers like Defendant.
                                                                                             27                         Break.com and Jukin’s Correspondence
                                                                                             28            15.   Defendant operates a website known as Break.com and also operates
                                                                                                                                             3
                                                                                                                                                                             COMPLAINT
                                                                                                  9783177-v1
                                                                                            Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 5 of 88 Page ID #:5



                                                                                              1   an affiliated “Break” YouTube channel featuring Break.com videos (see
                                                                                              2   www.youtube.com/user/break).
                                                                                              3            16.   Break.com operates as a content aggregation site, where its editors, as
                                                                                              4   well as third party users, upload videos, images, and news content. The bulk of the
                                                                                              5   content featured on Break.com consists of video. The Break.com site is accessible
                                                                                              6   via the web, including via applications available on iTunes, Android devices,
                                                                                              7   XBOX, Roku, and other similar methods of distribution. With respect to the
                                                                                              8   infringing videos on Break.com, each method of distribution constitutes a new and
                                                                                              9   different infringement of the same Jukin Original Video.
                                                                                             10            17.   Many of Break.com’s videos, including its videos posted to the Break
                                                                                             11   YouTube channel, are Jukin Original Videos.
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                                                                                             12            18.   Defendant takes an active role in selecting the videos to be posted on
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                                                                                             13   Break.com. According to Break.com’s website, “Our editors constantly comb
                                                                             310-229-9900




                                                                                             14   through videos that are sent to us and promote ones that we think would resonate
                                                                                             15   well with our users,” and “We scour the internet to find the best content for you.”
                                                                                             16   See www.break.com/corp/faq.
                                                                                             17            19.   On information and belief, at least some, if not all, of the Break.com
                                                                                             18   users posting Jukin Original Videos are employees or agents of Defendant. This
                                                                                             19   contention is supported by the following facts:
                                                                                             20                     a. nearly all of the individual Break.com users (found as of the
                                                                                             21                        time of filing) whose accounts posted hundreds of infringing
                                                                                             22                        videos have been members of Break.com since the website’s
                                                                                             23                        earliest beginnings (2005 to 2007);
                                                                                             24                     b. nearly all of these users have failed to provide any personal
                                                                                             25                        information that could actually identify them (most do not
                                                                                             26                        include their true names, lack profile pictures, and state their
                                                                                             27                        location as simply “U.S.”);
                                                                                             28                     c. several of the Break.com infringing videos were posted by
                                                                                                                                              4
                                                                                                                                                                             COMPLAINT
                                                                                                  9783177-v1
                                                                                            Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 6 of 88 Page ID #:6



                                                                                              1                        “Break.com Staff” rather than an apparently individual user;
                                                                                              2                     d. all of the captions for these Break.com infringing videos are in
                                                                                              3                        English, even though many of the videos themselves are in
                                                                                              4                        other languages, suggesting that the Break.com user posting the
                                                                                              5                        video was not the person who created the video;
                                                                                              6                     e. the same Break.com users often post several videos in different
                                                                                              7                        languages, suggesting that the Break.com user posting the
                                                                                              8                        videos was not the person who created the videos;
                                                                                              9                     f. all of the titles of the Break.com infringing videos mentioned
                                                                                             10                        herein share similar characteristics (for example, every word in
                                                                                             11                        the titles is always capitalized, and similar grammatical and
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                             12                        punctuation style is used consistently across all of the videos),
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                                                                                             13                        suggesting that the same user is posting or editing all of them;
                                                                             310-229-9900




                                                                                             14                        and
                                                                                             15                     g. the Break.com infringing videos are almost always posted
                                                                                             16                        within days of their publication by Jukin, suggesting that the
                                                                                             17                        Break.com uploader is tracking Jukin’s activities.
                                                                                             18            20.   Additionally, several of the Jukin Original Videos contain Jukin
                                                                                             19   watermarks or end credits featuring a link to Jukin’s website. Defendant’s versions
                                                                                             20   of these videos also contain the Jukin watermarks and Jukin end credits. As a
                                                                                             21   result, it is obvious that these videos were copied directly from Jukin.
                                                                                             22            21.   Defendant has a pattern and practice of infringing Jukin’s videos. On
                                                                                             23   information and belief, Defendant tracks Jukin’s video posting behaviors in Jukin’s
                                                                                             24   various distribution locations and copies Jukin’s videos shortly after Jukin
                                                                                             25   publishes them. Defendant’s pattern and practice is intended to capture the most
                                                                                             26   value from Jukin Original Videos due to the timely nature of the videos, and
                                                                                             27   because the most value generated from Jukin Original Videos occurs in the initial
                                                                                             28   days and weeks of the content’s virality when the videos are their most popular and
                                                                                                                                             5
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                                                                                                  9783177-v1
                                                                                            Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 7 of 88 Page ID #:7



                                                                                              1   most in-demand by third parties.
                                                                                              2            22.   For a period of time, and only with respect to videos appearing on
                                                                                              3   YouTube, Jukin and Defendant were able to resolve many disputes either because
                                                                                              4   Defendant stopped using infringing videos or, in a limited number of cases,
                                                                                              5   Defendant was able to show it licensed rights to the video from the original owner.
                                                                                              6   None of these videos are the subject of Jukin’s claims in this lawsuit. Furthermore,
                                                                                              7   this present matter concerns claims entirely separate from any prior agreements
                                                                                              8   with Defendant resolving past disputes arising from Defendant’s copyright
                                                                                              9   infringement on YouTube.
                                                                                             10            23.   Beginning in December 2013, Jukin began to send take-down requests
                                                                                             11   to Break.com pursuant to the Digital Millennium Copyright Act (“DMCA”), which
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                             12   put Defendant on notice of its infringing activity, and requested Defendant to
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                                                                                             13   remove the infringing videos from Break.com.
                                                                             310-229-9900




                                                                                             14            24.   In 2014, however, the volume of Defendant’s infringing videos
                                                                                             15   needing to be reported via the DMCA process became overwhelming, and DMCA
                                                                                             16   notices did not appear to hamper Defendant’s infringing activities. Defendant was
                                                                                             17   still able to take advantage of and profit from its infringement of a Jukin Original
                                                                                             18   Video for the several days preceding its processing of a DMCA take-down request.
                                                                                             19   In many instances, Defendant was taking advantage of the most valuable period of
                                                                                             20   time since the first days and weeks of a video’s posting is typically when it is most
                                                                                             21   viewed.
                                                                                             22            25.   To date, Defendant has continually uploaded new infringing videos to
                                                                                             23   Break.com, despite Jukin’s frequent objections and notices of infringement.
                                                                                             24            26.   Defendant presently is infringing upon over 300 Original Videos.
                                                                                             25            27.   Defendant has previously paid to Jukin $1,000.00 for a single
                                                                                             26   infringing use of a Jukin Original Video in relation to a YouTube production.
                                                                                             27            28.   Defendant’s actions with respect to its infringements on Break.com
                                                                                             28   are not good-faith misunderstandings of the source of the infringed content. The
                                                                                                                                             6
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                                                                                                  9783177-v1
                                                                                            Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 8 of 88 Page ID #:8



                                                                                              1   Jukin Original Videos often include licensing information in the description of the
                                                                                              2   video on YouTube, e.g. “Jukin Media Verified (Original) *For licensing/
                                                                                              3   permission to use: Contact: licensing@jukinmedia.com.” Even if such licensing
                                                                                              4   information is not included in the video, Defendant has no right under the law to
                                                                                              5   copy the Jukin Original Videos without first contacting the apparent video owner
                                                                                              6   to seek permission for use.
                                                                                              7            29.   In addition, Defendant has sought to compete with Jukin and obtain
                                                                                              8   licenses from individual video creators by spreading false and misleading rumors
                                                                                              9   about Jukin and its business practices, in order to deter such video creators from
                                                                                             10   licensing the video to Jukin.
                                                                                             11                                   Jukin’s Infringed Videos
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                             12            30.   Defendant has a clear pattern and practice of copying Jukin’s Original
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                                                                                             13   Videos, as detailed below (collectively, the “Infringing Videos”). As evidenced
                                                                             310-229-9900




                                                                                             14   below, Defendant often publishes the Infringing Videos within days of Jukin’s
                                                                                             15   publication of the Jukin Original Videos.
                                                                                             16            31.   INFRINGEMENT #1: Jukin acquired the rights to “MOMMYS BIG
                                                                                             17   SECRET :) THIS IS A MUST SEE!!!!!” on August 20, 2014, available at
                                                                                             18   https://www.youtube.com/watch?v=hmQN95ROBcI, and incorporated by
                                                                                             19   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                             20   Jukin also obtained copyright registration number PA0001927265 for this video.
                                                                                             21   See Exhibit A.
                                                                                             22            32.   On August 28, 2014, Defendant posted the video entitled “Some Kids
                                                                                             23   Weren’t Made To Be Big Brothers” at http://www.break.com/video/some-kids-
                                                                                             24   werent-made-to-be-big-brothers-2752545 and incorporated by reference herein.
                                                                                             25   “Some Kids Weren’t Made To Be Big Brothers” copies the entirety of the
                                                                                             26   “MOMMYS BIG SECRET[…]” video.
                                                                                             27            33.   INFRINGEMENT #2: Jukin acquired the rights to “Boxer Dog goes
                                                                                             28   NUTS!” on August 28, 2014, available at
                                                                                                                                              7
                                                                                                                                                                           COMPLAINT
                                                                                                  9783177-v1
                                                                                            Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 9 of 88 Page ID #:9



                                                                                              1   https://www.youtube.com/watch?v=U8Jx7xHId-A, and incorporated by reference
                                                                                              2   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                              3   obtained copyright registration number PA0001925201 this video. See Exhibit B.
                                                                                              4            34.   On September 10, 2014, Defendant posted the video entitled “Dog Vs
                                                                                              5   Gator, Sort Of” at http://www.break.com/video/boxer-vs-gator-sort-of-2757403,
                                                                                              6   and incorporated by reference herein. “Dog Vs. Gator, Sort Of” copies the entirety
                                                                                              7   of the “Boxer Dog goes NUTS!” video.
                                                                                              8            35.   INFRINGEMENT #3: Jukin acquired the rights to “Road worker
                                                                                              9   trick fail” on September 7, 2014, available at
                                                                                             10   https://www.youtube.com/watch?v=YE8jU6Q7v8c, and incorporated by reference
                                                                                             11   herein. Jukin subsequently republished this video on its own channel. Jukin also
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                             12   obtained copyright registration number PA0001927282 for this video. See Exhibit
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                                                                                             13   C.
                                                                             310-229-9900




                                                                                             14            36.   On September 7, 2014, Defendant posted a video entitled “This Stupid
                                                                                             15   Road Worker Trick Is Exactly Why Road Construction Takes Forever” at
                                                                                             16   http://www.break.com/video/fail-road-worker-trick-shovel-and-construction-hat-
                                                                                             17   2756335 and incorporated by reference herein. “This Stupid Road Worker
                                                                                             18   Trick…” copies the entirety of the “Road worker trick fail” video.
                                                                                             19            37.   INFRINGEMENT #4: Jukin acquired the rights to “Dog thinks
                                                                                             20   terrace door is closed” on September 27, 2014, available at
                                                                                             21   https://www.youtube.com/watch?v=udbMNZDQS48, and incorporated by
                                                                                             22   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                             23   Jukin also obtained copyright registration number PA0001927283 for this video.
                                                                                             24   See Exhibit D.
                                                                                             25            38.   On September 29, 2014, Defendant posted a video entitled “World’s
                                                                                             26   Dumbest Dog Doesn’t Realize The Door Is Already Open” at
                                                                                             27   http://www.break.com/video/dog-doesnt-realize-the-door-is-already-open-2765776
                                                                                             28   and incorporated by reference herein. “World’s Dumbest Dog Doesn’t Realize
                                                                                                                                            8
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                                                                                                  9783177-v1
                                                                                 Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 10 of 88 Page ID #:10



                                                                                             1   The Door Is Already Open” copies the entirety of the “Dog thinks terrace door is
                                                                                             2   closed” video.
                                                                                             3            39.   INFRINGEMENT #5: Jukin acquired the rights to “500 Smith &
                                                                                             4   Wesson tree fail” on October 20, 2014, available at
                                                                                             5   https://www.youtube.com/watch?v=fA9nTNelQ6o, and incorporated by reference
                                                                                             6   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             7   obtained copyright registration number PA0001927271 for this video. See Exhibit
                                                                                             8   E.
                                                                                             9            40.   On October 29, 2014, Defendant posted a video entitled “When
                                                                                            10   Shooting Targets Target You” at http://www.break.com/video/when-shooting-
                                                                                            11   targets-target-you-2781797 and incorporated by reference herein. “When Shooting
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   Targets Target You” copies the entirety of the “500 Smith & Wesson tree fail”
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                                                                                            13   video.
                                                                             310-229-9900




                                                                                            14            41.   INFRINGEMENT #6: Jukin acquired the rights to “Groom drops
                                                                                            15   bride” on October 28, 2014, available at
                                                                                            16   https://www.youtube.com/watch?v=Z5NdssyIVA0, and incorporated by reference
                                                                                            17   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            18   obtained copyright registration number PA0001926581 for this video. See Exhibit
                                                                                            19   F.
                                                                                            20            42.   On October 27, 2014, Defendant posted a video entitled “Mr.
                                                                                            21   Butterfingers And His New Wife” at http://www.break.com/video/mr-
                                                                                            22   butterfingers-and-his-new-wife-2781115 and incorporated by reference herein.
                                                                                            23   “Mr. Butterfingers And His New Wife” copies the entirety of the “Groom drops
                                                                                            24   bride” video. Upon information and belief, Defendant did not obtain permission
                                                                                            25   from the video creator to post the video prior to its acquisition by Jukin.
                                                                                            26   Defendant never obtained permission from Jukin to post the video.
                                                                                            27            43.   INFRINGEMENT #7: Jukin acquired the rights to “Family on
                                                                                            28   holiday gets a surprise!” on August 22, 2014, available at
                                                                                                                                            9
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                                                                                                 9783177-v1
                                                                                 Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 11 of 88 Page ID #:11



                                                                                             1   https://www.youtube.com/watch?v=bORgo-yaGo4, and incorporated by reference
                                                                                             2   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             3   obtained copyright registration number PA0001941386 for this video. See Exhibit
                                                                                             4   G.
                                                                                             5            44.   On September 5, 2014, Defendant posted the video entitled “Dolphin
                                                                                             6   Chills With A Snorkler” at http://www.break.com/video/dolphin-chills-with-a-
                                                                                             7   snorkeler-2755911, and incorporated by reference herein. “Dolphin Chills With A
                                                                                             8   Snorkler” copies significant portions of the “Family on holiday gets a surprise!”
                                                                                             9   video.
                                                                                            10            45.   INFRINGEMENT #8: Jukin acquired the rights to “Marv turns 1” on
                                                                                            11   September 16, 2014, available at
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   https://www.youtube.com/watch?v=rIQ49A27UrI, and incorporated by reference
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                                                                                            13   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                             310-229-9900




                                                                                            14   obtained copyright registration number PA0001941398 for this video. See Exhibit
                                                                                            15   H.
                                                                                            16            46.   On September 18, 2014, Defendant posted the video entitled “Even
                                                                                            17   The Dog Is Ashamed Of This Costume” at http://www.break.com/video/even-the-
                                                                                            18   dog-is-ashamed-of-this-costume-2760308, and incorporated by reference herein.
                                                                                            19   “Even The Dog Is Ashamed Of This Costume” copies the entirety of the “Marv
                                                                                            20   turns 1” video.
                                                                                            21            47.   INFRINGEMENT #9: Jukin acquired rights to “High-Speed Canyon
                                                                                            22   Jet Ski – Lake Powell GoPro” on August 27, 2014, available at
                                                                                            23   https://www.youtube.com/watch?v= mQg3hlilED0, and incorporated by reference
                                                                                            24   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            25   obtained copyright registration number PA0001940828 for this video. See Exhibit
                                                                                            26   I.
                                                                                            27            48.   On August 27, 2014, Defendant posted a video entitled “Jet Skiing
                                                                                            28   Through A Canyon Looks A Lot Like Star Wars Racing” at
                                                                                                                                           10
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                                                                                             1   http://www.break.com/video/jet-skiing-through-a-canyon-2752098, and
                                                                                             2   incorporated by reference herein. “Jet Skiing Through A Canyon Looks A Lot
                                                                                             3   Like Star Wars Racing” copies the entirety of the “High-Speed Canyon Jet Ski”
                                                                                             4   video.
                                                                                             5            49.   INFRINGEMENT #10: Jukin acquired rights to “Cat fail – plastic
                                                                                             6   bag” on September 11, 2014, available at
                                                                                             7   https://www.youtube.com/watch?v=75XguLSFcko, and incorporated by reference
                                                                                             8   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             9   obtained copyright registration number PA0001940809 for this video. See Exhibit
                                                                                            10   J.
                                                                                            11            50.   On September 12, 2014, Defendant posted a video entitled
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   “Sometimes The Cat Wins, Sometimes The Bag Wins” at http://www.break.com/
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   video/cat-vs-plastic-bag-2758329, and incorporated by reference herein.
                                                                             310-229-9900




                                                                                            14   “Sometimes The Cat Wins” copies the entirety of the “Cat fail – plastic bag” video.
                                                                                            15            51.   INFRINGEMENT #11: Jukin acquired rights to “Dock Jump Fail –
                                                                                            16   SLO MO” on August 18, 2014, available at
                                                                                            17   https://www.youtube.com/watch?v=qQA5kG9KekE, and incorporated by
                                                                                            18   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                            19   Jukin also obtained copyright registration number PA0001940806 for this video.
                                                                                            20   See Exhibit K.
                                                                                            21            52.   On August 25, 2014, Defendant posted a video entitled “That’s A
                                                                                            22   Brutal Shot To The Goods” at http://www.break.com/video/that-s-a-brutal-shot-to-
                                                                                            23   the-goods-2751381, and incorporated by reference herein. “That’s A Brutal Shot
                                                                                            24   To The Goods” copies the entirety of the “Dock Jump Fail – SLOW MO” video.
                                                                                            25            53.   INFRINGEMENT #12: Jukin acquired rights to “Bald Eagle Toddler
                                                                                            26   has a new toy!” on August 26, 2014, available at
                                                                                            27   https://www.youtube.com/watch?v=_3K3HoiU6F4, and incorporated by reference
                                                                                            28   herein. Jukin subsequently republished this video on its own channel Jukin also
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                                                                                             1   obtained copyright registration number PA0001940803 for this video. See Exhibit
                                                                                             2   L.
                                                                                             3            54.   On August 27, 2014, Defendant posted a video entitled “This Bald
                                                                                             4   Eagle Proves America Is All About Fun In The Sprinkler” at
                                                                                             5   http://www.break.com/video/eagles-play-in-sprinklers-2752092, and incorporated
                                                                                             6   by reference herein. “This Bald Eagle Proves[…]” copies the entirety of the “Bald
                                                                                             7   Eagle Toddler has a new toy!” video.
                                                                                             8            55.   INFRINGEMENT #13: Jukin acquired rights to “Cat loves the baby
                                                                                             9   swing” on September 17, 2014, available at
                                                                                            10   https://www.youtube.com/watch?v=mU6utt9Kc0k, and incorporated by reference
                                                                                            11   herein. Jukin subsequently republished this video on its own channel. Jukin also
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   obtained copyright registration number PA0001940800 for this video. See Exhibit
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   M.
                                                                             310-229-9900




                                                                                            14            56.   On September 18, 2014, Defendant posted a video entitled “This Is
                                                                                            15   Literally All A Cat Needs To Do In Life” at http://www.break.com/video/this-is-
                                                                                            16   literally-all-a-cat-needs-to-do-in-life-2760300, and incorporated by reference
                                                                                            17   herein. “This Is Literally All A Cat Needs[…]” copies the entirety of the “Cat
                                                                                            18   loves the baby swing” video.
                                                                                            19            57.   INFRINGEMENT #14: Jukin acquired rights to “Funniest golf video
                                                                                            20   ever” on September 22, 2014, available at
                                                                                            21   https://www.youtube.com/watch?v=x_2Yl5IvleU, and incorporated by reference
                                                                                            22   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            23   obtained copyright registration number PA0001940796 for this video. See Exhibit
                                                                                            24   N.
                                                                                            25            58.   On September 23, 2014, Defendant posted a video entitled “Golf Got
                                                                                            26   The Best Of This Guy” at http://www.break.com/video/golf-got-the-best-of-this-
                                                                                            27   guy-2763959, and incorporated by reference herein. “Golf Got The Best Of This
                                                                                            28   Guy” copies the entirety of the “Funniest golf video ever” video.
                                                                                                                                          12
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                                                                                             1            59.   INFRINGEMENT #15: Jukin acquired rights to “Pomeranian
                                                                                             2   watermelon love” on September 20, 2014, available at
                                                                                             3   https://www.youtube.com/watch?v=QgsTgkxGTQo, and incorporated by reference
                                                                                             4   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             5   obtained copyright registration number PA0001940793 for this video. See Exhibit
                                                                                             6   O.
                                                                                             7            60.   On September 27, 2014, Defendant posted a video entitled “I’m Not
                                                                                             8   Positive, But I Think He Wants Some Watermelon” at https://www.youtube.com/
                                                                                             9   watch?v=QgsTgkxGTQo, and incorporated by reference herein. “I’m Not
                                                                                            10   Positive[…]” copies the entirety of the “Pomeranian watermelon love” video.
                                                                                            11            61.   INFRINGEMENT #16: Jukin acquired rights to “My dog attacks the
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   cat every time I use the ice machine” on September 24, 2014, available at
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   https://www.youtube.com/ watch?v=XbPOi67Rtps, and incorporated by reference
                                                                             310-229-9900




                                                                                            14   herein. Jukin subsequently republished this video on its own channel Jukin also
                                                                                            15   obtained copyright registration number PA0001941397 for this video. See Exhibit
                                                                                            16   P.
                                                                                            17            62.   On September 25, 2014, Defendant posted a video entitled “Poor Cat
                                                                                            18   Gets Attacked Whenever Someone Gets Ice” at http://www.break.com/video/poor-
                                                                                            19   cat-gets-attacked-whenever-someone-gets-ice-2764762, and incorporated by
                                                                                            20   reference herein. “Poor Cat[…]” copies the entirety of the “My dog attacks the
                                                                                            21   cat[…]” video.
                                                                                            22            63.   INFRINGEMENT #17: Jukin acquired rights to “Smart German
                                                                                            23   Shepherd: Twitch Letting Sophie Out of Her Kennel” on September 16, 2014,
                                                                                            24   available at https://www.youtube.com/watch?v=3Q6fEJOH7R0, and incorporated
                                                                                            25   by reference herein. Jukin also obtained copyright registration number
                                                                                            26   PA0001941401 for this video. See Exhibit Q.
                                                                                            27            64.   On September 22, 2014, Defendant posted a video entitled “This
                                                                                            28   German Shepherd Pulls A Houdini Act With Her Friend” at
                                                                                                                                          13
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                                                                                             1   http://www.break.com/video/german-shepherd-pulls-a-houdini-act-with-her-
                                                                                             2   friend-2763590, and incorporated by reference herein. “This German Shepherd
                                                                                             3   Pulls A Houdini Act[…]” copies the entirety of the “Smart German Shepherd[…]”
                                                                                             4   video.
                                                                                             5            65.   INFRINGEMENT #18: Jukin acquired rights to “Hua Shan plank
                                                                                             6   walk – Harness?” on September 12, 2014, available at
                                                                                             7   https://www.youtube.com/watch?v=Wd-T_YTfxDs, and incorporated by
                                                                                             8   reference. Jukin subsequently republished this video on its own channel. Jukin
                                                                                             9   also obtained copyright registration number PA0001941393 for this video. See
                                                                                            10   Exhibit R.
                                                                                            11            66.   On September 20, 2014, Defendant posted a video entitled “Who
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                                                                                            12   Wants To Try The Hua Shan Plank Walk With No Harness?” at
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   http://www.break.com/video/the-hua-shan-plank-walk-with-no-harness-2762640,
                                                                             310-229-9900




                                                                                            14   and incorporated by reference herein. “Who Wants To Try[…]” copies the entirety
                                                                                            15   of the “Hua Shan Plank Walk – Harness?” video.
                                                                                            16            67.   INFRINGEMENT #19: Jukin acquired rights to “Knocked Out By
                                                                                            17   Yoga Ball Headshot” on May 9, 2014, available at
                                                                                            18   http://jukinvideo.com/videos/focus/comedy/knocked-out-by-yoga-ball-grant-
                                                                                            19   scott/148/36988, and incorporated by reference herein. Jukin subsequently
                                                                                            20   republished this video on its own channel. Jukin also obtained copyright
                                                                                            21   registration number PA0001941400 for this video. See Exhibit S.
                                                                                            22            68.   On September 23, 2014, Defendant posted a video entitled “Worst
                                                                                            23   Friends Ever: A Compilation” at http://www.break.com/video/worst-friends-ever-
                                                                                            24   a-compilation-2763965, and incorporated by reference herein. “Worst Friends
                                                                                            25   Ever” copies the entirety of the “Knocked Out By Yoga Ball Headshot” video.
                                                                                            26            69.   INFRINGEMENT #20: Jukin acquired rights to “bear attacks
                                                                                            27   camera” on September 27, 2014, available at
                                                                                            28   https://www.youtube.com/watch?v=YnWFRO4SNEM, and incorporated by
                                                                                                                                          14
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                                                                                             1   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                             2   Jukin also obtained copyright registration number PA0001941387 for this video.
                                                                                             3   See Exhibit T.
                                                                                             4            70.   On September 30, 2014, Defendant posted a video entitled “Bear Is A
                                                                                             5   Little Camera Shy” at http://www.break.com/video/bear-is-a-little-camera-shy-
                                                                                             6   2772648, and incorporated by reference herein. “Bear Is A Little Camera Shy”
                                                                                             7   copies the entirety of the “bear attacks camera” video.
                                                                                             8            71.   INFRINGEMENT #21: Jukin acquired rights to “Lightning Strike –
                                                                                             9   Palm Beach, FL” on September 22, 2014, available at
                                                                                            10   https://www.youtube.com/watch?v= Op8uNgjvhK4, and incorporated by reference
                                                                                            11   herein. Jukin subsequently republished this video on its own channel. Jukin also
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   obtained copyright registration number PA0001941381 for this video. See Exhibit
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   U.
                                                                             310-229-9900




                                                                                            14            72.   On September 30, 2014, Defendant posted a video entitled “And
                                                                                            15   Boom Goes The Backyard Lightning” at http://www.break.com/video/and-boom-
                                                                                            16   goes-the-backyard-lightning-2772633, and incorporated by reference herein. “And
                                                                                            17   Book Goes The Backyard Lightning” copies the entirety of the “Lightning Strike –
                                                                                            18   Palm Beach, FL” video.
                                                                                            19            73.   INFRINGEMENT #22: Jukin acquired rights to “Great Dane Opens
                                                                                            20   gate” on September 30, 2014, available at https://www.youtube.com/watch?v=Ra-
                                                                                            21   qrIAVxno, and incorporated by reference herein. Jukin subsequently republished
                                                                                            22   this video on its own channel. Jukin also obtained copyright registration number
                                                                                            23   PA0001941377 for this video. See Exhibit V.
                                                                                            24            74.   On October 3, 2014, Defendant posted a video entitled “This Great
                                                                                            25   Dane Pulls A Prison Break” at http://www.break.com/video/this-great-dane-pulls-
                                                                                            26   a-prison-break-2773743, and incorporated by reference herein. “This Great Dane
                                                                                            27   Pulls A Prison Break” copies the entirety of the “Great Dane Opens gate” video.
                                                                                            28            75.   INFRINGEMENT #23: Jukin acquired rights to “Crazy lady throws
                                                                                                                                           15
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                                                                                             1   her drink on me in front of off-duty police officer” on October 7, 2014, available at
                                                                                             2   https://www.youtube.com/watch?v=qEPx0N_jAa8, and incorporated by reference
                                                                                             3   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             4   obtained copyright registration number PA0001941383 for this video. See Exhibit
                                                                                             5   W.
                                                                                             6            76.   On October 6, 2014, Defendant posted a video entitled “Chicago Cop
                                                                                             7   Destroys Crazy Lady After She Assaults Cyclist” at
                                                                                             8   http://www.break.com/video/chicago-cop-owns-crazy-lady-after-she-assault-
                                                                                             9   cyclist-2774383, and incorporated by reference herein. “Chicago Cop Destroys
                                                                                            10   Crazy Lady[…]” copies the entirety of the “Crazy lady throws her drink on
                                                                                            11   me[…]” video. Upon information and belief, Defendant did not obtain permission
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   from the video creator to post the video prior to its acquisition by Jukin.
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   Defendant never obtained permission from Jukin to post the video.
                                                                             310-229-9900




                                                                                            14            77.   INFRINGEMENT #24: Jukin acquired rights to “just a cat giving a
                                                                                            15   presidential speech on ebola…” on October 7, 2014, available at
                                                                                            16   https://www.youtube.com/watch?v=6mTH_pYarGs, and incorporated by reference
                                                                                            17   herein. Jukin subsequently republished this video on its own channel Jukin also
                                                                                            18   obtained copyright registration number PA0001941478 for this video. See Exhibit
                                                                                            19   X.
                                                                                            20            78.   On October 8, 2014, Defendant posted a video entitled “Presidential
                                                                                            21   Cat Has Some Thoughts On Ebola” at http://www.break.com/video/presidential-
                                                                                            22   cat-has-some-thoughts-on-ebola-2775290, and incorporated by reference herein.
                                                                                            23   “Presidential Cat Has Some Thoughts On Ebola” copies the entirety of the “just a
                                                                                            24   cat giving a presidential speech on ebola[…]” video.
                                                                                            25            79.   INFRINGEMENT #25: Jukin acquired rights to “Damn cat!!” on
                                                                                            26   October 9, 2014, available at https://www.youtube.com/watch?v=0fYuYPViw_c,
                                                                                            27   and incorporated by reference herein. Jukin subsequently republished this video
                                                                                            28   on its own channel. Jukin also obtained copyright registration number
                                                                                                                                           16
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                                                                                             1   PA0001941428 for this video. See Exhibit Y.
                                                                                             2            80.   On October 16, 2014, Defendant posted a video entitled “Cats Are
                                                                                             3   The Biggest Jerks In The Animal Kingdom” at http://www.break.com/video/cats-
                                                                                             4   are-the-biggest-jerks-in-the-animal-kingdom-2777822, and incorporated by
                                                                                             5   reference herein. “Cats Are The Biggest Jerks In The Animal Kingdom” copies
                                                                                             6   the entirety of the “Damn cat!!” video.
                                                                                             7            81.   INFRINGEMENT #26: Jukin acquired rights to “upside-down
                                                                                             8   running hamster” on October 8, 2014, available at
                                                                                             9   https://www.youtube.com/watch?v=1gIH94st0mY and incorporated by reference
                                                                                            10   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            11   obtained copyright registration number PA0001941480 for this video. See Exhibit
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   Z.
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            82.   On October 15, 2014, Defendant posted a video entitled “Hamster
                                                                             310-229-9900




                                                                                            14   Wheel: Lazy Critter Edition” at http://www.break.com/video/hamster-wheel-lazy-
                                                                                            15   edition-2777568, and incorporated by reference herein. “Hamster Wheel: Lazy
                                                                                            16   Critter Edition” copies the entirety of the “upside-down running hamster” video.
                                                                                            17            83.   INFRINGEMENT #27: Jukin acquired rights to “Stella’s Leaf Pile”
                                                                                            18   on October 14, 2014, available at
                                                                                            19   https://www.youtube.com/watch?v=6s8rN9i4Gpw, and incorporated by reference
                                                                                            20   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            21   obtained copyright registration number PA0001941481 for this video. See Exhibit
                                                                                            22   AA.
                                                                                            23            84.   On October 15, 2014, Defendant posted a video entitled “Stella Loves
                                                                                            24   Playing Fetch In The Leaf Pile” at http://www.break.com/video/stella-loves-
                                                                                            25   playing-fetch-in-the-leaf-pile-2777549, and incorporated by reference herein.
                                                                                            26   “Stella Loves Playing Fetch In The Leaf Pile” copies the entirety of the “Stella’s
                                                                                            27   Leaf Pile” video.
                                                                                            28            85.   INFRINGEMENT #28: Jukin acquired rights to “red neck couch
                                                                                                                                           17
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                                                                                             1   moving” on October 15, 2014, available at
                                                                                             2   https://www.youtube.com/watch?v=cAuNCNMp0Go, and incorporated by
                                                                                             3   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                             4   Jukin also obtained copyright registration number PA0001941483 for this video.
                                                                                             5   See Exhibit BB.
                                                                                             6            86.   On October 16, 2014, Defendant posted a video entitled “Moving
                                                                                             7   Day: Redneck Edition” at http://www.break.com/video/moving-day-redneck-
                                                                                             8   edition-2777922, and incorporated by reference herein. “Moving Day: Redneck
                                                                                             9   Edition” copies the entirety of the “red neck couch moving” video.
                                                                                            10            87.   INFRINGEMENT #29: Jukin acquired rights to “TRAIN PASSING
                                                                                            11   OVER A CRAZY GUY!” on October 13, 2014, available at
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   https://www.youtube.com/watch?v= d6fwb9xWTW8, and incorporated by
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   reference herein. Jukin subsequently republished this video on its own channel.
                                                                             310-229-9900




                                                                                            14   Jukin also obtained copyright registration number PA0001941465 for this video.
                                                                                            15   See Exhibit CC.
                                                                                            16            88.   On October 16, 2014, Defendant posted a video entitled “Another
                                                                                            17   Idiot Lets A High Speed Train Pass Over Him” at http://www.break.com/video/
                                                                                            18   another-idiot-lets-a-high-speed-train-pass-over-him-2777851, and incorporated by
                                                                                            19   reference herein. “Another Idiot Lets A High Speed Train Pass Over Him” copies
                                                                                            20   the entirety of the “TRAIN PASSING OVER A CRAZY GUY!” video.
                                                                                            21            89.   INFRINGEMENT #30: Jukin acquired rights to “New GoPro 4
                                                                                            22   Black Destroyed…in 4k!” on October 15, 2014, available at
                                                                                            23   https://www.youtube.com/watch?v= F74VKHUwn8s, and incorporated by
                                                                                            24   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                            25   Jukin also obtained copyright registration number PA0001941488 for this video.
                                                                                            26   See Exhibit DD.
                                                                                            27            90.   On October 20, 2014, Defendant posted a video entitled “Awesome
                                                                                            28   New Camera Meets Terrible Piloting Skills” at http://www.break.com/video/
                                                                                                                                          18
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                                                                                             1   awesome-new-camera-meets-terrible-piloting-skills-2778955, and incorporated by
                                                                                             2   reference herein. “Awesome New Camera Meets Terrible Piloting Skills” copies
                                                                                             3   the entirety of the “New GoPro 4 Black Destroyed…in 4k!” video.
                                                                                             4            91.   INFRINGEMENT #31: Jukin acquired rights to “Bikini fail feat cute
                                                                                             5   puppy” on October 2, 2014, available at
                                                                                             6   https://www.youtube.com/watch?v=vVB8cp-t2ag, and incorporated by reference
                                                                                             7   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             8   obtained copyright registration number PA0001941493 for this video. See Exhibit
                                                                                             9   EE.
                                                                                            10            92.   On October 21, 2014, Defendant posted a video entitled “The Best
                                                                                            11   Trick A Dog Can Learn” at http://www.break.com/video/the-best-trick-a-dog-can-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   learn-2779318, and incorporated by reference herein. “The Best Trick A Dog Can
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   Learn” copies the entirety of the “Bikini fail feat cute puppy” video.
                                                                             310-229-9900




                                                                                            14            93.   INFRINGEMENT #32: Jukin acquired rights to “Duffy Dog Fetch
                                                                                            15   Fails – GoPro Hero 3” on October 20, 2014, available at
                                                                                            16   https://www.youtube.com/watch?v= mMNfAa49gTw, and incorporated by
                                                                                            17   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                            18   Jukin also obtained copyright registration number PA0001941489 for this video.
                                                                                            19   See Exhibit FF.
                                                                                            20            94.   On October 22, 2014, Defendant posted a video entitled “Catch Isn’t
                                                                                            21   Every Dog’s Strong Suit” at http://www.break.com/video/catch-isn-t-every-dog-s-
                                                                                            22   strong-suit-2779556, and incorporated by reference herein. “Catch Isn’t Every
                                                                                            23   Dog’s Strong Suit” copies the entirety of the “Duffy Dog Fetch Fails[…]” video.
                                                                                            24            95.   INFRINGEMENT #33: Jukin acquired rights to “Win perfect
                                                                                            25   timing. Thunder struck.” on October 26, 2014, available at
                                                                                            26   https://www.youtube.com/watch?v=D9IeWLuiAV4, and incorporated by reference
                                                                                            27   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            28   obtained copyright registration number PA0001941476 for this video. See Exhibit
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                                                                                             1   GG.
                                                                                             2            96.   On October 26, 2014, Defendant posted a video entitled “This
                                                                                             3   Perfectly Timed Lightning Strike Proves God Is An AC/DC Fan” at
                                                                                             4   http://www.break.com/video/lightning-strike-proves-god-is-an-acdc-fan-2780937,
                                                                                             5   and incorporated by reference herein. “This Perfectly Timed Lightning Strike[…]”
                                                                                             6   copies the entirety of the “Win perfect timing. Thunder struck.” video.
                                                                                             7            97.   INFRINGEMENT #34: Jukin acquired rights to “Bear Fight
                                                                                             8   Rockaway NJ Aug 14 2014” on October 23, 2014, available at
                                                                                             9   https://www.youtube.com/watch?v= OMYEkAFhJuw, and incorporated by
                                                                                            10   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                            11   Jukin also obtained copyright registration number PA0001941420 for this video.
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   See Exhibit HH.
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                                                                                            13            98.   On October 28, 2014, Defendant posted a video entitled “Place Your
                                                                             310-229-9900




                                                                                            14   Bets On This Bear Fight” at http://www.break.com/video/place-your-bets-on-this-
                                                                                            15   bear-fight-2781533, and incorporated by reference herein. “Place Your Bets On
                                                                                            16   This Bear Fight” copies significant portions of the “Bear Fight Rockaway NJ Aug
                                                                                            17   14 2014” video.
                                                                                            18            99.   INFRINGEMENT #35: Jukin acquired rights to “PRICELESS
                                                                                            19   Reaction from Husband to Pregnancy Announcement!” on October 28, 2014,
                                                                                            20   available at https://www.youtube.com/watch?v=M_TwbNHWX3U, and
                                                                                            21   incorporated by reference herein. Jukin subsequently republished this video on its
                                                                                            22   own channel. Jukin also obtained copyright registration number PA0001941424
                                                                                            23   for this video. See Exhibit II.
                                                                                            24            100. On October 28, 2014, Defendant posted a video entitled “Husband
                                                                                            25   Finds A Bun In The Oven” at http://www.break.com/video/husband-finds-a-bun-
                                                                                            26   in-the-oven-2781535, and incorporated by reference herein. “Husband Finds A
                                                                                            27   Bun In The Oven” copies the entirety of the “PRICELESS Reaction from Husband
                                                                                            28   to Pregnancy Announcement!” video.
                                                                                                                                          20
                                                                                                                                                                           COMPLAINT
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                                                                                             1            101. INFRINGEMENT #36: Jukin acquired rights to “Dad, I’m
                                                                                             2   Pregnant” on October 29, 2014, available at
                                                                                             3   https://www.youtube.com/watch?v=tb7cSbVLhp8, and incorporated by reference
                                                                                             4   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             5   obtained copyright registration number PA0001941426 for this video. See Exhibit
                                                                                             6   JJ.
                                                                                             7            102. On October 27, 2014, Defendant posted a video entitled “Dad Doesn’t
                                                                                             8   Quite Get The Pregnancy Message” at http://www.break.com/video/dad-doesn-t-
                                                                                             9   quite-get-the-pregnancy-message-2781105, and incorporated by reference herein.
                                                                                            10   “Dad Doesn’t Quite Get The Pregnancy Message” copies significant portions of
                                                                                            11   the “Dad, I’m Pregnant” video. Upon information and belief, Defendant did not
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   obtain permission from the video creator to post the video prior to its acquisition
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                                                                                            13   by Jukin. Defendant never obtained permission from Jukin to post the video.
                                                                             310-229-9900




                                                                                            14            103. INFRINGEMENT #37: Jukin acquired rights to “Sneezing Chicken”
                                                                                            15   on October 30, 2014, available at
                                                                                            16   https://www.youtube.com/watch?v=oUE9j8TD6kU, and incorporated by reference
                                                                                            17   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            18   obtained copyright registration number PA0001941425 for this video. See Exhibit
                                                                                            19   KK.
                                                                                            20            104. On November 3, 2014, Defendant posted a video entitled “Ever Heard
                                                                                            21   A Chicken Sneeze?” at http://www.break.com/video/chicken-sneeze-2783239, and
                                                                                            22   incorporated by reference herein. “Ever Heard A Chicken Sneeze?” copies
                                                                                            23   significant portions of the “Sneezing Chicken” video.
                                                                                            24            105. INFRINGEMENT #38: Jukin acquired rights to “Deer delivers
                                                                                            25   doughnut!! Coolest thing too happen too me while Flyfishing for steelhead” on
                                                                                            26   October 29, 2014, available at https://www.youtube.com/watch?v=7SrJMcEn4_8,
                                                                                            27   and incorporated by reference herein. Jukin subsequently republished this video
                                                                                            28   on its own channel. Jukin also obtained copyright registration number
                                                                                                                                          21
                                                                                                                                                                          COMPLAINT
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                                                                                             1   PA0001941427 for this video. See Exhibit LL.
                                                                                             2            106. On October 30, 2014, Defendant posted a video entitled “It’s The
                                                                                             3   Deer Donut Delivery Service” at http://www.break.com/video/it-s-the-deer-donut-
                                                                                             4   delivery-service-2782117, and incorporated by reference herein. “It’s The Deer
                                                                                             5   Donut Delivery Service” copies the entirety of the “Deer delivers doughnut!![...]”
                                                                                             6   video.
                                                                                             7            107. INFRINGEMENT #39: Jukin acquired rights to “Osaka Mannequin
                                                                                             8   Prank Halloween 2014” on November 3, 2014, available at
                                                                                             9   https://www.youtube.com/watch?v= 8jkMBxowHEo, and incorporated by
                                                                                            10   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                            11   Jukin also obtained copyright registration number PA0001941429 for this video.
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   See Exhibit MM.
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            108. On November 3, 2014, Defendant posted a video entitled “Mannequin
                                                                             310-229-9900




                                                                                            14   Prank On The Streets Of Japan” at http://www.break.com/video/mannequin-prank-
                                                                                            15   on-the-streets-of-japan-2783235, and incorporated herein. “Mannequin Prank On
                                                                                            16   The Streets Of Japan” copies the entirety of the “Osaka Mannequin Prank
                                                                                            17   Halloween 2014” video.
                                                                                            18            109. INFRINGEMENT #40: Jukin acquired rights to “Useless wireless
                                                                                            19   duck” on November 4, 2014, available at https://www.youtube.com/watch?v=-
                                                                                            20   5b_AshkBOM, and incorporated by reference herein. Jukin subsequently
                                                                                            21   republished this video on its own channel. Jukin also obtained copyright
                                                                                            22   registration number PA0001941423 for this video. See Exhibit NN.
                                                                                            23            110. On November 5, 2014, Defendant posted a video entitled “Finally
                                                                                            24   We’ve Mastered Wireless Duck Technology” at http://www.break.com/video/
                                                                                            25   wireless-duck-technology-2783891, and incorporated by reference herein. “Finally
                                                                                            26   We’ve Mastered Wireless Duck Technology” copies the entirety of the “Useless
                                                                                            27   wireless duck” video.
                                                                                            28            111. INFRINGEMENT #41: Jukin acquired rights to “Ally & Day” on
                                                                                                                                          22
                                                                                                                                                                        COMPLAINT
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                                                                                             1   November 6, 2014, available at
                                                                                             2   https://www.youtube.com/watch?v=YD9SEtaVKgA and incorporated by reference
                                                                                             3   herein. Jukin subsequently republished this video on its own channel Jukin also
                                                                                             4   obtained copyright registration number PA0001941421 for this video. See Exhibit
                                                                                             5   OO.
                                                                                             6            112. On November 7, 2014, Defendant posted a video entitled “Adorable
                                                                                             7   Moment Dog Tries To Teach Baby How To Jump” at http://www.break.com/video
                                                                                             8   /video-dog-teaches-baby-how-to-jump-2784489, and incorporated by reference
                                                                                             9   herein. “Adorable Moment Dog Tries To Teach Baby How To Jump” copies
                                                                                            10   significant portions of the “Ally & Day” video.
                                                                                            11            113. INFRINGEMENT #42: Jukin acquired rights to “Late night
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   Suspicious roadblock dash cam” on November 5, 2014, available at
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   https://www.youtube.com/watch?v= ClPZINVp0y8, and incorporated by reference
                                                                             310-229-9900




                                                                                            14   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            15   obtained copyright registration number PA0001941422 for this video. See Exhibit
                                                                                            16   PP.
                                                                                            17            114. On November 6, 2014, Defendant posted a video entitled “Terrifying
                                                                                            18   Roadblock On Dark Highway Will Give You Nightmares” at
                                                                                            19   http://www.break.com/video/terrifying-roadblock-on-dark-highway-2784139, and
                                                                                            20   incorporated by reference herein. “Terrifying Roadblock[…]” copies the entirety
                                                                                            21   of the “Late night Suspicious roadblock dash cam” video.
                                                                                            22            115. INFRINGEMENT #43: Jukin acquired rights to “Cat Makes Epic
                                                                                            23   Leap” on November 4, 2014, available at
                                                                                            24   https://www.youtube.com/watch?v=MsPXpfxpZXQ, and incorporated by
                                                                                            25   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                            26   Jukin also obtained copyright registration number PA0001941439 for this video.
                                                                                            27   See Exhibit QQ.
                                                                                            28            116. On November 6, 2014, Defendant posted a video entitled “Cat And
                                                                                                                                          23
                                                                                                                                                                       COMPLAINT
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                                                                                             1   Gravity Don’t Get Along” at http://www.break.com/video/cat-and-gravity-don-t-
                                                                                             2   get-along-2784225, and incorporated by reference herein. “Cat And Gravity Don’t
                                                                                             3   Get Along” copies the entirety of the “Cat Makes Epic Leap” video.
                                                                                             4            117. INFRINGEMENT #44: Jukin acquired rights to “Yo creo que está
                                                                                             5   roto...”on November 5, 2014, available at
                                                                                             6   http://www.youtube.com/watch?v=ZVQbtPl92Kk, and incorporated by reference
                                                                                             7   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             8   obtained copyright registration number PA0001941440 for this video. See Exhibit
                                                                                             9   RR.
                                                                                            10            118. On November 6, 2014, Defendant posted a video entitled “The Laziest
                                                                                            11   Puppy Ever” at http://www.break.com/video/the-laziest-puppy-ever-2784219, and
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                                                                                            12   incorporated by reference herein. “The Laziest Puppy Ever” copies the entirety of
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   the “Yo creo que está roto…” video.
                                                                             310-229-9900




                                                                                            14            119. INFRINGEMENT #45: Jukin acquired rights to “Waking up our
                                                                                            15   puppy to his favorite song ‘let it go’” on November 30, 2014, available at
                                                                                            16   https://www.youtube.com/ watch?v=ezz2NqvlORY, and incorporated by reference
                                                                                            17   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            18   obtained copyright registration number PA0001941432 for this video. See Exhibit
                                                                                            19   SS.
                                                                                            20            120. On December 1, 2014, Defendant posted a video entitled “Even Dogs
                                                                                            21   Love That Frozen Song” at http://www.break.com/video/even-dogs-love-that-
                                                                                            22   frozen-song-2792147, and incorporated by reference herein. “Even Dogs Love
                                                                                            23   That Frozen Song” copies the entirety of the “Waking up our puppy to his favorite
                                                                                            24   song[…]” video.
                                                                                            25            121. INFRINGEMENT #46: Jukin acquired rights to “Spaghetti Eating
                                                                                            26   Competition: Golden Retriever vs German Shepherd” on November 25, 2014,
                                                                                            27   available at https://www.youtube.com/watch?v=dYTSS14SFY0, and incorporated
                                                                                            28   by reference herein. Jukin subsequently republished this video on its own channel.
                                                                                                                                          24
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                                                                                             1   Jukin also obtained copyright registration number PA0001940829 for this video.
                                                                                             2   See Exhibit TT.
                                                                                             3            122. On November 25, 2014, Defendant posted a video entitled “Head To
                                                                                             4   Head Spaghetti Challenge” at http://www.break.com/video/head-to-head-spaghetti-
                                                                                             5   challenge-2790636, and incorporated by reference herein. “Head To Head
                                                                                             6   Spaghetti Challenge” copies the entirety of the “Spaghetti Eating Competition[…]”
                                                                                             7   video.
                                                                                             8            123. INFRINGEMENT #47: Jukin acquired rights to “Xmas decorations
                                                                                             9   around the corner” on December 15, 2014, available at
                                                                                            10   https://www.youtube.com/watch?v= Ou9FQyde2kY, and incorporated by
                                                                                            11   reference herein. Jukin subsequently republished this video on its own channel.
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                                                                                            12   Jukin also obtained copyright registration number PA0001941435 for this video.
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                                                                                            13   See Exhibit UU.
                                                                             310-229-9900




                                                                                            14            124. On December 15, 2014, Defendant posted a video entitled “When
                                                                                            15   Christmas Decorations Get Out Of Hand” at http://www.break.com/video/when-
                                                                                            16   christmas-decorations-get-out-of-hand-2796615, and incorporated by reference
                                                                                            17   herein. “When Christmas Decorations Get Out Of Hand” copies the entirety of the
                                                                                            18   “Xmas decorations around the corner” video.
                                                                                            19            125. INFRINGEMENT #48: Jukin acquired rights to “Wizards of
                                                                                            20   Winter” on December 9, 2014, available at
                                                                                            21   https://www.youtube.com/watch?v=IXieGSAdj4s, and incorporated by reference
                                                                                            22   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            23   obtained copyright registration number PA0001941540 for this video. See Exhibit
                                                                                            24   VV.
                                                                                            25            126. On December 10, 2014, Defendant posted a video entitled “Now
                                                                                            26   That’s Some Christmas Light Choreography” at http://www.break.com/video/now-
                                                                                            27   that-s-some-christmas-light-choreography-2795119, and incorporated by reference
                                                                                            28   herein. “Now That’s Some Christmas Light Choreography” copies the entirety of
                                                                                                                                         25
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                                                                                             1   the “Wizards of Winter” video.
                                                                                             2            127. INFRINGEMENT #49: Jukin acquired rights to “English Bulldog
                                                                                             3   Running 01 – Ground-level HD Video 1280x720” on December 11, 2014,
                                                                                             4   available at https://www.youtube.com/watch?v=Fqhc0YPymi8, and incorporated
                                                                                             5   by reference herein. Jukin subsequently republished this video on its own channel.
                                                                                             6   Jukin also obtained copyright registration number PA0001941513 for this video.
                                                                                             7   See Exhibit WW.
                                                                                             8            128. On December 11, 2014, Defendant posted a video entitled “The Never
                                                                                             9   Ending Struggle Between Dog And RC Car” at http://www.break.com/video/the-
                                                                                            10   never-ending-struggle-between-dog-and-rc-car-2795490, and incorporated by
                                                                                            11   reference herein. “The Never Ending Struggle Between Dog And RC Car” copies
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   the entirety of the “English Bulldog Running 01[…]” video.
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            129. INFRINGEMENT #50: Jukin acquired rights to “Road Raged Driver
                                                                             310-229-9900




                                                                                            14   Verbally Assaults Woman” on January 28, 2015, available at
                                                                                            15   http://www.youtube.com/watch?v= MDr_J_pLg0A, and incorporated by reference
                                                                                            16   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            17   obtained copyright registration number PA0001941516 for this video. See Exhibit
                                                                                            18   XX.
                                                                                            19            130. On January 29, 2015, Defendant posted a video entitled “Road Raging
                                                                                            20   Maniac Attacks Handicapped Grandmother, Causes Child To Cry” at
                                                                                            21   http://www.break.com/video/kristin-leigh-phillips-road-rage-with-sherri-hastings-
                                                                                            22   2813160, and incorporated by reference herein. “Road Raging Maniac[…]” copies
                                                                                            23   significant portions of the “Road Raged Driver Verbally Assaults Woman” video.
                                                                                            24            131. INFRINGEMENT #51: Jukin acquired rights to “Toddler Freaks out
                                                                                            25   about Scrolling Text ‘Leaving’ Screen” on January 26, 2015, available at
                                                                                            26   http://www.youtube.com/ watch?v=n8BRsP4cwac, and incorporated herein by
                                                                                            27   reference. Jukin subsequently republished this video on its own channel. Jukin
                                                                                            28   also obtained copyright registration number PA0001941431 for this video. See
                                                                                                                                          26
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                                                                                             1   Exhibit YY.
                                                                                             2            132. On January 28, 2015, Defendant posted a video entitled “Little Fella
                                                                                             3   Loves The News Scroll” at http://www.break.com/video/little-fella-loves-the-
                                                                                             4   news-scroll-2812881, and incorporated by reference herein. “Little Fella Loves
                                                                                             5   The News Scroll” copies the entirety of the “Toddler Freaks out about Scrolling
                                                                                             6   Text ‘Leaving’ Screen” video.
                                                                                             7            133. INFRINGEMENT #52: Jukin acquired rights to “New Breed Very
                                                                                             8   Exotic” on January 22, 2015, available at http://www.youtube.com/watch?v=
                                                                                             9   3PkIuO4N9c4, and incorporated by reference herein. Jukin subsequently
                                                                                            10   republished this video on its own channel. Jukin also obtained copyright
                                                                                            11   registration number PA0001940905 for this video. See Exhibit ZZ.
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            134. On January 7, 2015, Defendant posted a video entitled “Pitbull or
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   Landshark?” at http://www.break.com/video/pitbull-or-landshark-2812385.
                                                                             310-229-9900




                                                                                            14   “Pitbull or Landshark?” copies the entirety of the “Guy Puts Googly Eyes on
                                                                                            15   Sleeping Pit Bull” video. Upon information and belief, Defendant did not obtain
                                                                                            16   permission from the video creator to post the video prior to its acquisition by Jukin.
                                                                                            17   Defendant never obtained permission from Jukin to post the video.
                                                                                            18            135. INFRINGEMENT #53: Jukin acquired rights to “Dog Gets Mad at
                                                                                            19   Owner for Farting” on January 21, 2015, available at
                                                                                            20   http://www.youtube.com/watch?v= nckGJwD5mks, and incorporated by reference
                                                                                            21   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            22   obtained copyright registration number PA0001941512 for this video. See Exhibit
                                                                                            23   AAA.
                                                                                            24            136. On January 21, 2015, Defendant posted a video entitled “Man Farts
                                                                                            25   On Dog. Dog Not Pleased. At All.” at http://www.break.com/video/man-farts-on-
                                                                                            26   dog-dog-not-pleased-at-all-2809756, and incorporated by reference herein. “Man
                                                                                            27   Farts On Dog. […]” Copies the entirety of the “Dog Gets Mad at Owner for
                                                                                            28   Farting” video.
                                                                                                                                           27
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                                                                                             1            137. INFRINGEMENT #54: Jukin acquired rights to “Creepy, Giant
                                                                                             2   Spider Jumps on Man” on January 8, 2015, available at
                                                                                             3   www.youtube.com/watch?v=QO3S1bYmo3k, and incorporated by reference
                                                                                             4   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             5   obtained copyright registration number PA0001941433 for this video. See Exhibit
                                                                                             6   BBB.
                                                                                             7            138. On January 16, 2015, Defendant posted a video entitled “Giant Aussie
                                                                                             8   Spider Attack” at http://www.break.com/video/giant-aussie-spider-attack-2808278,
                                                                                             9   and incorporated by reference herein. “Giant Aussie Spider Attack” copies the
                                                                                            10   entirety of the “Creepy, Giant Spider Jumps on Man” video.
                                                                                            11            139. INFRINGEMENT #55: Jukin acquired rights to “Little Kid Wobbles
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   down Playground Slide” on February 5, 2015, available at
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   http://www.youtube.com/watch?v= lND7jCY5iFg, and incorporated by reference
                                                                             310-229-9900




                                                                                            14   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            15   obtained copyright registration number PA0001941520 for this video. See Exhibit
                                                                                            16   CCC.
                                                                                            17            140. On February 8, 2015, Defendant posted a video entitled “What
                                                                                            18   Happens When You Forget How To Slide” at http://www.break.com/video/what-
                                                                                            19   happens-when-you-forget-how-to-slide-2816560, and incorporated by reference
                                                                                            20   herein. “What Happens When You Forget How To Slide” copies the entirety of
                                                                                            21   the “Little Kid Wobbles down Playground Slide” video.
                                                                                            22            141. INFRINGEMENT #56: Jukin acquired rights to “Little Girl Sings
                                                                                            23   Metal ABC’s” on February 5, 2015, available at
                                                                                            24   http://www.youtube.com/watch?v=zBvhTA9asug, and incorporated by reference
                                                                                            25   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            26   obtained copyright registration number PA0001941437 for this video. See Exhibit
                                                                                            27   DDD.
                                                                                            28            142. On February 8, 2015, Defendant posted a video entitled “Little Girl
                                                                                                                                           28
                                                                                                                                                                         COMPLAINT
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                                                                                 Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 30 of 88 Page ID #:30



                                                                                             1   Drops A Death Metal Alphabet Song” at http://www.break.com/video/little-girl-
                                                                                             2   drops-a-death-metal-alphabet-song-2817020 and incorporated by reference herein.
                                                                                             3   “Little Girl Drops A Death Metal Alphabet Song” copies the entirety of the “Little
                                                                                             4   Girl Sings Metal ABC’s” video.
                                                                                             5            143. INFRINGEMENT #57: Jukin acquired rights to “Octopus Emerges
                                                                                             6   from Reef Camouflage” on February 3, 2015, available at
                                                                                             7   http://www.youtube.com/watch?v= l2UeR2pvoMA and incorporated by reference
                                                                                             8   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             9   obtained copyright registration number PA0001941541 for this video. See Exhibit
                                                                                            10   EEE.
                                                                                            11            144. On February 6, 2015, Defendant posted a video entitled “Can You
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   Spot The Octopus Before It Lets You See It?” at http://www.break.com/video/can-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   you-spot-the-octopus-before-it-lets-you-see-it-2816998, and incorporated by
                                                                             310-229-9900




                                                                                            14   reference herein. “Can You Spot The Octopus[…]” copies the entirety of the
                                                                                            15   “Octopus Emerges from Reef Camouflage” video.
                                                                                            16            145. INFRINGEMENT #58: Jukin acquired rights to “Man Builds Device
                                                                                            17   to Reverse in Broken Truck” on February 6, 2015, available at
                                                                                            18   http://www.youtube.com/watch?v= SjV0iO-6vK8, and incorporated by reference
                                                                                            19   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            20   obtained copyright registration number PA0001941438 for this video. See Exhibit
                                                                                            21   FFF.
                                                                                            22            146. On February 6, 2015, Defendant posted a video entitled “How To
                                                                                            23   Back Up In A Truck With A Busted Reverse” at http://www.break.com/video/
                                                                                            24   how-to-back-up-in-a-truck-with-a-busted-reverse-2816968, and incorporated by
                                                                                            25   reference herein. “How To Back Up[…]” copies the entirety of the “Man Builds
                                                                                            26   Device to Reverse in Broken Truck” video.
                                                                                            27            147. INFRINGEMENT #59: Jukin acquired rights to “Squirrel Hides
                                                                                            28   Nuts in Bra” on February 4, 2015, available at
                                                                                                                                          29
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                                                                                 Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 31 of 88 Page ID #:31



                                                                                             1   http://www.youtube.com/watch?v=Fneow2aUH3Y, and incorporated by reference
                                                                                             2   herein. Jukin subsequently republished this video on its own channel Jukin also
                                                                                             3   obtained copyright registration number PA0001941517 for this video. See Exhibit
                                                                                             4   GGG.
                                                                                             5            148. On February 3, 2015, Defendant posted a video entitled “Pet Squirrel
                                                                                             6   Has The Best Hiding Place Ever” at http://www.break.com/video/pet-squirrel-has-
                                                                                             7   the-best-hiding-place-ever-2815589 and incorporated by reference herein. “Pet
                                                                                             8   Squirrel Has The Best Hiding Place Ever” copies the entirety of the “Squirrel
                                                                                             9   Hides Nuts in Bra” video. Upon information and belief, Defendant did not obtain
                                                                                            10   permission from the video creator to post the video prior to its acquisition by Jukin.
                                                                                            11   Defendant never obtained permission from Jukin to post the video.
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            149. INFRINGEMENT #60: Jukin acquired rights to “Shopping while
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   black, in Alabama.” on January 31, 2015, available at
                                                                             310-229-9900




                                                                                            14   http://www.youtube.com/watch?v=7Sci3ZzQZqw, and incorporated by reference
                                                                                            15   herein. Jukin subsequently republished this video on its own channel Jukin also
                                                                                            16   obtained copyright registration number PA0001941518 for this video. See Exhibit
                                                                                            17   HHH.
                                                                                            18            150. On February 2, 2015, Defendant posted a video entitled “This Man
                                                                                            19   Noticed A Curious Thing About Shopping In Alabama” at http://www.break.com/
                                                                                            20   video/shopping-while-black-in-alabama-2815026, and incorporated by reference
                                                                                            21   herein. “This Man Noticed A Curious Thing About Shopping In Alabama” copies
                                                                                            22   the entirety of the “Shopping while black, in Alabama.” video.
                                                                                            23            151. INFRINGEMENT #61: Jukin acquired rights to “Fat Lady Gets Out
                                                                                            24   of BMW” on February 9, 2015, available at
                                                                                            25   http://www.youtube.com/watch?v=GBoJlIYF2Z4, and incorporated by reference
                                                                                            26   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            27   obtained copyright registration number PA0001941434 for this video. See Exhibit
                                                                                            28   III.
                                                                                                                                           30
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                                                                                             1            152. On February 10, 2015, Defendant posted a video entitled “How To
                                                                                             2   Tell You Picked The Wrong Car” at http://www.break.com/video/how-to-tell-you-
                                                                                             3   picked-the-wrong-car-2818638, and incorporated by reference herein. “How To
                                                                                             4   Tell You Picked The Wrong Car” copies the entirety of the “Fat Lady Gets Out of
                                                                                             5   BMW” video.
                                                                                             6            153. INFRINGEMENT #62: Jukin acquired rights to “Guy Laughs when
                                                                                             7   Dog Slips on Ice then also Falls” on February 10, 2015, available at
                                                                                             8   http://www.youtube.com/watch?v= 4c7HKzHs9VA, and incorporated by reference
                                                                                             9   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            10   obtained copyright registration number PA0001941436 for this video. See Exhibit
                                                                                            11   JJJ.
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            154. On February 9, 2015, Defendant posted a video entitled “See What
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   Happens With You Laugh At Slipping Dogs” at http://www.break.com/video/see-
                                                                             310-229-9900




                                                                                            14   what-happens-when-you-laugh-at-slipping-dogs-2818173, and incorporated by
                                                                                            15   reference herein. “See What Happens[…]” copies the entirety of the “Guy Laughs
                                                                                            16   when Dog Slips[…]” video. Upon information and belief, Defendant did not
                                                                                            17   obtain permission from the video creator to post the video prior to its acquisition
                                                                                            18   by Jukin. Defendant never obtained permission from Jukin to post the video.
                                                                                            19            155. INFRINGEMENT #63: Jukin acquired rights to “Airplane Changes
                                                                                            20   Shape of Cloud” on January 12, 2015, available at
                                                                                            21   http://www.youtube.com/watch?v=cV7p1LXZ1gY, and incorporated by reference
                                                                                            22   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            23   obtained copyright registration number PA0001941514 for this video. See Exhibit
                                                                                            24   KKK.
                                                                                            25            156. On February 13, 2015, Defendant posted a video entitled “A380 Cuts
                                                                                            26   A Cloud In Half” at http://www.break.com/video/a380-cuts-a-cloud-in-half-
                                                                                            27   2820028, and incorporated by reference herein. “A380 Cuts A Cloud In Half”
                                                                                            28   copies the entirety of the “Airplane Changes Shape of Cloud” video.
                                                                                                                                          31
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                                                                                             1            157. INFRINGEMENT #64: Jukin acquired rights to “Gift Wrapping in
                                                                                             2   Japan” on December 12, 2014, available at
                                                                                             3   https://www.youtube.com/watch?v=1qi8ZXUH_wY, and incorporated by
                                                                                             4   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                             5   Jukin also obtained copyright registration number PA0001941527 for this video.
                                                                                             6   See Exhibit LLL.
                                                                                             7            158. On December 11, 2014, Defendant posted a video entitled “Precision
                                                                                             8   Japanese Gift Wrapping” at http://www.break.com/video/precision-japanese-gift-
                                                                                             9   wrapping-2795494, and incorporated by reference herein. “Precision Japanese Gift
                                                                                            10   Wrapping” copies the entirety of the “Gift Wrapping in Japan” video. Upon
                                                                                            11   information and belief, Defendant did not obtain permission from the video creator
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   to post the video prior to its acquisition by Jukin. Defendant never obtained
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   permission from Jukin to post the video.
                                                                             310-229-9900




                                                                                            14            159. INFRINGEMENT #65: Jukin acquired rights to “Pig meets ice :( ”
                                                                                            15   on January 6, 2015, available at
                                                                                            16   https://www.youtube.com/watch?v=eE_arfWTglQ, and incorporated by reference
                                                                                            17   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            18   obtained copyright registration number PA0001941526 for this video. See Exhibit
                                                                                            19   MMM.
                                                                                            20            160. On January 7, Defendant posted a video entitled “Pig Vs Ice: The
                                                                                            21   Showdown” at http://www.break.com/video/pig-vs-ice-the-showdown-2804401,
                                                                                            22   and incorporated by reference herein. “Pig Vs Ice: The Showdown” copies the
                                                                                            23   entirety of the “Pig meets ice :( ” video.
                                                                                            24            161. INFRINGEMENT #66: Jukin acquired rights to “Dad Gets Google
                                                                                            25   Translate to Curse” on January 23, 2015, available at
                                                                                            26   http://www.youtube.com/watch?v=r2MoVU2U4K0, and incorporated by reference
                                                                                            27   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            28   obtained copyright registration number PA0001941528 for this video. See Exhibit
                                                                                                                                              32
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                                                                                             1   NNN.
                                                                                             2            162. On January 23, 2015, Defendant posted a video entitled “It Turns Out
                                                                                             3   Google Translate Is The World’s Best Medium For Dad Jokes” at
                                                                                             4   http://www.break.com/video/google-translate-app-dutch-to-english-chicken-f-
                                                                                             5   2810642, and incorporated by reference herein. “It Turns Out Google Translate
                                                                                             6   […]” copies the entirety of the “Dad Gets Google Translate to Curse” video.
                                                                                             7            163. INFRINGEMENT #67: Jukin acquired rights to “Hiker Falls
                                                                                             8   Walking across River” on January 20, 2015, available at
                                                                                             9   http://www.youtube.com/watch?v=odZghayNYKM, and incorporated by reference
                                                                                            10   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            11   obtained copyright registration number PA0001941529 for this video. See Exhibit
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   OOO.
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            164. On January 21, 2015, Defendant posted a video entitled “Some People
                                                                             310-229-9900




                                                                                            14   Weren’t Meant For Hiking” at http://www.break.com/video/some-people-weren-t-
                                                                                            15   meant-for-hiking-2809440, and incorporated by reference herein. “Some People
                                                                                            16   Weren’t Meant For Hiking” copies the entirety of the “Hiker Falls Walking across
                                                                                            17   River” video.
                                                                                            18            165. INFRINGEMENT #68: Jukin acquired rights to “Woman Publicly
                                                                                            19   Freaks out after Missing Ferry” on January 20, 2015, available at
                                                                                            20   http://www.youtube.com/watch?v=AsS-iBgylzM, and incorporated by reference
                                                                                            21   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            22   obtained copyright registration number PA0001941530 for this video. See Exhibit
                                                                                            23   PPP.
                                                                                            24            166. On January 21, 2015, Defendant posted a video entitled “Whoa! Girl
                                                                                            25   Misses Ferry, Throws Shrieking Temper Tantrum” at
                                                                                            26   http://www.break.com/video/tsawwassen-ferry-she-misses-boat-has-temper-
                                                                                            27   tantrum-2809777, and incorporated by reference herein. “Whoa! Girl Misses Ferry
                                                                                            28   […]” copies the entirety of the “Woman Publicly Freaks out after Missing Ferry”
                                                                                                                                          33
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                                                                                             1   video.
                                                                                             2            167. INFRINGEMENT #69: Jukin acquired “Driver Runs Red Light and
                                                                                             3   Hits Car Triggering Airbags” on February 7, 2015, available at
                                                                                             4   http://www.youtube.com/watch?v=ny01_mvJyjA, and incorporated by reference
                                                                                             5   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             6   obtained copyright registration number PA0001941531 for this video. See Exhibit
                                                                                             7   QQQ.
                                                                                             8            168. On February 8, 2015, Defendant posted a video entitled “Lying
                                                                                             9   Woman Driver Claimed This Man Caused Accident By Running Red Light” at
                                                                                            10   http://www.break.com/video/lying-woman-driver-says-man-ran-red-light-2817691,
                                                                                            11   and incorporated by reference herein. “Lying Woman […]” copies the entirety of
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   the “Driver Runs Red Light […]” video.
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            169. INFRINGEMENT #70: Jukin acquired “Pushup Routine
                                                                             310-229-9900




                                                                                            14   Choreographed to Music” on February 2, 2015, available at
                                                                                            15   http://www.youtube.com/watch?v=keP0uMmIOFk and incorporated by reference
                                                                                            16   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            17   obtained copyright registration number PA0001941525 for this video. See Exhibit
                                                                                            18   RRR.
                                                                                            19            170. On February 3, 2015, Defendant posted a video entitled “This Chick
                                                                                            20   Has Taken Pushups To A New Level” at http://www.break.com/video/this-chick-
                                                                                            21   has-taken-pushups-to-a-new-level-2815560, and incorporated by reference herein.
                                                                                            22   “This Chick Has Taken Pushups To A New Level” copies the entirety of the
                                                                                            23   “Pushup Routine Choreographed to Music” video.
                                                                                            24            171. INFRINGEMENT #71: Jukin acquired the rights to “Buzzed by
                                                                                            25   F18’s at Death Valley” on September 16, 2014, available at
                                                                                            26   https://www.youtube.com/watch?v=h6yG-HO-8hQ, and incorporated by reference
                                                                                            27   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            28   also filed an application for copyright registration with the United States Copyright
                                                                                                                                          34
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                                                                                             1   Office for this video, application case number 1-2152689729, and is awaiting
                                                                                             2   issuance of the registration.
                                                                                             3            172. On September 16, 2014, Defendant posted the video entitled “F-18s
                                                                                             4   Bring Some Life To Death Valley” at http://www.break.com/video/f-18s-bring-
                                                                                             5   some-life-to-death-valley-2759542, and incorporated by reference herein. “F-18s
                                                                                             6   Bring Some Life To Death Valley” copies the entirety of the “Buzzed by F18’s at
                                                                                             7   Death Valley” video.
                                                                                             8            173. INFRINGEMENT #72: Jukin acquired rights to “Snowmobiler
                                                                                             9   Rescued from Avalanche” on February 11, 2015, available at
                                                                                            10   http://www.youtube.com/watch?v= aGUQC5k3dFM, and incorporated by
                                                                                            11   reference herein. Jukin subsequently republished this video on its own channel.
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   Jukin also filed an application for copyright registration with the United States
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   Copyright Office for this video, application case number 1-2155551406, and is
                                                                             310-229-9900




                                                                                            14   awaiting issuance of the registration.
                                                                                            15            174. On February 12, 2015, Defendant posted a video entitled “From
                                                                                            16   Snowmobiling To Avalanche Rescue In 90 Seconds” at http://www.break.com/
                                                                                            17   video/from-snowmobiling-to-avalanche-rescue-in-90-seconds-2819556, and
                                                                                            18   incorporated by reference herein. “From Snowmobiling To Avalanche Rescue In
                                                                                            19   90 Seconds” copies the entirety of the “Snowmobiler Rescued from Avalanche”
                                                                                            20   video.
                                                                                            21            175. Defendant does not have any license, authorization, permission, or
                                                                                            22   consent from Jukin to use any of the Original Videos.
                                                                                            23            176. On information and belief, Defendant did not obtain any license,
                                                                                            24   authorization, permission, or consent from the individual video creators to use the
                                                                                            25   Original Videos. Even if Defendant had obtained authorization from the individual
                                                                                            26   video creators, this authorization is invalid if it was obtained after Jukin acquired
                                                                                            27   the rights to the videos.
                                                                                            28            177. Defendant directly violated Jukin’s exclusive rights under the
                                                                                                                                           35
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                                                                                             1    Copyright Act. On information and belief, Defendant directed or controlled the
                                                                                             2    infringing conduct of the Break.com users uploading the Infringing Videos.
                                                                                             3    Defendant engaged in contributory copyright infringement by inducing, causing,
                                                                                             4    and materially contributing to the infringing conduct of Break.com’s users.
                                                                                             5    Alternatively, on information and belief, Defendant is vicariously liable for the
                                                                                             6    copyright infringement of Break.com’s users because it enjoyed a direct financial
                                                                                             7    benefit from the infringement and had the right and ability to supervise the
                                                                                             8    Break.com users’ infringing activity.
                                                                                             9             178. Defendant enjoys no “safe harbor” protection under the DMCA
                                                                                            10    because upon information and belief (a) the transmission of the videos to
                                                                                            11    Break.com was initiated by or at the direction of Defendant and/ or Defendant’s
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12    agents and (b) the transmission of the videos to Break.com is carried out through
                                                    LOS ANG ELES, CA 90067
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                                                                                            13    Defendant’s or Defendant’s agents’ selection of the material.
                                                                             310-229-9900




                                                                                            14                                  Other Infringing Videos
                                                                                            15             179. In addition to Defendant’s infringement of the Original Videos
                                                                                            16    described above, Defendant also used the following Jukin Original Videos without
                                                                                            17    Jukin’s authorization. Upon information and belief, Defendant also did not obtain
                                                                                            18    permission from the video creator to post any of the videos prior to their
                                                                                            19    acquisition by Jukin.
                                                                                            20             180. In each of the following cases, Defendant’s Infringing Videos copy a
                                                                                            21    significant portion or the entirety of the Original Video. Jukin reserves the right to
                                                                                            22    file copyright applications with respect to these videos and to amend this
                                                                                            23    Complaint to bring claims based on these videos.
                                                                                            24             JUKIN ORIGINAL VIDEO            DEFENDANT’S INFRINGING
                                                                                            25             AND ACQUISITION DATE            VIDEO AND POST DATE
                                                                                            26   1.        “Open hand slap knock out!      “After Dare, Dude Gets Knocked Out By
                                                                                            27             Told ya so…”                    Single Slap”
                                                                                            28             (https://www.youtube.com/wat    (http://www.break.com/video/after-dare-
                                                                                                                                            36
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                                                                                             1             ch?v=7-fLAHD1GWg) –               dude-gets-knocked-out-by-single-slap-
                                                                                             2             acquired Aug. 21, 2014            2751078) – posted Aug. 25, 2015
                                                                                             3   2.        “Implosion of the Queen Lane      “After Waiting Hours, Stupid Dog
                                                                                             4             Apartment building in             Causes Owner To Miss Building’s
                                                                                             5             Germantown, Philadelphia,         Implosion”
                                                                                             6             PA”                               (http://www.break.com/video/dog-
                                                                                             7             (https://www.youtube.com/wat      causes-owner-to-miss-buildings-
                                                                                             8             ch?v=3NzcqTyofnE) –               implosion-2758831) – posted Sept. 14,
                                                                                             9             acquired Sept. 15, 2014           2015
                                                                                            10   3.        “Cat playing fetch goes flying    “Cats Playing Fetch Are Awesome”
                                                                                            11             in the air”                       (http://www.break.com/video/cats-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12             (https://www.youtube.com/wat      playing-fetch-are-awesome-2749297) –
                                                    LOS ANG ELES, CA 90067
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                                                                                            13             ch?v=VyQhVOxYUeE) –               posted Aug. 20, 2014
                                                                             310-229-9900




                                                                                            14             acquired Aug. 18, 2014
                                                                                            15   4.        “Laird Hamilton shoots pier on “Crazy Surfer Rides A Wave Under The
                                                                                            16             Huge wave - Malibu Lagoon /       Pier”
                                                                                            17             Surfrider Beach - 8/26/14”        (http://www.break.com/video/crazy-
                                                                                            18             (https://www.youtube.com/wat      surfer-rides-a-wave-under-the-pier-
                                                                                            19             ch?v=ZPO1zpDqQ8I) –               2752279) – posted Aug. 27, 2014
                                                                                            20             acquired Aug. 28, 2014
                                                                                            21   5.        “Dirt Bike Obstacle Course        “Dude, Your Dirt Bike Is Flying Away”
                                                                                            22             Fail Launches into Crowd”         (http://www.break.com/video/dude-your-
                                                                                            23             (http://jukinvideo.com/videos/f   dirt-bike-is-flying-away-2758338) –
                                                                                            24             ocus/fails/fly-ktm-               posted Sept. 12, 2014
                                                                                            25             2/151/49632); “Dirt Bike
                                                                                            26             Obstacle Course Fail Launches
                                                                                            27             into Crowd (Video 2)”
                                                                                            28             (http://jukinvideo.com/videos/f
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                                                                                             1             ocus/fails/fly-ktm-
                                                                                             2             1/151/49628) – acquired Sept.
                                                                                             3             8, 2014
                                                                                             4   6.        “Jetblue flight 1416 9/18/2014” “Footage From Inside A Jetblue Flight
                                                                                             5             (https://www.youtube.com/wat      That Had An Engine Fire”
                                                                                             6             ch?v=SPuTOEfzbGE) –               (http://www.break.com/video/footage-
                                                                                             7             acquired Sept. 18, 2014           from-inside-a-jetblue-flight-on-fire-
                                                                                             8                                               2762616) – posted Sept. 19, 2014
                                                                                             9   7.        “Iron Stomach Contestant Falls “Frat Boy Quits Catfood Eating Contest,
                                                                                            10             into Pit of Vomit”                Then Falls Into A Vat Of Vomit”
                                                                                            11             (http://jukinvideo.com/videos/f   (http://www.break.com/video/man-rage-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12             ocus/fails/absolute-carnage-at-   quits-catfood-eating-contest-falls-in-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13             the-iron-stomach/151/51181) –     vomit-2760237) – posted Sept. 18, 2014
                                                                             310-229-9900




                                                                                            14             acquired Sept. 18, 2014
                                                                                            15   8.        “Mangianza incredibile in 50      “Have You Ever Seen This Many
                                                                                            16             cm d" acqua!!”                    Pelicans Diving For Food?”
                                                                                            17             (https://www.youtube.com/wat      (http://www.break.com/video/have-you-
                                                                                            18             ch?v=kI4j1edfSSY) – acquired      ever-seen-this-many-pelicans-diving-for-
                                                                                            19             Aug. 22, 2014                     food-2751211) – posted Aug. 25, 2015
                                                                                            20   9.        “Cat Wants More Petting”          “If You Pet This Cat, He’ll Pet You
                                                                                            21             (http://jukinvideo.com/videos/f   Back”
                                                                                            22             ocus/cute/cat-wants-more-         (http://www.break.com/video/yuri-the-
                                                                                            23             petting/149/45074) – acquired     cheek-stroking-cat-2750932) – posted
                                                                                            24             August 7, 2014                    Aug. 24, 2014
                                                                                            25   10.       “Kanye West Sydney                “Kanye West Makes A Fool Of Himself
                                                                                            26             wheelchair misunderstanding”      For Calling Out A Disabled Fan”
                                                                                            27             (https://www.youtube.com/wat      (http://www.break.com/video/kanye-
                                                                                            28             ch?v=De_1VKqNoLg) –               west-makes-a-fool-of-himself-2759159)
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                                                                                             1            acquired Sept. 15, 2014          – posted Sept. 15, 2014
                                                                                             2   11.      “Cute kitten asks for kisses     “Kisses Put Kitten To Sleep”
                                                                                             3            before nap”                      (http://www.break.com/video/kisses-put-
                                                                                             4            (https://www.youtube.com/wat     kitten-to-sleep-2756238) – posted Sept.
                                                                                             5            ch?v=eDpgbytwNmE) –              6, 2014
                                                                                             6            acquired Sept. 2, 2014
                                                                                             7   12.      “ROCKY the French Bulldog        “Meet The Tiny French Bulldog
                                                                                             8            puppy jumping”                   Daredevil Rocky”
                                                                                             9            (https://www.youtube.com/wat     (http://www.break.com/video/meet-the-
                                                                                            10            ch?v=-n4XX5nnXhU) –              tiny-french-bulldog-daredevil-rocky-
                                                                                            11            acquired Aug. 19, 2014           2749729) – posted Aug. 21, 2014
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   13.      “5Club MX5 Cup Silverstone       “Race Car Driver Gets Owned By The
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            International 2014 Race 2 –      Hand Of Another Driver”
                                                                             310-229-9900




                                                                                            14            Start”                           (http://www.break.com/video/race-car-
                                                                                            15            (https://www.youtube.com/wat     driver-pushes-rear-view-mirror-during-
                                                                                            16            ch?v=a6iO3TQjXp4) –              race-2751558) – posted Aug. 26, 2014
                                                                                            17            acquired Aug. 26, 2014
                                                                                            18   14.      “Spoiled rotten”                 “Spoiled Great Dane Is So Very Jealous”
                                                                                            19            (https://www.youtube.com/wat     (http://www.break.com/video/spoiled-
                                                                                            20            ch?v=sOmKpQeqw6U) –              great-dane-is-so-very-jealous-2756339)
                                                                                            21            acquired Sept. 7, 2014           – posted Sept. 7, 2014
                                                                                            22   15.      “Slippery Squirrel”              “Squirrel Problem? Nothing Some
                                                                                            23            (https://www.youtube.com/wat     Vaseline Can’t Fix”
                                                                                            24            ch?v=O9-rE5RBZvU) –              (http://www.break.com/video/squirrel-
                                                                                            25            acquired Aug. 18, 2014           vaseline-climbing-2748973) – posted
                                                                                            26                                             Aug. 20, 2014
                                                                                            27   16.      “A tiger is on a moving car in   “Taking The Tiger For A Drive”
                                                                                            28            Everland safari, Korea           (http://www.break.com/video/taking-the-
                                                                                                                                           39
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                                                                                             1            에버랜드 사파리 호랑이”                   tiger-for-a-drive-2757090) – posted Sept.
                                                                                             2            (https://www.youtube.com/wat    9, 2014
                                                                                             3            ch?v=GyRYu8UkTqY) –
                                                                                             4            acquired Sept. 8, 2014
                                                                                             5   17.      “The best dancer I've ever      “The Best Dancer At The Wedding”
                                                                                             6            seen.”                          (http://www.break.com/video/the-best-
                                                                                             7            (https://www.youtube.com/wat    dancer-at-the-wedding-2756699) –
                                                                                             8            ch?v=WOSBRKTgIrw) –             posted Sept. 8, 2014
                                                                                             9            acquired Sept. 7, 2014
                                                                                            10   18.      “Day in the life of a pizza tool” “The Mesmerizing Life Of A Pizza
                                                                                            11            (https://www.youtube.com/wat    Tool” (http://www.break.com/video/the-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            ch?v=YW7Lddj471w) –             mesmerizing-life-of-a-pizza-tool-
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13            acquired Aug. 22, 2014          2749386) – posted Aug. 23, 2014
                                                                             310-229-9900




                                                                                            14   19.      “Dog Duane Reade Adventure      “The Most Adorable Dog You’ll See
                                                                                            15            (feat. Marnie the Dog)”         Today”
                                                                                            16            (https://www.youtube.com/wat    (http://www.break.com/video/the-most-
                                                                                            17            ch?v=Ljm4Uv0KCSQ) –             adorable-dog-youll-see-today-2756234)
                                                                                            18            acquired Sept. 6, 2014          – posted Sept. 7, 2014
                                                                                            19   20.      “2013 Hyundai Genesis Coupe     “There’s Drifting And Then There’s
                                                                                            20            Drift Crash POV”                Crashing”
                                                                                            21            (https://www.youtube.com/wat    (http://www.break.com/video/there-s-
                                                                                            22            ch?v=5d4aDyWZvho) –             drifting-and-then-there-s-crashing-
                                                                                            23            acquired Sept. 9, 2014          2759947) – posted Sept. 17, 2014
                                                                                            24   21.      BEST FREESTYLE EVER             “They Call This Monster Truck
                                                                                            25            “Maximum Destruction            Freestyle”
                                                                                            26            Orlando 2012 INSANE             (http://www.break.com/video/they-call-
                                                                                            27            **BEST VIEW** Monster           this-monster-truck-freestyle-2759129) –
                                                                                            28            Jam”                            posted Sept. 15, 2014
                                                                                                                                          40
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                                                                                             1            (https://www.youtube.com/wat
                                                                                             2            ch?v=bNqpqPc7qEA) –
                                                                                             3            acquired Sept. 15, 2014
                                                                                             4   22.      “Cheese Rolling Crash”           “This Is One Of The Most Spectacular
                                                                                             5            (https://www.youtube.com/wat     Faceplants Ever Seen”
                                                                                             6            ch?v=OW2108LQ63U) –              (http://www.break.com/video/most-
                                                                                             7            acquired Aug. 23, 2014           spectacular-faceplants-ever-seen-
                                                                                             8                                             2751203) – posted Aug. 25, 2014
                                                                                             9   23.      “Waiting in Line at the Post     “This Is What Happens When You Wait
                                                                                            10            Office”                          Too Long At The Post Office”
                                                                                            11            (https://www.youtube.com/wat     (http://www.break.com/video/wait-too-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            ch?v=tb3v9crm3k8) – acquired long-at-the-post-office-2759532) –
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            Sept. 16, 2014                   posted Sept. 16, 2014
                                                                             310-229-9900




                                                                                            14   24.      “Blowing air in my baby girl's   “This Kid Is Blown Away, Literally”
                                                                                            15            face”                            (http://www.break.com/video/this-kid-is-
                                                                                            16            (https://www.youtube.com/wat     blown-away-literally-2759546) – posted
                                                                                            17            ch?v=LXmbMV2Tqzw) –              Sept. 16, 2014
                                                                                            18            acquired Sept. 15, 2014
                                                                                            19   25.      “Energetic roofer can't help but “This Man May Be The Happiest Roofer
                                                                                            20            samba when Latino music          In America”
                                                                                            21            beats”                           (http://www.break.com/video/this-man-
                                                                                            22            (https://www.youtube.com/wat     may-be-the-happiest-roofer-in-america-
                                                                                            23            ch?v=dWnhSJZ6L58) –              2752094) – posted Aug. 27, 2014
                                                                                            24            acquired Aug. 26, 2014
                                                                                            25   26.      “College Students Mauled By      “This Man Shrieks Like A Banshee At A
                                                                                            26            Praying Mantis”                  Praying Mantis Attack”
                                                                                            27            (https://www.youtube.com/wat     (http://www.break.com/video/praying-
                                                                                            28            ch?v=yueMhuEdHJ0) –              mantis-attacks-college-student-2759156)
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                                                                                             1            acquired Sept. 11, 2014         – posted Sept. 15, 2014
                                                                                             2   27.      “fox takes dogs toy”            “This Poor Dog Is Losing His Mind
                                                                                             3            (https://www.youtube.com/wat    Over A Fox Stealing His Toy”
                                                                                             4            ch?v=sdXTO0pR2zM) –             (http://www.break.com/video/foxloves-
                                                                                             5            acquired Aug. 18, 2014          dog-toys-2748828) – posted Aug. 19,
                                                                                             6                                            2014
                                                                                             7   28.      “Freak Basketball Shot Saves    “Watch This Dad Secure His Financial
                                                                                             8            Aussie Dad Millions Of          Freedom With An Amazing Basketball
                                                                                             9            Dollars”                        Shot” (http://www.break.com/video/dad-
                                                                                            10            (https://www.youtube.com/wat    wins-bet-with-amazing-basketball-shot-
                                                                                            11            ch?v=ockP1W_UXOE) –             2756197) – posted Sept. 6, 2014
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            acquired Sept. 6, 2014
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   29.      “This is why you don't throw    “Watch Where You Toss Your Gum,
                                                                             310-229-9900




                                                                                            14            gum outside. (With a three-     You Might Snag A Hummingbird”
                                                                                            15            year-old's commentary.)         (http://www.break.com/video/hummingb
                                                                                            16            Hummingbird rescued!”           ird-rescued-from-some-gum-2759143) –
                                                                                            17            (https://www.youtube.com/wat    posted Sept. 15, 2014
                                                                                            18            ch?v=wI7eNpHJe90) –
                                                                                            19            acquired Sept. 14, 2015
                                                                                            20   30.      “Radical big crash Spa 06 sep   “Whoever Filmed This Race Crash Has
                                                                                            21            2014”                           Ice In His Veins”
                                                                                            22            (https://www.youtube.com/wat    (http://www.break.com/video/whoever-
                                                                                            23            ch?v=nyIQNM-1hUc) –             filmed-this-race-crash-has-ice-in-his-
                                                                                            24            acquired Sept. 10, 2014         veins-2757398) – posted Sept. 10, 2014
                                                                                            25   31.      “Хочешь меня?”                  “You Have No Authority To Question
                                                                                            26            (https://www.youtube.com/wat    The Cat”
                                                                                            27            ch?v=Wbw5jZmbAqk) –             (http://www.break.com/video/you-have-
                                                                                            28            acquired Aug. 22, 2014          no-authority-to-question-the-cat-
                                                                                                                                          42
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                                                                                             1                                              2751219) – posted Aug. 25, 2014
                                                                                             2   32.      “Nate's Firepole Fail”            “Fire Pole Fail? This Kid Don’t Care”
                                                                                             3            (https://www.youtube.com/wat      (http://www.break.com/video/fire-pole-
                                                                                             4            ch?v=32nkdvLq3oQ) –               fail-this-kid-don-t-care-2763605) –
                                                                                             5            acquired Sept. 10, 2014           posted Sept. 22, 2014
                                                                                             6   33.      “Motorcycle Catches on Fire”      “A Good Sign You Don’t Deserve A
                                                                                             7            (http://jukinvideo.com/videos/f   Motorcycle”
                                                                                             8            ocus/fails/rupter-jusquau-        (http://www.break.com/video/a-good-
                                                                                             9            feu/151/51642) – acquired         sign-you-don-t-deserve-a-motorcycle-
                                                                                            10            Sept. 20, 2014                    2764787) – posted Sept. 25, 2014
                                                                                            11   34.      “新入り子猫と鬼ごっこして                     “Cat And Kitten Bust Out A Game Of
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                                                                                            12            背後を取られる先住猫(Tag                    Tag” (http://www.break.com/video/cat-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            of cat)”                          and-kitten-bust-out-a-game-of-tag-
                                                                             310-229-9900




                                                                                            14            (https://www.youtube.com/wat      2762636) – posted Sept. 19, 2014
                                                                                            15            ch?v=pQ_Qa-feArg) –
                                                                                            16            acquired Sept. 17, 2014
                                                                                            17   35.      “Clever dog tricked me into       “Dog Tricks People Walking By Into
                                                                                            18            playing a game of fetch”          Playing Fetch”
                                                                                            19            (https://www.youtube.com/wat      (http://www.break.com/video/dog-tricks-
                                                                                            20            ch?v=V46ebqiAWm8) –               people-walking-by-into-playing-fetch-
                                                                                            21            acquired Sept. 28, 2014           2765878) – posted Sept. 29, 2014
                                                                                            22   36.      “BAIL! BAIL! BAIL!”               “Dude Fails To Bail On Doomed Ride,
                                                                                            23            (https://www.youtube.com/wat      Pays The Price”
                                                                                            24            ch?v=nDbFSXNG5eU) –               (http://www.break.com/video/dude-fails-
                                                                                            25            acquired Sept. 18, 2014           to-bail-on-doomed-ride-pays-the-price-
                                                                                            26                                              2765777) – posted Sept. 29, 2014
                                                                                            27   37.      “You poked my heart......”        “Everyone Hates A Poke In The Heart”
                                                                                            28            (https://www.youtube.com/wat      (http://www.break.com/video/everyone-
                                                                                                                                            43
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                                                                                             1            ch?v=3sKdDyyanGk) –               hates-a-poke-in-the-heart-2764670) –
                                                                                             2            acquired Sept. 25, 2014           posted Sept. 25, 2014
                                                                                             3   38.      “ORIGINAL deadlift passout        “Exercise Isn’t Always Good For The
                                                                                             4            video 329”                        Body”
                                                                                             5            (https://www.youtube.com/wat      (http://www.break.com/video/exercise-
                                                                                             6            ch?v=k8RcDb_wZfQ) –               isnt-always-good-for-the-body-2762657)
                                                                                             7            acquired May 16, 2011             – posted Sept. 21, 2014
                                                                                             8   39.      “Baseball Mascot “Eats”           “Fish Mascot Swallows Ball Boy”
                                                                                             9            Player”                           (http://www.break.com/video/fish-
                                                                                            10            (http://jukinvideo.com/videos/f   mascot-swallows-ball-boy-2764763) –
                                                                                            11            ocus/comedy/i-like-this-          posted Sept. 25, 2014
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            becoues-it-so-funniest-one-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            ever/148/46814) – acquired
                                                                             310-229-9900




                                                                                            14            Sept. 9, 2014
                                                                                            15   40.      “A Cabra mais famosa do alto      “If You Show Weakness To A Goat,
                                                                                            16            Minho ! lol”                      He’ll Walk All Over You”
                                                                                            17            (https://www.youtube.com/wat      (http://www.break.com/video/goat-
                                                                                            18            ch?v=EZt2jF6hpjI) – acquired      stands-on-workers-back-2765422) –
                                                                                            19            Sept. 25, 2014                    posted Sept. 27, 2014
                                                                                            20   41.      “Tree crushes Nissan Leaf”        “Nature Hates The Nissan Leaf”
                                                                                            21            (https://www.youtube.com/wat      (http://www.break.com/video/nature-
                                                                                            22            ch?v=5YaS0w4EXTY) –               hates-the-nissan-leaf-2763587) – posted
                                                                                            23            acquired Sept. 19, 2014           Sept. 22, 2014
                                                                                            24   42.      “PUPPY ROLLS DOWN                 “Signs You Have A Lazy Puppy”
                                                                                            25            HILL ON PURPOSE”                  (http://www.break.com/video/signs-you-
                                                                                            26            (https://www.youtube.com/wat      have-a-lazy-puppy-2762647) – posted
                                                                                            27            ch?v=DVefdkqOkp8) –               Sept. 20, 2014
                                                                                            28            acquired Sept. 17, 2014
                                                                                                                                            44
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                                                                                             1   43.      “Ice bucket challenge my dog |    “The Final, Final Ice Bucket Challenge
                                                                                             2            FUNNY |”                          Video”
                                                                                             3            (https://www.youtube.com/wat      (https://www.youtube.com/watch?v=oIx
                                                                                             4            ch?v=oIxendoZ53U) –               endoZ53U) – posted Sept. 23, 2014
                                                                                             5            acquired Sept. 22, 2014
                                                                                             6   44.      “Car Runs Red Light in Front      “The Red Light Karma Police Are
                                                                                             7            of Police Officer”                Parked On Your Left”
                                                                                             8            (http://jukinvideo.com/videos/f   (http://www.break.com/video/the-red-
                                                                                             9            ocus/fails/fail-of-the-year-      light-karma-police-are-parked-on-your-
                                                                                            10            contender/151/51088) –            left-2764757) – posted Sept. 25, 2014
                                                                                            11            acquired Sept. 17, 2014
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   45.      “Twins - Why breakfast takes      “Too Many Babies In The Fridge”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            longer time to prepare”           (http://www.break.com/video/too-many-
                                                                             310-229-9900




                                                                                            14            (https://www.youtube.com/wat      babies-in-the-fridge-2765883) – posted
                                                                                            15            ch?v=iI6whvQz1jc) – acquired      Sept. 29, 2014
                                                                                            16            Sept. 24, 2014
                                                                                            17   46.      “FrogTV”                          “Worms Is The #1 Viral Video In
                                                                                            18            (https://www.youtube.com/wat      Frogtown”
                                                                                            19            ch?v=pHfD3QYDUAI) –               (http://www.break.com/video/worms-is-
                                                                                            20            acquired Sept. 22, 2014           the-1-viral-video-in-frogtown-2763594)
                                                                                            21                                              – posted Sept. 22, 2014
                                                                                            22   47.      “Longboarding Racer Shoved        “Worst Friends Ever: A Compilation”
                                                                                            23            into Barrier”                     (http://www.break.com/video/worst-
                                                                                            24            (http://jukinvideo.com/videos/f   friends-ever-a-compilation-2763965) –
                                                                                            25            ocus/comedy/longboarder-gets- posted Sept. 23, 2014
                                                                                            26            shoved-into-barrier/148/50126)
                                                                                            27            – acquired Aug. 14, 2014
                                                                                            28   48.      “Cliff Jumper Pushed Off          “Worst Friends Ever: A Compilation”
                                                                                                                                            45
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                                                                                             1            Cliff”                            (http://www.break.com/video/worst-
                                                                                             2            (http://jukinvideo.com/videos/f   friends-ever-a-compilation-2763965) –
                                                                                             3            ocus/comedy/cliff-jump-fail-in- posted Sept. 23, 2014
                                                                                             4            arcadia-chantry-flats-hermit-
                                                                                             5            falls/148/45802) – acquired
                                                                                             6            Aug. 13, 2014
                                                                                             7   49.      “Mini ATV Crashes into Little     “Worst Friends Ever: A Compilation”
                                                                                             8            Boy”                              (http://www.break.com/video/worst-
                                                                                             9            (http://jukinvideo.com/videos/f   friends-ever-a-compilation-2763965) –
                                                                                            10            ocus/kids/2_years_old_atv_cra     posted Sept. 23, 2014
                                                                                            11            sh/159/45163) – acquired Aug.
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            13, 2014
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   50.      “Roman Candle Sneak Attack        “Worst Friends Ever: A Compilation”
                                                                             310-229-9900




                                                                                            14            Fail”                             (http://www.break.com/video/worst-
                                                                                            15            (http://jukinvideo.com/videos/f   friends-ever-a-compilation-2763965) –
                                                                                            16            ocus/pranks/roman-candle-         posted Sept. 23, 2014
                                                                                            17            fail/168/44776) – acquired
                                                                                            18            Aug. 8, 2014
                                                                                            19   51.      “Backflip Off Shoulders           “Worst Friends Ever: A Compilation”
                                                                                            20            Faceplant”                        (http://www.break.com/video/worst-
                                                                                            21            (http://jukinvideo.com/videos/f   friends-ever-a-compilation-2763965) –
                                                                                            22            ocus/fails/epic-backflip-         posted Sept. 23, 2014
                                                                                            23            fail1/151/44280) – acquired
                                                                                            24            Aug. 3, 2014
                                                                                            25   52.      “Spiderman Rope Swing             “Worst Friends Ever: A Compilation”
                                                                                            26            Double Fail”                      (http://www.break.com/video/worst-
                                                                                            27            (http://jukinvideo.com/videos/f   friends-ever-a-compilation-2763965) –
                                                                                            28            ocus/fails/rope-swing-            posted Sept. 23, 2014
                                                                                                                                            46
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                                                                                             1            fail/151/1063) – acquired June
                                                                                             2            6, 2011
                                                                                             3   53.      “GoPro Desert Jump Falls On       “Worst Friends Ever: A Compilation”
                                                                                             4            Friend”                           (http://www.break.com/video/worst-
                                                                                             5            (http://jukinvideo.com/videos/f   friends-ever-a-compilation-2763965) –
                                                                                             6            ocus/comedy/gopro_clip_of_ep posted Sept. 23, 2014
                                                                                             7            ic_bicycle_fail_on_nra_pit_in_
                                                                                             8            arizona_28gopro_hero_32B_bl
                                                                                             9            ac/148/39378) – acquired June
                                                                                            10            11, 2014
                                                                                            11   54.      “Teenage Friends Trapped in       “Worst Friends Ever: A Compilation”
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            Icy Pond”                         (http://www.break.com/video/worst-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            (http://jukinvideo.com/videos/f   friends-ever-a-compilation-2763965) –
                                                                             310-229-9900




                                                                                            14            ocus/comedy/teenagers_trappe      posted Sept. 23, 2014
                                                                                            15            d_in_icy_pond/148/37607) –
                                                                                            16            acquired May 21, 2014
                                                                                            17   55.      “Friend Gets Dropped from         “Worst Friends Ever: A Compilation”
                                                                                            18            Staircase”                        (http://www.break.com/video/worst-
                                                                                            19            (http://jukinvideo.com/videos/f   friends-ever-a-compilation-2763965) –
                                                                                            20            ocus/comedy/ouch-                 posted Sept. 23, 2014
                                                                                            21            edit/148/38499) – acquired
                                                                                            22            May 26, 2014
                                                                                            23   56.      “Friends Slip on Ice”             “Worst Friends Ever: A Compilation”
                                                                                            24            (http://jukinvideo.com/videos/f   (http://www.break.com/video/worst-
                                                                                            25            ocus/comedy/hilarious-ice-        friends-ever-a-compilation-2763965) –
                                                                                            26            slip/148/30891) – acquired        posted Sept. 23, 2014
                                                                                            27            Nov. 11, 2013
                                                                                            28   57.      “Pass Out by Tickling”            “Worst Friends Ever: A Compilation”
                                                                                                                                            47
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                                                                                             1            (http://jukinvideo.com/videos/f   (http://www.break.com/video/worst-
                                                                                             2            ocus/comedy/dude-passes-out-      friends-ever-a-compilation-2763965) –
                                                                                             3            by-being-tickled-                 posted Sept. 23, 2014
                                                                                             4            original/148/30139) – acquired
                                                                                             5            Feb. 13, 2014
                                                                                             6   58.      “Puppy falls asleep during his    “Pup Falls Asleep During His First
                                                                                             7            first bath”                       Bath” (http://www.break.com/video/pup-
                                                                                             8            (https://www.youtube.com/wat      falls-asleep-during-his-first-bath-
                                                                                             9            ch?v=WqREpomy7Mg) –               2772649) – posted Sept. 30, 2014
                                                                                            10            acquired Oct. 26, 2014
                                                                                            11   59.      “Alfred wants his beer”           “Go Home Cat, You’re Drunk”
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            (https://www.youtube.com/wat      (http://www.break.com/video/go-home-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            ch?v=saB6nTVQ2sA) –               cat-you-re-drunk-2773416) – posted Oct.
                                                                             310-229-9900




                                                                                            14            acquired Oct. 1, 2013             2, 2014
                                                                                            15   60.      “Funniest slingshot video ever    “How Many Times Can You Pass Out
                                                                                            16            boy faints 3 times”               On The Slingshot?”
                                                                                            17            (https://www.youtube.com/wat      (http://www.break.com/video/the-
                                                                                            18            ch?v=kkRYo80sPVc) –               slingshot-claims-another-victim-
                                                                                            19            acquired Oct. 2, 2014             2773145) – posted Oct. 1, 2014
                                                                                            20   61.      “Погоня Киров”                    “Russian Cop Hijacks A Car For High
                                                                                            21            (https://www.youtube.com/wat      Speed Chase”
                                                                                            22            ch?v=RYRhRZUBhUY) –               (http://www.break.com/video/russian-
                                                                                            23            acquired Oct. 4, 2014             cop-hijacks-a-car-for-high-speed-chase-
                                                                                            24                                              2774953) – posted Oct. 7, 2014
                                                                                            25   62.      “Deer having bottle in the        “Bottle Feeding A Wild Deer In The
                                                                                            26            kitchen”                          Kitchen”
                                                                                            27            (https://www.youtube.com/wat      (http://www.break.com/video/bottle-
                                                                                            28            ch?v=2Pbp3UjCYRc) –               feeding-a-wild-deer-in-the-kitchen-
                                                                                                                                            48
                                                                                                                                                                            COMPLAINT
                                                                                                 9783177-v1
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                                                                                             1            acquired Oct. 18, 2014          2775625) – posted Oct. 9, 2014
                                                                                             2   63.      “Baby epic fail”                “Baby vs Mirror”
                                                                                             3            (https://www.youtube.com/wat    (http://www.break.com/video/baby-vs-
                                                                                             4            ch?v=sEPH_bc8v6E) –             mirror-2775317) – posted Oct. 8, 2014
                                                                                             5            acquired March 28, 2014
                                                                                             6   64.      “Paragliding vs Eagle           “Vulture Takes Out Paraglider”
                                                                                             7            (original) / Параплан против    (http://www.break.com/video/vulture-
                                                                                             8            орла”                           takes-out-paraglider-2775282) – posted
                                                                                             9            (https://www.youtube.com/wat    Oct. 8, 2014
                                                                                            10            ch?v=N65ALqiBW_o) –
                                                                                            11            acquired Dec. 6, 2011
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   65.      “KoalasFight.AVI”               “Koala Fights Look A Lot Like
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            (https://www.youtube.com/wat    Professional MMA Fights”
                                                                             310-229-9900




                                                                                            14            ch?v=PCcZa7MvOug) –             (http://www.break.com/video/koala-
                                                                                            15            acquired Oct. 8, 2014           fights-look-a-lot-like-mma-fights-
                                                                                            16                                            2776054) – posted Oct. 10, 2014
                                                                                            17   66.      “Squirt getting ready for the   “That’s One Clean Monkey”
                                                                                            18            Sheena X Sperience LA Talk      (http://www.break.com/video/that-s-one-
                                                                                            19            Radio Show”                     clean-monkey-2776055) – posted Oct.
                                                                                            20            (https://www.youtube.com/wat    11, 2014
                                                                                            21            ch?v=FavZz6fjUD8) –
                                                                                            22            acquired Oct. 8, 2014
                                                                                            23   67.      “Jaz - Z y Beyonce pelea        “Tourist Doesn’t Care That Jay-Z And
                                                                                            24            turista”                        Beyonce Are At The Louvre”
                                                                                            25            (https://www.youtube.com/wat    (http://www.break.com/video/paul-
                                                                                            26            ch?v=Vdns1RMkc-U) –             doesn-t-know-jay-z-2776053) – posted
                                                                                            27            acquired Oct. 9, 2014           Oct. 10, 2014
                                                                                            28   68.      “Elder Gus Garcia, Mormon       “Mormon Missionary Has Dance Off
                                                                                                                                          49
                                                                                                                                                                        COMPLAINT
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                                                                                             1            Missionary, Holding His Own      With Street Performer”
                                                                                             2            Break Dancing”                   (http://www.break.com/video/ugc/morm
                                                                                             3            (https://www.youtube.com/wat     on-missionary-has-dance-off-with-street-
                                                                                             4            ch?v=jGLJuL49zYE) –              performer-2777508) – posted Oct. 15,
                                                                                             5            acquired Oct. 13, 2014           2014
                                                                                             6   69.      “THE PRETENTIOUS                 “Possibly The Best Pregnancy
                                                                                             7            PRESENTATION OF THE              Announcement Ever”
                                                                                             8            UTERINE INHABITANT”              (http://www.break.com/video/possibly-
                                                                                             9            (https://www.youtube.com/wat     the-best-pregnancy-announcement-ever-
                                                                                            10            ch?v=au5K4ItDODU) –              2778214) – posted Oct. 17, 2014
                                                                                            11            acquired Oct. 13, 2014
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   70.      “old man knocks down boxer”      “Old Man Beats The Crap Out Of Young
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            (https://www.youtube.com/wat     Hippie”
                                                                             310-229-9900




                                                                                            14            ch?v=h7tHWa1Zr9s&feature=        (http://www.break.com/video/old-man-
                                                                                            15            youtu.be) – acquired Oct. 19,    beats-the-crap-out-of-young-hippie-
                                                                                            16            2014                             2778620) – posted Oct. 18, 2014
                                                                                            17   71.      “Kelly Slater Lands a 540 in     “Kelly Slater Just Landed An Insane
                                                                                            18            Peniche October 17 2014”         540”
                                                                                            19            (https://www.youtube.com/wat     (http://www.break.com/video/kelly-
                                                                                            20            ch?v=jaRwyHnd81Q) –              slater-just-landed-an-insane-540-
                                                                                            21            acquired Oct. 17, 2014           2778275) – posted Oct. 17, 2014
                                                                                            22   72.      “I Almost Got Struck By          “You Don’t Want To Be This Close To
                                                                                            23            Lightning”                       Lightning”
                                                                                            24            (https://www.youtube.com/wat     (http://www.break.com/video/you-don-t-
                                                                                            25            ch?v=Egg9kCPz4PY) –              want-to-be-this-close-to-lightning-
                                                                                            26            acquired Oct. 14, 2014           2778272) – posted Oct. 17, 2014
                                                                                            27   73.      “Girl and boyfriend curse at     “Russians Have A Dangerous Way Of
                                                                                            28            driver, only for the driver to   Passing”
                                                                                                                                           50
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                                                                                             1            rear end them.”                 (http://www.break.com/video/russians-
                                                                                             2            (https://www.youtube.com/wat    have-a-dangerous-way-of-passing-
                                                                                             3            ch?v=L-qvEgF12OA) –             2778934) – posted Oct. 20, 2014
                                                                                             4            acquired Oct. 17, 2014
                                                                                             5   74.      “Obedient Bear”                 “The Most Obedient Bear In The
                                                                                             6            (https://www.youtube.com/wat    Woods”
                                                                                             7            ch?v=vSlejG7FC_Y) –             (http://www.break.com/video/the-most-
                                                                                             8            acquired Oct. 22, 2014          obedient-bear-in-the-woods-2780443) –
                                                                                             9                                            posted Oct. 25, 2014
                                                                                            10   75.      “広角:Wide-                       “The Most Incredible Fireworks Display
                                                                                            11            anngle｜鳳凰乱舞 2014                Ever Produced”
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                                                                                            12            こうのす花火大会 正四尺玉                   (http://www.break.com/video/the-most-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            world's heaviest                incredible-fireworks-display-ever-
                                                                             310-229-9900




                                                                                            14            fireworkshell.Konosu city.      produced-2780438) – posted Oct. 24,
                                                                                            15            Saitama,Japan”                  2014
                                                                                            16            (https://www.youtube.com/wat
                                                                                            17            ch?v=eY7_2Qo-MBI) –
                                                                                            18            acquired Oct. 24, 2014
                                                                                            19   76.      “Glow stick blows up in kid's   “Ding-a-Ling Doesn’t Listen To Dad,
                                                                                            20            face”                           Ruins Beautiful Shirt, Almost Goes
                                                                                            21            (https://www.youtube.com/wat    Blind”
                                                                                            22            ch?v=iRUSQm5ZskQ) –             (http://www.break.com/video/ding-a-
                                                                                            23            acquired Nov. 9, 2014           ling-glowstick-in-microwave-explodes-
                                                                                            24                                            in-eyes-2785151) – posted Nov. 10,
                                                                                            25                                            2014
                                                                                            26   77.      “Master Splinter”               “Dude Crashes Skateboard, Suffers
                                                                                            27            (https://www.youtube.com/wat    Biggest Splinter Imaginable”
                                                                                            28            ch?v=TV9AYFurwco) –             (http://www.break.com/video/dude-
                                                                                                                                          51
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                                                                                             1            acquired Oct. 27, 2014          crashes-skateboard-suffers-biggest-
                                                                                             2                                            splinter-2781313) – posted Oct. 28, 2014
                                                                                             3   78.      “Homemade Speed Boat from       “The Insanity Of A Thai Motorboat”
                                                                                             4            Thailand”                       (http://www.break.com/video/the-
                                                                                             5            (https://www.youtube.com/wat    insanity-of-a-thai-motorboat-2781093) –
                                                                                             6            ch?v=ybpdNcMPs8s&feature=       posted Oct. 27, 2014
                                                                                             7            youtu.be) – acquired Oct. 24,
                                                                                             8            2014
                                                                                             9   79.      “Goat says what what”           “Goat Gives You A What What”
                                                                                            10            (https://www.youtube.com/wat    (http://www.break.com/video/goat-
                                                                                            11            ch?v=IQLRwEwfbCI) –             gives-you-a-what-what-2781814) –
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            acquired Oct. 27, 2014          posted Oct. 29, 2014
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   80.      “Official StratEx Launch        “Google Exec Breaks The Space Dive
                                                                             310-229-9900




                                                                                            14            Video WORLD RECORD”             Record”
                                                                                            15            (https://www.youtube.com/wat    (http://www.break.com/video/google-
                                                                                            16            ch?v=WTXazPBdICM) –             exec-breaks-the-space-dive-record-
                                                                                            17            acquired Oct. 29, 2014          2781094) – posted Oct. 27, 2014
                                                                                            18   81.      “The blues dog”                 “This Blues Dog Has Nearly Perfect
                                                                                            19            (https://www.youtube.com/wat    Pitch”
                                                                                            20            ch?v=l6FvyLdNG6Y) –             (http://www.break.com/video/dog-has-
                                                                                            21            acquired Nov. 3, 2014           nearly-perfect-pitch-2783244) – posted
                                                                                            22                                            Nov. 3, 2014
                                                                                            23   82.      “Meteor explosion Milky Way     “Time Lapse Footage Of A Meteor
                                                                                            24            Timelapse”                      Breaking Up In The Atmosphere”
                                                                                            25            (https://www.youtube.com/wat    (http://www.break.com/video/time-
                                                                                            26            ch?v=-EVeGwe3TJc) –             lapse-of-a-meteor-breaking-up-in-the-
                                                                                            27            acquired Nov. 1, 2014           atmosphere-2783258) – posted Nov. 3,
                                                                                            28                                            2014
                                                                                                                                          52
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                                                                                             1   83.      “Dev Turnanın Erken Firarı”      “How Not To Show Off Your Trophy
                                                                                             2            (https://www.youtube.com/wat     Catch”
                                                                                             3            ch?v=Q4YeSJJbS3Q” –              (http://www.break.com/video/how-not-
                                                                                             4            acquired Oct. 30, 2014           to-show-off-your-trophy-catch-2782478)
                                                                                             5                                             – posted Nov. 1, 2014
                                                                                             6   84.      “Parking in Tambov. Accident” “Another Typical Parking Attempt In
                                                                                             7            (https://www.youtube.com/wat     Russia”
                                                                                             8            ch?v=hH5cIkAqp7I) –              (http://www.break.com/video/parking-
                                                                                             9            acquired Nov. 3, 2014            attempt-in-russia-2782422) – posted Oct.
                                                                                            10                                             31, 2014
                                                                                            11   85.      “Longboard - acidente de         “Selfie And A Wipe Out”
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            percurso.”                       (http://www.break.com/video/selfie-and-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            (https://www.youtube.com/wat     a-wipe-out-2782193) – posted Oct. 30,
                                                                             310-229-9900




                                                                                            14            ch?v=79iLB36t4yI) – acquired     2014
                                                                                            15            Nov. 3, 2014
                                                                                            16   86.      “Buster Raccoon does not like    “You Can’t Wake A Lazy Raccoon”
                                                                                            17            the cold weather..... He needs   (http://www.break.com/video/you-can-t-
                                                                                            18            some motivation to wake          wake-a-lazy-raccoon-2784250) – posted
                                                                                            19            up......”                        Nov. 6, 2014
                                                                                            20            (https://www.youtube.com/wat
                                                                                            21            ch?v=xRKNp2cy38w) –
                                                                                            22            acquired Nov. 5, 2014
                                                                                            23   87.      “Make Your Own Sparkling         “Fail! Poor Kid Attempted To Make
                                                                                            24            Wine - Brilliant Idea Busted”    Sparkling Wine With A SodaStream
                                                                                            25            (https://www.youtube.com/wat     Machine”
                                                                                            26            ch?v=bITUjh6pWkc) –              (http://www.break.com/video/kid-tries-
                                                                                            27            acquired Nov. 6, 2014            to-make-sparkling-wine-with-
                                                                                            28                                             sodastream-2784136) – posted Nov. 6,
                                                                                                                                           53
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                                                                                             1                                           2014
                                                                                             2   88.      “BatDad Vine Compilation 9”    “Bat Dad Is The Father You Deserved”
                                                                                             3            (https://www.youtube.com/wat   (http://www.break.com/video/bat-dad-is-
                                                                                             4            ch?v=fSY1wNK1kY8) –            the-father-you-deserved-2780463) –
                                                                                             5            acquired Sept. 24, 2013        posted Oct. 26, 2014
                                                                                             6   89.      “Party Hard”                   “Bat Dad Is The Father You Deserved”
                                                                                             7            (https://www.youtube.com/wat   (http://www.break.com/video/bat-dad-is-
                                                                                             8            ch?v=6NJOpaMsBjE) –            the-father-you-deserved-2780463) –
                                                                                             9            acquired Sept. 24, 2013        posted Oct. 26, 2014
                                                                                            10   90.      “When You Were Drinking        “Bat Dad Is The Father You Deserved”
                                                                                            11            Beard”                         (http://www.break.com/video/bat-dad-is-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            (https://www.youtube.com/wat   the-father-you-deserved-2780463) –
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                                                                                            13            ch?v=nsW7hzMnz2c) –            posted Oct. 26, 2014
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                                                                                            14            acquired Sept. 24, 2013
                                                                                            15   91.      “Bat Fairy”                    “Bat Dad Is The Father You Deserved”
                                                                                            16            (https://www.youtube.com/wat   (http://www.break.com/video/bat-dad-is-
                                                                                            17            ch?v=tHe3S_V0P5k) –            the-father-you-deserved-2780463) –
                                                                                            18            acquired Sept. 24, 2013        posted Oct. 26, 2014
                                                                                            19   92.      “This happens a lot too...”    “Bat Dad Is The Father You Deserved”
                                                                                            20            (https://www.youtube.com/wat   (http://www.break.com/video/bat-dad-is-
                                                                                            21            ch?v=uvbCvqQT4Zs) –            the-father-you-deserved-2780463) –
                                                                                            22            acquired Sept. 24,, 2013       posted Oct. 26, 2014
                                                                                            23   93.      “Squeaky wanted to do the      “Bat Dad Is The Father You Deserved”
                                                                                            24            dishes”                        (http://www.break.com/video/bat-dad-is-
                                                                                            25            (https://www.youtube.com/wat   the-father-you-deserved-2780463) –
                                                                                            26            ch?v=3gJkiCr094k) – acquired   posted Oct. 26, 2014
                                                                                            27            Sept. 24, 2013
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                                                                                                 9783177-v1
                                                                                 Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 56 of 88 Page ID #:56



                                                                                             1   94.      “Hello Kitty "Mingo"”          “Bat Dad Is The Father You Deserved”
                                                                                             2            (https://www.youtube.com/wat   (http://www.break.com/video/bat-dad-is-
                                                                                             3            ch?v=rjQ_vWy8ENU) –            the-father-you-deserved-2780463) –
                                                                                             4            acquired Sept. 24, 2013        posted Oct. 26, 2014
                                                                                             5   95.      “Lucy”                         “Bat Dad Is The Father You Deserved”
                                                                                             6            (https://www.youtube.com/wat   (http://www.break.com/video/bat-dad-is-
                                                                                             7            ch?v=NBcRH5ly5vo) –            the-father-you-deserved-2780463) –
                                                                                             8            acquired Sept. 24, 2013        posted Oct. 26, 2014
                                                                                             9   96.      “Homework”                     “Bat Dad Is The Father You Deserved”
                                                                                            10            (https://www.youtube.com/wat   (http://www.break.com/video/bat-dad-is-
                                                                                            11            ch?v=47i6UmQ1im0) –            the-father-you-deserved-2780463) –
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            acquired Sept. 24, 2013        posted Oct. 26, 2014
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   97.      “Double Dipping”               “Bat Dad Is The Father You Deserved”
                                                                             310-229-9900




                                                                                            14            (https://www.youtube.com/wat   (http://www.break.com/video/bat-dad-is-
                                                                                            15            ch?v=4nY6Zu0dLBY) –            the-father-you-deserved-2780463) –
                                                                                            16            acquired Sept. 24, 2013        posted Oct. 26, 2014
                                                                                            17   98.      “Cloaking Device”              “Bat Dad Is The Father You Deserved”
                                                                                            18            (https://www.youtube.com/wat   (http://www.break.com/video/bat-dad-is-
                                                                                            19            ch?v=ND_VZssyhAg) –            the-father-you-deserved-2780463) –
                                                                                            20            acquired Sept. 24, 2013        posted Oct. 26, 2014
                                                                                            21   99.      “That's not what I meant...”   “Bat Dad Is The Father You Deserved”
                                                                                            22            (https://www.youtube.com/wat   (http://www.break.com/video/bat-dad-is-
                                                                                            23            ch?v=GnZre5MLuc4) –            the-father-you-deserved-2780463) –
                                                                                            24            acquired Sept. 24, 2013        posted Oct. 26, 2014
                                                                                            25   100.     “Not in this house”            “Bat Dad Is The Father You Deserved”
                                                                                            26            (https://www.youtube.com/wat   (http://www.break.com/video/bat-dad-is-
                                                                                            27            ch?v=K65YiziDxgE) –            the-father-you-deserved-2780463) –
                                                                                            28            acquired Sept. 24, 2013        posted Oct. 26, 2014
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                                                                                                 9783177-v1
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                                                                                             1   101.     “Snack”                          “Bat Dad Is The Father You Deserved”
                                                                                             2            (https://www.youtube.com/wat     (http://www.break.com/video/bat-dad-is-
                                                                                             3            ch?v=4uaSl36fqdk) – acquired     the-father-you-deserved-2780463) –
                                                                                             4            Sept. 24, 2013                   posted Oct. 26, 2014
                                                                                             5   102.     “Shopping with JEN”              “Bat Dad Is The Father You Deserved”
                                                                                             6            (https://www.youtube.com/wat     (http://www.break.com/video/bat-dad-is-
                                                                                             7            ch?v=x6Dxk3g2Vfw) –              the-father-you-deserved-2780463) –
                                                                                             8            acquired Sept. 24, 2013          posted Oct. 26, 2014
                                                                                             9   103.     “JEN”                            “Bat Dad Is The Father You Deserved”
                                                                                            10            (https://www.youtube.com/wat     (http://www.break.com/video/bat-dad-is-
                                                                                            11            ch?v=U0s9lPwhWII) –              the-father-you-deserved-2780463) –
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            acquired Sept. 24, 2013          posted Oct. 26, 2014
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   104.     “JEN didn't save any chocolate   “Bat Dad Is The Father You Deserved”
                                                                             310-229-9900




                                                                                            14            sauce”                           (http://www.break.com/video/bat-dad-is-
                                                                                            15            (https://www.youtube.com/wat     the-father-you-deserved-2780463) –
                                                                                            16            ch?v=vOckyhkbDI0) –              posted Oct. 26, 2014
                                                                                            17            acquired Sept. 24, 2013
                                                                                            18   105.     “Don't worry Uncle Rob, she's    “Bat Dad Is The Father You Deserved”
                                                                                            19            new to the neighborhood”         (http://www.break.com/video/bat-dad-is-
                                                                                            20            (https://www.youtube.com/wat     the-father-you-deserved-2780463) –
                                                                                            21            ch?v=DbS9DZBO_s8) –              posted Oct. 26, 2014
                                                                                            22            acquired Sept. 24, 2013
                                                                                            23   106.     “BatDad and Uncle Rob”           “Bat Dad Is The Father You Deserved”
                                                                                            24            (https://www.youtube.com/wat     (http://www.break.com/video/bat-dad-is-
                                                                                            25            ch?v=FubIbEZrWAA) –              the-father-you-deserved-2780463) –
                                                                                            26            acquired Sept. 24, 2013          posted Oct. 26, 2014
                                                                                            27   107.     “JEN ! That’s Uncle Rob’s        “Bat Dad Is The Father You Deserved”
                                                                                            28            Job!”                            (http://www.break.com/video/bat-dad-is-
                                                                                                                                           56
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                                                                                                 9783177-v1
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                                                                                             1            (https://www.youtube.com/wat    the-father-you-deserved-2780463) –
                                                                                             2            ch?v=FYS0OFAP7Sw) –             posted Oct. 26, 2014
                                                                                             3            acquired Sept. 24, 2013
                                                                                             4   108.     “Neighborhood watch with        “Bat Dad Is The Father You Deserved”
                                                                                             5            Uncle Rob (he does his own      (http://www.break.com/video/bat-dad-is-
                                                                                             6            stunts)”                        the-father-you-deserved-2780463) –
                                                                                             7            (https://www.youtube.com/wat    posted Oct. 26, 2014
                                                                                             8            ch?v=SC-Fgfc5FD8) –
                                                                                             9            acquired Sept. 24, 2013
                                                                                            10   109.     “Is that a yes?”                “Bat Dad Is The Father You Deserved”
                                                                                            11            (https://www.youtube.com/wat    (http://www.break.com/video/bat-dad-is-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            ch?v=LDce7NhYDYI) –             the-father-you-deserved-2780463) –
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            acquired Sept. 24, 2013         posted Oct. 26, 2014
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                                                                                            14   110.     “Nice shot!”                    “Bat Dad Is The Father You Deserved”
                                                                                            15            (https://www.youtube.com/wat    (http://www.break.com/video/bat-dad-is-
                                                                                            16            ch?v=B5fj98qYU0E) –             the-father-you-deserved-2780463) –
                                                                                            17            acquired Sept. 24, 2013         posted Oct. 26, 2014
                                                                                            18   111.     “He kept taking the iPod from   “Bat Dad Is The Father You Deserved”
                                                                                            19            Sienna”                         (http://www.break.com/video/bat-dad-is-
                                                                                            20            (https://www.youtube.com/wat    the-father-you-deserved-2780463) –
                                                                                            21            ch?v=DIZf7ZZ_3g4) –             posted Oct. 26, 2014
                                                                                            22            acquired Sept. 24, 2013
                                                                                            23   112.     “He didn't like my singing”     “Bat Dad Is The Father You Deserved”
                                                                                            24            (https://www.youtube.com/wat    (http://www.break.com/video/bat-dad-is-
                                                                                            25            ch?v=gJ5eRkYYSHg) –             the-father-you-deserved-2780463) –
                                                                                            26            acquired Sept. 24, 2013         posted Oct. 26, 2014
                                                                                            27   113.     “Crate training”                “Bat Dad Is The Father You Deserved”
                                                                                            28            (https://www.youtube.com/wat    (http://www.break.com/video/bat-dad-is-
                                                                                                                                          57
                                                                                                                                                                       COMPLAINT
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                                                                                             1            ch?v=HNuz1VtsOaY) –             the-father-you-deserved-2780463) –
                                                                                             2            acquired Sept. 24, 2013         posted Oct. 26, 2014
                                                                                             3   114.     “Friday morning/Friday          “Bat Dad Is The Father You Deserved”
                                                                                             4            afternoon #WOOHOO”              (http://www.break.com/video/bat-dad-is-
                                                                                             5            (https://www.youtube.com/wat    the-father-you-deserved-2780463) –
                                                                                             6            ch?v=YDb-LI_2EEk) –             posted Oct. 26, 2014
                                                                                             7            acquired Sept. 24, 2013
                                                                                             8   115.     “Stevothemadman Sketch goes     “Pranksters Attempting To Film
                                                                                             9            wrong plastic guns.. (Armed     Robbery Sketch Get Ambushed By Real
                                                                                            10            police)”                        Cops”
                                                                                            11            (https://www.youtube.com/wat    (http://www.break.com/video/pranksters-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            ch?v=6y_q3S1dnYw) –             attempt-robbery-sketch-ambushed-by-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            acquired Dec. 2, 2014           cops-2792387) – posted Dec. 2, 2014
                                                                             310-229-9900




                                                                                            14   116.     “Definition of teamwork”        “Be In Awe Of These Sledge Hammer
                                                                                            15            (www.youtube.com/watch?v=J Men” (http://www.break.com/video/be-
                                                                                            16            1JF3wGjXiA) – acquired Nov.     in-awe-of-these-sledge-hammer-men-
                                                                                            17            28, 2014                        2792479) – posted Dec. 2, 2014
                                                                                            18   117.     “Marine with road rage          “Badass Lady Doesn’t Back Down
                                                                                            19            threaten mother with her kids   Against Disrespectful Marine In Road
                                                                                            20            in the car”                     Rage Incident”
                                                                                            21            (https://www.youtube.com/wat    (http://www.break.com/video/road-rage-
                                                                                            22            ch?v=s4e_hLLQ5Zw) –             video-lady-doesnt-back-down-vs-
                                                                                            23            acquired Nov. 28, 2014          marine-2791323) – posted Nov. 27, 2014
                                                                                            24   118.     “White deer spotted at Fr.      “Check Out This Very Rare White Deer”
                                                                                            25            Hennepin State Park”            (http://www.break.com/video/check-out-
                                                                                            26            (www.youtube.com/watch?v=1 this-very-rare-white-deer-2791113) –
                                                                                            27            XqRgndFeXE) – acquired Nov. posted Nov. 28, 2014
                                                                                            28            24, 2014
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                                                                                                                                                                       COMPLAINT
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                                                                                             1   119.     “Cat trap.”                     “Cat Traps Are Pretty Easy To Make”
                                                                                             2            (https://www.youtube.com/wat    (http://www.break.com/video/cat-traps-
                                                                                             3            ch?v=YApmmxkXF6Y) –             are-pretty-easy-to-make-2790676) –
                                                                                             4            acquired Nov. 18, 2014          posted Nov. 25, 2014
                                                                                             5   120.     “Slo mo destruction at carrer   “Don’t You Hate It When Buildings
                                                                                             6            de Llull”                       Collapse On Your Car?”
                                                                                             7            (https://www.youtube.com/wat    (http://www.break.com/video/don-t-you-
                                                                                             8            ch?v=-_FXo1JqMEA) –             hate-when-buildings-collapse-on-your-
                                                                                             9            acquired Nov. 18, 2014          car-2790635) – posted Nov. 25, 2014
                                                                                            10   121.     “Epic London Underground        “Ping Vs Pong In The Subway”
                                                                                            11            Ping Pong Battle”               (http://www.break.com/video/ping-vs-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            (https://www.youtube.com/wat    pong-in-the-subway-2790630) – posted
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            ch?v=7VBI9C6-x8A) –             Nov. 25, 2014
                                                                             310-229-9900




                                                                                            14            acquired Nov. 24, 2014
                                                                                            15   122.     “Aaah! VR too spooky.”          “The Oculus Rift Is Crazy Realistic”
                                                                                            16            (https://www.youtube.com/wat    (http://www.break.com/video/the-
                                                                                            17            ch?v=70Vrww78at0) –             oculus-rift-is-crazy-realistic-2805289) –
                                                                                            18            acquired Jan. 8, 2015           posted Jan. 9, 2015
                                                                                            19   123.     “How To Catch Piranhas With     “Poles? Don’t Need No Poles For
                                                                                            20            Chunks Of Meat”                 Piranha Fishing”
                                                                                            21            (http://www.youtube.com/watc    (http://www.break.com/video/poles-don-
                                                                                            22            h?v=mJCPrrec4pg) – acquired     t-need-no-poles-for-piranha-fishing-
                                                                                            23            July 28, 2014                   2804850) – posted Jan. 8, 2015
                                                                                            24   124.     “Putokan blues dami ko tawa     “Is That How The Balloon Game Is
                                                                                            25            dito........”                   Supposed To Work?”
                                                                                            26            (http://www.youtube.com/watc    (http://www.break.com/video/is-that-
                                                                                            27            h?v=C-3W9auLzvY) –              how-the-balloon-game-is-supposed-to-
                                                                                            28            acquired Jan. 5, 2015           work-2804832) – posted Jan. 8, 2015
                                                                                                                                          59
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                                                                                             1   125.     “Chief Sealth vs Garfield HS    “Oh My Goodness! This High Schooler
                                                                                             2            highlight”                      Got Ridiculous Air On Alley-oop Dunk”
                                                                                             3            (https://www.youtube.com/wat    (http://www.break.com/video/hafid-
                                                                                             4            ch?v=EwreWBtdmY4) –             yassin-dunk-video-alley-oop-for-chief-
                                                                                             5            acquired Jan. 8, 2015           sealth-2804665) – posted Jan. 8, 2015
                                                                                             6   126.     “Inside The Inferno: Adelaide   “Fire From The Firefighter’s POV”
                                                                                             7            Hills Ablaze, a Firefighter's   (http://www.break.com/video/the-
                                                                                             8            Perspective.”                   firefighter-s-pov-2803992) – posted Jan.
                                                                                             9            (http://www.youtube.com/watc    6, 2015
                                                                                            10            h?v=ALPStjWN9TY) –
                                                                                            11            acquired Jan. 5, 2015
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   127.     “Fast flickering tongue”        “What This Girl Can Do With Her
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            (http://www.youtube.com/watc    Tongue Will Make All People Want To
                                                                             310-229-9900




                                                                                            14            h?v=Fbk86T-E7uo) – acquired     Marry Her”
                                                                                            15            Jan. 6, 2015                    (http://www.break.com/video/girl-with-
                                                                                            16                                            lizard-tongue-flickering-tongue-
                                                                                            17                                            2803468) – posted Jan. 5, 2015
                                                                                            18   128.     “Great Dane Too Big for Bed”    “Big Dog Vs Little Bed”
                                                                                            19            (http://www.youtube.com/watc    (http://www.break.com/video/big-dog-
                                                                                            20            h?v=JQGC3ppdP3k) –              vs-little-bed-2802754) – posted Jan. 4,
                                                                                            21            acquired Dec. 29, 2014          2015
                                                                                            22   129.     “Car at Petrol Station”         “The Case Of The Missing Gas Cap”
                                                                                            23            (http://www.youtube.com/watc    (http://www.break.com/video/the-case-
                                                                                            24            h?v=2-2nm55XNxE) –              of-the-missing-gas-cap-2801834) –
                                                                                            25            acquired July 21, 2014          posted Dec. 30, 2014
                                                                                            26   130.     “I'm telling on you”            “This Is How Crafty Dogs Get Out Of
                                                                                            27            (http://www.youtube.com/watc    Trouble”
                                                                                            28            h?v=0FK3mxoMXJc) –              (http://www.break.com/video/this-is-
                                                                                                                                          60
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                                                                                             1            acquired Jan. 28, 2015         how-crafty-dogs-get-out-of-trouble-
                                                                                             2                                           2801447) – posted Dec. 29, 2014
                                                                                             3   131.     “Motorcycle Trainee Crashes    “U-Turn, U-Crash”
                                                                                             4            doing U-Turn”                  (http://www.break.com/video/u-turn-
                                                                                             5            (http://www.youtube.com/watc   through-a-fence-2812793) – posted Jan.
                                                                                             6            h?v=n8BRsP4cwac) – acquired 28, 2015
                                                                                             7            Jan. 19, 2015
                                                                                             8   132.     “Cat Punishes Bad Singer”      “Cat Had A Perfect Answer To Chick’s
                                                                                             9            (http://www.youtube.com/watc   Bad Singing”
                                                                                            10            h?v=SdBLgrp0VWo) –             (http://www.break.com/video/cat-has-
                                                                                            11            acquired Jan. 26, 2015         perfect-answer-to-chicks-singing-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12                                           2811980) – posted Jan. 26, 2015
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   133.     “Guy Tricked into Getting      “How To Stick Someone To A Lamp
                                                                             310-229-9900




                                                                                            14            Stuck on Pole”                 Post” (http://www.break.com/video/how-
                                                                                            15            (http://www.youtube.com/watc   to-stick-someone-to-a-lamp-post-
                                                                                            16            h?v=sZC1Op7eKqg) –             2811854) – posted Jan. 26, 2015
                                                                                            17            acquired Jan. 26, 2015
                                                                                            18   134.     “Guy Pops Champagne Bottle     “This Man Demonstrates The Most
                                                                                            19            with Butt”                     Pleasurable Way To Open A Beer
                                                                                            20            (http://www.youtube.com/watc   Bottle”
                                                                                            21            h?v=m1PnDWyAxRM) –             (http://www.break.com/video/man-open-
                                                                                            22            acquired Jan. 26, 2015         beer-bottle-with-his-butt-pop-sound-
                                                                                            23                                           2811742) – posted Jan. 26, 2015
                                                                                            24   135.     “Dad Gets Angry over Hidden    “Dad Is Not A Fan Of Hot Peppers
                                                                                            25            Chili in Dinner”               Hidden In His Dinner”
                                                                                            26            (http://www.youtube.com/watc   (http://www.break.com/video/dad-is-not-
                                                                                            27            h?v=AWxzMO3yI9c) –             a-fan-of-hot-peppers-hidden-in-his-
                                                                                            28            acquired Jan. 23, 2015         dinner-2810935) – posted Jan. 25, 2015
                                                                                                                                         61
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                                                                                                 9783177-v1
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                                                                                             1   136.     “Dad Gets Angry over Hidden       “Bring Your Dog To The Beach, You
                                                                                             2            Chili in Dinner”                  Might Catch A Seal”
                                                                                             3            (http://www.youtube.com/watc      (http://www.break.com/video/seal-and-
                                                                                             4            h?v=AWxzMO3yI9c) –                dog-are-friends-2810934) – posted Jan.
                                                                                             5            acquired Jan. 23, 2015            25, 2015
                                                                                             6   137.     “Roof Collapses while             “Nothing Beats A Dummy Using A
                                                                                             7            Construction Work Stands on       Chainsaw”
                                                                                             8            it”                               (http://www.break.com/video/nothing-
                                                                                             9            (http://www.youtube.com/watc      beats-a-dummy-using-a-chainsaw-
                                                                                            10            h?v=pNuD4j0m2Qk) –                2810831) – posted Jan. 23, 2015
                                                                                            11            acquired Jan. 17, 2015
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   138.     “Model Falls off Stripper Pole    “What Goes Up The Stripper Pole Must
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            during Photoshoot”                Come Down The Stripper Pole”
                                                                             310-229-9900




                                                                                            14            (http://www.youtube.com/watc      (http://www.break.com/video/slipping-
                                                                                            15            h?v=j0xZs18Pow0) – acquired       on-the-stripper-pole-2810309) – posted
                                                                                            16            Jan. 19, 2015                     Jan. 22, 2015
                                                                                            17   139.     “Ed sheer-chins live lounge set   “Thinking Out Loud And Upside Down”
                                                                                            18            part 2”                           (http://www.break.com/video/thinking-
                                                                                            19            (http://www.youtube.com/watc      out-loud-and-upside-down-2811843) –
                                                                                            20            h?v=nZfz2dPbgcU) – acquired       posted Jan. 26, 2015
                                                                                            21            Jan. 26, 2015
                                                                                            22   140.     “Extinguishing Car Fire Goes      “Flaming Car Outsmarts Firefighters”
                                                                                            23            Wrong”                            (http://www.break.com/video/flaming-
                                                                                            24            (https://www.youtube.com/wat      car-outsmarts-firefighters-2810305) –
                                                                                            25            ch?v=NsYOTERciOU) –               posted Jan. 22, 2015
                                                                                            26            acquired Jan. 12, 2015
                                                                                            27   141.     “Dog Gets Groomed in Hair         “A Salon Cut For A Labradoodle”
                                                                                            28            Salon”                            (http://www.break.com/video/a-salon-
                                                                                                                                            62
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                                                                                                 9783177-v1
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                                                                                             1            (http://www.youtube.com/watc   cut-for-a-labradoodle-2807207) – posted
                                                                                             2            h?v=dZE1IyNg75o) – acquired Jan. 14, 2015
                                                                                             3            Jan. 11, 2015
                                                                                             4   142.     “4-Year-Old Controls Pack of   “4 Year Old Girl And 6 Pitbulls”
                                                                                             5            Pit Bulls”                     (http://www.break.com/video/4-year-
                                                                                             6            (http://www.youtube.com/watc   old-girl-and-6-pitbulls-2806235) –
                                                                                             7            h?v=wwktkrV5Hcg) – acquired posted Jan. 12, 2015
                                                                                             8            Jan. 13, 2015
                                                                                             9   143.     “Goat Tries to Jump High but   “Can Goats Fly? No”
                                                                                            10            Can’t”                         (http://www.break.com/video/this-goat-
                                                                                            11            (http://www.youtube.com/watc   is-no-escape-artist-2818175) – posted
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            h?v=5qMJkvaNv9I) – acquired Feb. 9, 2015
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            Jan. 30, 2015
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                                                                                            14   144.     “Sheep Raised by Collies       “Sheep Wants To Be One Of The Dogs”
                                                                                            15            Thinks She’s a Dog”            (http://www.break.com/video/sheep-
                                                                                            16            (http://www.youtube.com/watc   wants-to-be-one-of-the-dogs-2816557) –
                                                                                            17            h?v=0y2ZxgJNlWs) – acquired posted Feb. 8, 2015
                                                                                            18            Feb. 5, 2015
                                                                                            19   145.     “Cat Tries to Dig through      “How Many Scratches To Get To The
                                                                                            20            Snow Drift”                    Center Of A Snow Drift?”
                                                                                            21            (http://www.youtube.com/watc   (http://www.break.com/video/cat-vs-
                                                                                            22            h?v=gu9VC1MyAEU) –             massive-snow-drift-2816490) – posted
                                                                                            23            acquired Feb. 4, 2015          Feb. 6, 2015
                                                                                            24   146.     “Man and Young Boy Sucked      “The Old Watering Hole Just Got
                                                                                            25            into Drain”                    Deeper”
                                                                                            26            (http://www.youtube.com/watc   (http://www.break.com/video/watering-
                                                                                            27            h?v=nTO5gD5th-0) – acquired    hole-just-got-deeper-2816089) – posted
                                                                                            28            Feb. 5, 2015                   Feb. 5, 2015
                                                                                                                                         63
                                                                                                                                                                       COMPLAINT
                                                                                                 9783177-v1
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                                                                                             1   147.     “Thieves Slip on Ice Robbing   “Statue Thief Gets A Taste Of Karma”
                                                                                             2            Consignment Store”             (http://www.break.com/video/statue-
                                                                                             3            (http://www.youtube.com/watc   thief-gets-a-taste-of-karma-2816103) –
                                                                                             4            h?v=IfgFa3bHDXI) – acquired    posted Feb. 5, 2015
                                                                                             5            Feb. 3, 2015
                                                                                             6   148.     “Toddler Keeps Falling in      “Tiny Fella Can’t Quite Keep His
                                                                                             7            Puddle”                        Balance”
                                                                                             8            (http://www.youtube.com/watc   (http://www.break.com/video/tiny-fella-
                                                                                             9            h?v=DrNvZQEwTMA) –             can-t-quite-keep-his-balance-2815498) –
                                                                                            10            acquired Jan. 8, 2015          posted Feb. 3, 2015
                                                                                            11   149.     “3-Week-Old Boxer Puppy        “3 Week Old Boxer Pup Learning To
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            Tries to Howl”                 Howl”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            (http://www.youtube.com/watc   (http://www.break.com/video/boxer-pup-
                                                                             310-229-9900




                                                                                            14            h?v=xx6I0GrKlQQ) – acquired learning-to-howl-2815564) – posted Feb.
                                                                                            15            Jan. 29, 2015                  3, 2015
                                                                                            16   150.     “Drone Crashes into            “Drone Fail, Then Recovery, Then Fail”
                                                                                            17            Skyscraper Twice”              (http://www.break.com/video/drone-fail-
                                                                                            18            (http://www.youtube.com/watc   then-recovery-then-fail-2816069) –
                                                                                            19            h?v=YN1nLff6k0k) – acquired posted Feb. 4, 2015
                                                                                            20            Feb. 4, 2015
                                                                                            21   151.     “Mount the curb- A guided      “Not All Cops Are Out To Give You A
                                                                                            22            tour from the NYPD”            Hard Time”
                                                                                            23            (http://www.youtube.com/watc   (http://www.break.com/video/not-all-
                                                                                            24            h?v=o0gALpGaHEY) –             cops-are-out-to-give-you-a-hard-time-
                                                                                            25            acquired Jan. 31, 2015         2816012) – posted Feb. 4, 2015
                                                                                            26   152.     “Man Plays Jenga with Mouse    “Mouse Trap Jenga Is The Funnest
                                                                                            27            Trap, Loses”                   Game You’ll Never Be Brave Enough
                                                                                            28            (http://www.youtube.com/watc   To Play”
                                                                                                                                         64
                                                                                                                                                                       COMPLAINT
                                                                                                 9783177-v1
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                                                                                             1            h?v=EA5Z1761ImI) – acquired (http://www.break.com/video/mouse-
                                                                                             2            Feb. 2, 2015                     trap-jenga-cheese-on-mousetrap-snap-
                                                                                             3                                             fingers-2814683) – posted Feb. 1, 2015
                                                                                             4   153.     “Truck Falls on its Side doing   “Looks Like You Can’t Spin Monster
                                                                                             5            Donuts”                          Donuts”
                                                                                             6            (http://www.youtube.com/watc     (http://www.break.com/video/looks-like-
                                                                                             7            h?v=f9gSSASppFM) –               you-can-t-spin-monster-donuts-2819554)
                                                                                             8            acquired Feb. 6, 2014            – posted Feb. 12, 2015
                                                                                             9   154.     “Dancers Perform on Airport      “How To Make The Best Of A Plane
                                                                                            10            Moving Sidewalk”                 Delay”
                                                                                            11            (http://www.youtube.com/watc     (http://www.break.com/video/how-to-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            h?v=pwIPHPA1qvk) –               make-the-best-of-a-plane-delay-
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13            acquired Feb. 10, 2015           2819563) – posted Feb. 12, 2015
                                                                             310-229-9900




                                                                                            14   155.     “Mega-Cavern Bike Park”          “This Old Mine Was Turned Into A
                                                                                            15            (http://www.youtube.com/watc     Huge Bike Park”
                                                                                            16            h?v=bywQ7lwdD04) –               (http://www.break.com/video/this-old-
                                                                                            17            acquired Feb. 12, 2015           mine-was-turned-into-a-huge-bike-park-
                                                                                            18                                             2819105) – posted Feb. 11, 2015
                                                                                            19   156.     “Snowmobile Capsizes             “Keep Your Snowmobile On The Snow”
                                                                                            20            Crossing River”                  (http://www.break.com/video/keep-your-
                                                                                            21            (http://www.youtube.com/watc     snowmobile-on-the-snow-2820009) –
                                                                                            22            h?v=sLxE9u0nQyY) –               posted Feb. 13, 2015
                                                                                            23            acquired Feb. 9, 2015
                                                                                            24   157.     “Kid Screams and Sings           “The Panic Chandelier”
                                                                                            25            Chandelier”                      (http://www.break.com/video/the-panic-
                                                                                            26            (http://www.youtube.com/watc     chandelier-2820005) – posted Feb. 13,
                                                                                            27            h?v=lDEWuLQDOCA) –               2015
                                                                                            28            acquired Feb. 13, 2015
                                                                                                                                           65
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                                                                                             1   158.     “Man Gets Gun Pulled on Him    “Paranoid Neighbor Pulls Gun On Black
                                                                                             2            on Neighborhood Street”        Pedestrian”
                                                                                             3            (http://www.youtube.com/watc   (http://www.break.com/video/paranoid-
                                                                                             4            h?v=9b1fa93clLI) – acquired    neighbor-pulls-gun-on-black-pedestrian-
                                                                                             5            Feb. 13, 2015                  2820032) – posted Feb. 13, 2015
                                                                                             6   159.     “Ping Pong Shot around Back”   “Miraculous Ping Pong Shot Leaves
                                                                                             7            (http://www.youtube.com/watc   Opponent Stunned Beyond Words”
                                                                                             8            h?v=IumELWqOScA) –             (http://www.break.com/video/ping-pong-
                                                                                             9            acquired Feb. 23, 2015         shot-leaves-opponent-stunned-beyond-
                                                                                            10                                           words-2824097) – posted Feb. 24, 2015
                                                                                            11   160.     “Bulldog Breaks Window         “The Cat Teased The Dog Once Too
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            Chasing Cat”                   Often”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            (http://www.youtube.com/watc   (http://www.break.com/video/the-cat-
                                                                             310-229-9900




                                                                                            14            h?v=W4pIgOcHJNY) –             teased-the-dog-once-too-often-2823775)
                                                                                            15            acquired Feb. 19, 2015         – posted Feb. 23, 2015
                                                                                            16   161.     “Drunk Guy Falls when Door     “Welcome Home, Drunk”
                                                                                            17            Opens”                         (http://www.break.com/video/how-a-
                                                                                            18            (https://www.youtube.com/wat   drunk-celebrates-coming-home-
                                                                                            19            ch?v=7loGPW6faww) –            2823770) – posted Feb. 23, 2015
                                                                                            20            acquired Jan. 19, 2015
                                                                                            21   162.     “Three-Year-Old Passionately   “Behold The Tiniest Ninja”
                                                                                            22            Recites Taekwondo Creed”       (http://www.break.com/video/behold-
                                                                                            23            (https://www.youtube.com/wat   the-tiniest-ninja-2822383) – posted Feb.
                                                                                            24            ch?v=RzFmWjavzYM) –            23, 2015
                                                                                            25            acquired Feb. 12, 2015
                                                                                            26   163.     “West Ham Fans Show Class      “Are All English Soccer Fans Racist?
                                                                                            27            on Train”                      This Guy Finds Out For Himself”
                                                                                            28            (https://www.youtube.com/wat   (http://www.break.com/video/are-all-
                                                                                                                                         66
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                                                                                             1            ch?v=QmWxq5mOk5I) –               english-soccer-fans-racist-man-finds-
                                                                                             2            acquired Feb. 23, 2015            out-2823612) – posted Feb. 23, 2015
                                                                                             3   164.     “Dog Shovels Ice Rink”            “Canadian Lab Loves Hockey So Much
                                                                                             4            (https://www.youtube.com/wat      She Shovels The Rink To Get People To
                                                                                             5            ch?v=0Wepe84nWHk) –               Play”
                                                                                             6            acquired Feb. 23, 2015            (http://www.break.com/video/canadian-
                                                                                             7                                              lab-shovels-outdoor-hockey-rink-
                                                                                             8                                              2822857) – posted Feb. 21, 2015
                                                                                             9   165.     “Man Hangs onto Back of Car       “Parking Lot Fight Quickly Escalates To
                                                                                            10            after Fight”                      Attempted Murder”
                                                                                            11            (https://www.youtube.com/wat      (http://www.break.com/video/parking-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            ch?v=W1D3SnPM3J0) –               lot-fight-escalates-to-attempted-murder-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            acquired Feb. 20, 2015            2822787) – posted Feb. 21, 2015
                                                                             310-229-9900




                                                                                            14   166.     “Christian Bale Ziplines in the   “Batman Goes On Vacation In The
                                                                                            15            Dominican Republic”               Dominican”
                                                                                            16            (https://www.youtube.com/wat      (http://www.break.com/video/christian-
                                                                                            17            ch?v=gudwgfCCCuM) –               bale-hits-up-a-zipline-2821726) – posted
                                                                                            18            acquired Feb. 18, 2015            Feb. 21, 2015
                                                                                            19   167.     “Friend Films Guy as He Poses “Just Keep Posing”
                                                                                            20            for Silly Picture”                (http://www.break.com/video/just-keep-
                                                                                            21            (https://www.youtube.com/wat      posing-2821660) – posted Feb. 19, 2015
                                                                                            22            ch?v=1hkZw8E_J1U) –
                                                                                            23            acquired Feb. 23, 2015
                                                                                            24   168.     “Dog Knocks over Cat to Steal     “Cat learns To Play Now Or Suffer The
                                                                                            25            Toy”                              Consequences”
                                                                                            26            (https://www.youtube.com/wat      (http://www.break.com/video/this-toy-is-
                                                                                            27            ch?v=798TTsjf9v0) – acquired      not-for-you-2821662) – posted Feb. 19,
                                                                                            28            Feb. 17, 2015                     2015
                                                                                                                                            67
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                                                                                             1   169.     “Girl Falls Pouring Vinegar for “When Baking Soda Volcanos Fail”
                                                                                             2            Volcano Experiment”              (http://www.break.com/video/when-
                                                                                             3            (https://www.youtube.com/wat     baking-soda-volcanos-fail-2821680) –
                                                                                             4            ch?v=VRoYCpjMPyk) –              posted Feb. 19, 2015
                                                                                             5            acquired Feb. 19, 2015
                                                                                             6   170.     “Sea Lion Chases Child’s         “Who Knew Sea Lions Loved Gloves”
                                                                                             7            Glove at Zoo”                    (http://www.break.com/video/who-
                                                                                             8            (https://www.youtube.com/wat     knew-sea-lions-loved-gloves-2821079) –
                                                                                             9            ch?v=bOyAO0H1gck) –              posted Feb. 17, 2015
                                                                                            10            acquired Feb. 16, 2015
                                                                                            11   171.     “New Shot!! Over the             “That’s An Impressive Trick Shot For A
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            shoulder, no look, out of the”   Little Dude”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            (https://www.youtube.com/wat     (http://www.break.com/video/the-tiniest-
                                                                             310-229-9900




                                                                                            14            ch?v=KuvmR20yCe8) –              archer-is-pretty-badass-2825703) –
                                                                                            15            acquired Feb. 23, 2015           posted Feb. 26, 2015
                                                                                            16   172.     “Buffalo Runs Straight Into      “These Thuggish Buffaloes Don’t Mess
                                                                                            17            Car”                             Around When Guarding Their
                                                                                            18            (https://www.youtube.com/wat     Yellowstone Home”
                                                                                            19            ch?v=srLjIZK2y_8) – acquired (http://www.break.com/video/yellowston
                                                                                            20            Feb. 28, 2015                    e-buffalo-rams-into-car-2828198) –
                                                                                            21                                             posted Mar. 3, 2015
                                                                                            22   173.     “Kind Moorhens Share Food”       “They Share The Food! Proof That
                                                                                            23            (https://www.youtube.com/wat     Moorhens Are The Most Thoughtful
                                                                                            24            ch?v=mDSmJ8_U8uQ) –              Animals Ever”
                                                                                            25            acquired Feb. 27, 2015           (http://www.break.com/video/moorhens-
                                                                                            26                                             sharing-food-at-a-park-2826732) –
                                                                                            27                                             posted Feb. 28, 2015
                                                                                            28   174.     “Driver Cuts off Cyclist and     “Angry Minivan Driver Cuts Off Cyclist,
                                                                                                                                           68
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                                                                                             1            Has Major Road Rage”             Then Suffers Epic Case Of Road Rage”
                                                                                             2            (https://www.youtube.com/wat     (http://www.break.com/video/san-
                                                                                             3            ch?v=YinWeRwRsf8) –              francisco-road-rage-minivan-driver-vs-
                                                                                             4            acquired Feb. 27, 2015           cyclist-2826606) – posted Feb. 28, 2015
                                                                                             5   175.     “Drone Rescues RC Helicopter “Chopper Down, Send In The Drone”
                                                                                             6            from Roof”                       (http://www.break.com/video/drone-
                                                                                             7            (https://www.youtube.com/wat     mission-chopper-rescue-2825704) –
                                                                                             8            ch?v=tJHip3HGKm8) –              posted Feb. 27, 2015
                                                                                             9            acquired Feb. 24, 2015
                                                                                            10   176.     “Basset Hound Clown Car”         “That’s Too Many Dogs For One Bed”
                                                                                            11            (https://www.youtube.com/wat     (http://www.break.com/video/that-s-too-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            ch?v=cG4CEr2aiSg) –              many-dogs-for-one-bed-2825640) –
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            acquired Mar. 12, 2015           posted Feb. 26, 2015
                                                                             310-229-9900




                                                                                            14   177.     “Dog Adds More Cowbell”          “Got A Fever? The Only Cure Is More
                                                                                            15            (https://www.youtube.com/wat     Cowbell”
                                                                                            16            ch?v=ui0PwmmzJTE) –              (http://www.break.com/video/even-the-
                                                                                            17            acquired Feb. 23, 2015           dog-wants-more-cowbell-2825092) –
                                                                                            18                                             posted Feb. 25, 2015
                                                                                            19   178.     “Husky Puppy Tries to Talk”      “The Chattiest Puppy You’ll Ever See”
                                                                                            20            (https://www.youtube.com/wat     (http://www.break.com/video/that-s-one-
                                                                                            21            ch?v=QNot4iC7K8s) –              talkative-puppy-2825002) – posted Feb.
                                                                                            22            acquired Feb. 25, 2015           25, 2015
                                                                                            23   179.     “Little Girl Shows of Tahitian   “Little Girl Busts Out Some Tahitian
                                                                                            24            Dance Moves”                     Dance Moves”
                                                                                            25            (https://www.youtube.com/wat     (http://www.break.com/video/little-girl-
                                                                                            26            ch?v=Vey86aEaZJg) –              has-the-tahitian-spirit-2824968) – posted
                                                                                            27            acquired Feb. 22, 2015           Feb. 25, 2015
                                                                                            28   180.     “Super Talented Dog, his         “Dog Gets So Excited To Play Fetch
                                                                                                                                           69
                                                                                                                                                                         COMPLAINT
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                                                                                             1            mouth movement is not edited” That He Starts Dropping Rhymes”
                                                                                             2            (https://www.youtube.com/wat   (http://www.break.com/video/dog-
                                                                                             3            ch?v=oEejgX1NANE) –            rapping-while-waiting-to-play-fetch-
                                                                                             4            acquired Mar. 2, 2015          2828690) – posted Mar. 4, 2015
                                                                                             5   181.     “Super Talented Dog, his       “It’s A Rapping Yorkie”
                                                                                             6            mouth movement is not edited” (http://www.break.com/video/this-
                                                                                             7            (https://www.youtube.com/wat   yorkie-can-spit-rhymes-2829221) –
                                                                                             8            ch?v=oEejgX1NANE) –            posted Mar. 6, 2015
                                                                                             9            acquired Mar. 2, 2015
                                                                                            10   182.     “Goat says what what”          “Jules Vs Goat”
                                                                                            11            (https://www.youtube.com/wat   (http://www.break.com/video/sam-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            ch?v=IQLRwEwfbCI) –            jackson-has-no-patience-for-repetitive-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            acquired Oct. 27, 2014         goats-2828317) – posted Mar. 3, 2015
                                                                             310-229-9900




                                                                                            14   183.     “Teen Exercise Ball Prank”     “Simple Exercise Ball Prank Leaves
                                                                                            15            (https://www.youtube.com/wat   Poor Kid With A Broken Butt”
                                                                                            16            ch?v=wfu1GlIF67c) – acquired (http://www.break.com/video/exercise-
                                                                                            17            Mar. 3, 2015                   ball-prank-leaves-kid-with-a-broken-
                                                                                            18                                           butt-2828220) – posted Mar. 3, 2015
                                                                                            19   184.     “Cat Can’t Jump”               “This Cat Fails Like A Champ”
                                                                                            20            (https://www.youtube.com/wat   (http://www.break.com/video/this-cat-
                                                                                            21            ch?v=0LC3SXj18x0) –            fails-like-a-champ-2821718) – posted
                                                                                            22            acquired Feb. 25, 2015         Feb. 21, 2015
                                                                                            23   185.     “Multiple Boats Crash during   “Row, Row, Row Your Ow!”
                                                                                            24            Crew Race”                     (http://www.break.com/video/row-row-
                                                                                            25            (https://www.youtube.com/wat   row-your-ow-2819617) – posted Feb. 13,
                                                                                            26            ch?v=XDvMBPZ5Bik) –            2015
                                                                                            27            acquired Nov. 11, 2014
                                                                                            28   186.     “Dog Too Lazy for Walk”        “Walks Are For Suckers, Not This DOg”
                                                                                                                                         70
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                                                                                             1            (https://www.youtube.com/wat   (http://www.break.com/video/some-
                                                                                             2            ch?v=rY9Fc-of9ic) – acquired   dogs-prefer-to-walk-others-don-t-
                                                                                             3            Dec. 2, 2014                   2816997) – posted Feb. 6, 2015
                                                                                             4   187.     “Woman Breaks Watermelon       “Watching Women Crush Watermelon
                                                                                             5            with Legs”                     With Thighs Is Strangely Mesmerizing”
                                                                                             6            (https://www.youtube.com/wat   (http://www.break.com/video/women-
                                                                                             7            ch?v=Ao0mij7EHUA) –            crush-watermelon-with-thighs-
                                                                                             8            acquired Feb. 9, 2015          compilation-video-2815902) – posted
                                                                                             9                                           Feb. 4, 2015
                                                                                            10   188.     “Man Unboxes Hibernating       “How To Wake Up Your Hibernating
                                                                                            11            Tortoise”                      Tortoise”
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            (https://www.youtube.com/wat   (http://www.break.com/video/bringing-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            ch?v=rS4JXnULUcs) –            your-hibernating-tortoise-back-to-life-
                                                                             310-229-9900




                                                                                            14            acquired Mar. 7, 2015          2830454) – posted Mar. 9, 2015
                                                                                            15   189.     “Amazing Moment When           “Emotional Moment Father Hears
                                                                                            16            Father of Four Hears Silence   Silence For The First Time In Many
                                                                                            17            for First Time”                Moons”
                                                                                            18            (https://www.youtube.com/wat   (http://www.break.com/video/emotional-
                                                                                            19            ch?v=18kqcczy6MQ) –            moment-father-hears-silence-for-first-
                                                                                            20            acquired Mar. 6, 2015          time-2829782) – posted Mar. 7, 2015
                                                                                            21   190.     “Attempted Car Thief Hits Self “Those New Rubber Windows Paid Off”
                                                                                            22            in Head with Brick”            (http://www.break.com/video/how-to-
                                                                                            23            (https://www.youtube.com/wat   not-rob-a-car-2829632) – posted Mar. 6,
                                                                                            24            ch?v=jdQw9dGrAEU) –            2015
                                                                                            25            acquired Feb. 26, 2015
                                                                                            26   191.     “Hidden Lord of the Rings      “Secret Lord Of The Rings Hidden
                                                                                            27            Door in House”                 Entrance”
                                                                                            28            (https://www.youtube.com/wat   (http://www.break.com/video/check-out-
                                                                                                                                         71
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                                                                                                 9783177-v1
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                                                                                             1            ch?v=R1ZS43Vt8G8) –             this-very-cool-lotr-secret-door-2829211)
                                                                                             2            acquired Mar. 4, 2015           – posted Mar. 6, 2015
                                                                                             3   192.     “Guy Uses Chainsaw to Cut       “What Happens When You Chainsaw A
                                                                                             4            Down Tree and Ends up           Beehive”
                                                                                             5            Hitting Beehive”                (http://www.break.com/video/chainsaw-
                                                                                             6            (https://www.youtube.com/wat    beehive-bad-news-2830504) – posted
                                                                                             7            ch?v=ovVOXhJZt0I) –             Mar. 9, 2015
                                                                                             8            acquired Mar. 10, 2015
                                                                                             9   193.     “Dog Reacts to the Promise      “Treats Good! No Bad!”
                                                                                            10            and Retraction of Treats”       (http://www.break.com/video/this-dog-
                                                                                            11            (https://www.youtube.com/wat    is-ready-for-treats-2829606) – posted
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            ch?v=CMw09prGMdg) –             Mar. 6, 2015
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            acquired Feb. 16, 2015
                                                                             310-229-9900




                                                                                            14   194.     “Hunter Tries to Crawl Across   “Big Fella On Thin Ice”
                                                                                            15            Ice and Falls Through”          (http://www.break.com/video/big-fella-
                                                                                            16            (https://www.youtube.com/wat    on-thin-ice-2829533) – posted Mar. 6,
                                                                                            17            ch?v=FnRh_LZrS0Y) –             2015
                                                                                            18            acquired Jan. 16, 2015
                                                                                            19   195.     “Paintball Player Smashes Face “This Guy Is Not Cut Out For Paintball”
                                                                                            20            into Barrel”                    (http://www.break.com/video/this-guy-
                                                                                            21            (https://www.youtube.com/wat    is-not-cut-out-for-paintball-2829209) –
                                                                                            22            ch?v=Av9tim8lHl0) – acquired posted Mar. 5, 2015
                                                                                            23            Mar. 4, 2015
                                                                                            24   196.     “English Bulldog Puppy Rides    “Some Pups Like Going For Walks
                                                                                            25            in Carrier”                     More Than Others”
                                                                                            26            (https://www.youtube.com/wat    (http://www.break.com/video/ready-to-
                                                                                            27            ch?v=xrSJfGTzy44) – acquired go-puppy-2829174) - posted Mar. 5,
                                                                                            28            Mar. 2, 2015                    2015
                                                                                                                                          72
                                                                                                                                                                        COMPLAINT
                                                                                                 9783177-v1
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                                                                                             1   197.     “Sea Lion Grabs Big Fish”      “The Ultimate Thug Life Vine
                                                                                             2            (https://www.youtube.com/wat   Compilation”
                                                                                             3            ch?v=sGz-NIBZwEw) –            (http://www.break.com/video/so-many-
                                                                                             4            acquired Oct. 28, 2013         thugs-so-many-vines-2832022) – posted
                                                                                             5                                           Mar. 12, 2015
                                                                                             6   198.     “Skier Flips into Tree and     “Suddenly, A Tree Appears”
                                                                                             7            Lands in Hospital”             (http://www.break.com/video/the-
                                                                                             8            (https://www.youtube.com/wat   japanese-tree-flip-2831476) – posted
                                                                                             9            ch?v=nlKQoXPGY7Q) –            Mar. 11, 2015
                                                                                            10            acquired Mar. 2, 2015
                                                                                            11   199.     “Cat Hides to Sneak Attack     “Sneaky Cat Ambushes His Buddy”
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            other Cat”                     (http://www.break.com/video/cat-attack-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            (https://www.youtube.com/wat   from-behind-2832945) – posted Mar. 14,
                                                                             310-229-9900




                                                                                            14            ch?v=cvJ2BDkcLjE) –            2015
                                                                                            15            acquired Mar. 10, 2015
                                                                                            16   200.     “Dachshunds Play Fetch in      “This Weiner Dog Is A Bad Goalie”
                                                                                            17            Snow Tunnel”                   (http://www.break.com/video/this-
                                                                                            18            (https://www.youtube.com/wat   weiner-dog-is-a-bad-goalie-2832568) –
                                                                                            19            ch?v=Iidq-rV7J2E) – acquired   posted Mar. 13, 2015
                                                                                            20            Mar. 10, 2015
                                                                                            21   201.     “Shark Steals Fish from        “This Shark Has No Respect For The
                                                                                            22            Fisherman”                     Sport Of Fishing”
                                                                                            23            (https://www.youtube.com/wat   (http://www.break.com/video/freeloadin
                                                                                            24            ch?v=eBAQ8Sm6il8) –            g-shark-snags-a-meal-2834952) – posted
                                                                                            25            acquired Mar. 13, 2015         Mar. 18, 2015
                                                                                            26   202.     “Cop Stun Guns Naked Man in “This Guy Got A Bad Tasering”
                                                                                            27            the Junk”                      (http://www.break.com/video/this-guy-
                                                                                            28            (https://www.youtube.com/wat   got-a-bad-tasering-2834957) – posted
                                                                                                                                         73
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                                                                                             1            ch?v=TgQiTPkAwNQ) –            Mar. 18, 2015
                                                                                             2            acquired Mar. 15, 2015
                                                                                             3   203.     “Kids Sing National Anthem     “Kids Singing The Star-Spangled Banner
                                                                                             4            into Fans at Walmart”          Into Walmart Fans Is America In A
                                                                                             5            (https://www.youtube.com/wat   Nutshell”
                                                                                             6            ch?v=3zRkZNViyhc) –            (http://www.break.com/video/patriotic-
                                                                                             7            acquired Mar. 25, 2015         kids-sing-national-anthem-into-walmart-
                                                                                             8                                           fans-2837696) – posted Mar. 25, 2015
                                                                                             9   204.     “A whole new world - Kevin     “The Magic Of Aladdin Comes To Life”
                                                                                            10            Gordon- Magic Carpet Ride –    (http://www.break.com/video/aladdin-
                                                                                            11            Aladdin”                       needs-to-be-careful-of-road-rash-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            (https://www.youtube.com/wat   2836816) – posted Mar. 24, 2015
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            ch?v=rmJ9eWu82aw) –
                                                                             310-229-9900




                                                                                            14            acquired Mar. 22, 2015
                                                                                            15   205.     “Cookie Monster as a Trapdoor “Hey, What’s That Cricket – Aahh!”
                                                                                            16            Spider”                        (http://www.break.com/video/this-
                                                                                            17            (https://www.youtube.com/wat   cricket-is-about-to-have-a-bad-day-
                                                                                            18            ch?v=98w6VHExKvg) –            2836786) – posted Mar. 23, 2015
                                                                                            19            acquired Mar. 16, 2015
                                                                                            20   206.     “UK Women Find Guy's           “The Circus Found Your Phone!”
                                                                                            21            Phone”                         (http://www.break.com/video/the-circus-
                                                                                            22            (https://www.youtube.com/wat   found-your-phone-2836963) – posted
                                                                                            23            ch?v=x04BGtS6dKw) –            Mar. 23, 2015
                                                                                            24            acquired Mar. 25, 2015
                                                                                            25   207.     “Rogue Spider Breaches         “Stealthy Intruder Caught On Night
                                                                                            26            Garage Security”               Vision Camera Casing The Joint”
                                                                                            27            (https://www.youtube.com/wat   (http://www.break.com/video/spider-
                                                                                            28            ch?v=sOIufZGRh0c) –            caught-on-night-vision-camera-in-the-
                                                                                                                                         74
                                                                                                                                                                       COMPLAINT
                                                                                                 9783177-v1
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                                                                                             1            acquired Mar. 23, 2015         garage-2836662) - posted Mar. 23, 2015
                                                                                             2   208.     “Timelapse Video of Solar      “See The Eclipse In Timelapse”
                                                                                             3            Eclipse”                       (http://www.break.com/video/this-solar-
                                                                                             4            (https://www.youtube.com/wat   eclipse-timelapse-is-pretty-cool-
                                                                                             5            ch?v=pRx9qTBHGao) –            2835916) – posted Mar. 20, 2015
                                                                                             6            acquired Mar. 23, 2015
                                                                                             7   209.     “Sea Lion Hangs onto Boat to   “Another Friendly Sea Lion Goes
                                                                                             8            Get Fed”                       Boating”
                                                                                             9            (https://www.youtube.com/wat   (http://www.break.com/video/got-some-
                                                                                            10            ch?v=d8BLbfB2Oas) –            fish-you-have-a-sea-lion-friend-
                                                                                            11            acquired Mar. 25, 2015         2835827) – posted Mar. 20, 2015
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   210.     “Dog Complains about           “What Happens When The Dog Doesn’t
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            Leaving Park”                  Want To Leave The Dog Park”
                                                                             310-229-9900




                                                                                            14            (https://www.youtube.com/wat   (http://www.break.com/video/dog-lays-
                                                                                            15            ch?v=CRtUySYky80) –            out-some-trash-talk-2835375) – posted
                                                                                            16            acquired Mar. 13, 2015         Mar. 19, 2015
                                                                                            17   211.     “Galah Cockatoo Acts Manic”    “What Got This Bird So Stoked?”
                                                                                            18            (https://www.youtube.com/wat   (http://www.break.com/video/the-most-
                                                                                            19            ch?v=8ZbOIp1GUJA) –            excited-bird-ever-takes-a-dive-2835398)
                                                                                            20            acquired Mar. 19, 2015         – posted Mar. 19, 2015
                                                                                            21   212.     “Woman Asks For Cigarette”     “American Woman Gets Shot Down
                                                                                            22            (https://www.youtube.com/wat   While Asking For A Helping Hand”
                                                                                            23            ch?v=h6oCNJ_AVGs) –            (http://www.break.com/video/hey-yall-
                                                                                            24            acquired Mar. 30, 2015         got-a-cigarette-we-dont-smoke-f-off-
                                                                                            25                                           2839415) – posted Mar. 30, 2015
                                                                                            26   213.     “Woman Asks For Cigarette”     “Masterful Y’All Got A Cigarette
                                                                                            27            (https://www.youtube.com/wat   Remix” (http://www.break.com/video/y-
                                                                                            28            ch?v=h6oCNJ_AVGs) –            all-got-a-cigarette-the-remix-2843694) –
                                                                                                                                         75
                                                                                                                                                                        COMPLAINT
                                                                                                 9783177-v1
                                                                                 Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 77 of 88 Page ID #:77



                                                                                             1            acquired Mar. 30, 2015          posted Apr. 8, 2015
                                                                                             2   214.     “Kid Shoots Screen with         “Kid Messing With Gun Accidentally
                                                                                             3            Airsoft Gun”                    Shoots Most Prized Possession, Starts
                                                                                             4            (https://www.youtube.com/wat    Crying”
                                                                                             5            ch?v=GXTLVQ1eiik) –             (http://www.break.com/video/kid-
                                                                                             6            acquired Mar. 29, 2015          shoots-computer-monitor-screen-with-
                                                                                             7                                            airsoft-gun-2839327) – posted Mar. 29,
                                                                                             8                                            2015
                                                                                             9   215.     “Guy Flips off Crowd, Falls off “Spring Break Coward Runs Away From
                                                                                            10            Truck”                          Fight But Can’t Even Do That Right”
                                                                                            11            (https://www.youtube.com/wat    (http://www.break.com/video/spring-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            ch?v=3POv2BVxFYU) –             break-coward-runs-away-from-fight-but-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            acquired Mar. 26, 2015          fails-2837630) – posted Mar. 25, 2015
                                                                             310-229-9900




                                                                                            14   216.     “Man Rescues Pelican with       “Pelican With A Wrapped Beak Gets
                                                                                            15            Fishing Wire Stuck on Beak”     Saved By A Passerby”
                                                                                            16            (https://www.youtube.com/wat    (http://www.break.com/video/just-a-
                                                                                            17            ch?v=Q95plibVr3A) –             dude-saving-a-pelican-2832504) –
                                                                                            18            acquired Feb. 23, 2015          posted Mar. 14, 2015
                                                                                            19   217.     “Puppy Training as Police Dog   “14 Week Old Police Dog In Training”
                                                                                            20            Chases Suspect”                 (http://www.break.com/video/police-
                                                                                            21            (https://www.youtube.com/wat    pup-in-training-2830971) – posted Mar.
                                                                                            22            ch?v=LHX2KunFIJ0) –             10, 2015
                                                                                            23            acquired Mar. 12, 2015
                                                                                            24   218.     “Huge Spider Hides in Toilet”   “Attack Of The Toilet Spider”
                                                                                            25            (https://www.youtube.com/wat    (http://www.break.com/video/this-
                                                                                            26            ch?v=FM1hhKgg434) –             spider-has-a-strong-will-to-live-
                                                                                            27            acquired Mar. 17, 2015          2829168) – posted Mar. 5, 2015
                                                                                            28   219.     “Two Girls Freak out on         “Two Little Girls Lose It On The
                                                                                                                                          76
                                                                                                                                                                          COMPLAINT
                                                                                                 9783177-v1
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                                                                                             1            Slingshot Ride”                 Slingshot”
                                                                                             2            (https://www.youtube.com/wat    (http://www.break.com/video/no-one-
                                                                                             3            ch?v=ACOJbRV_k-k) –             can-handle-the-slingshot-2844398) –
                                                                                             4            acquired Apr. 9, 2015           posted Apr. 10, 2015
                                                                                             5   220.     “Little Boy Steps on Easter     “This Kid Just Learned How To Fail An
                                                                                             6            Egg”                            Easter Egg Roll”
                                                                                             7            (https://www.youtube.com/wat    (http://www.break.com/video/easter-egg-
                                                                                             8            ch?v=ra-vjw502i0) – acquired    roll-fail-2843669) – posted Apr. 8, 2015
                                                                                             9            Apr. 6, 2015
                                                                                            10   221.     “Police Chase Pickup Truck”     “Police Chase Coming Through”
                                                                                            11            (https://www.youtube.com/wat    (http://www.break.com/video/wait-here-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            ch?v=E1WcpcuLt-c) –             the-police-chase-is-on-the-way-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            acquired Apr. 1, 2015           2843673) – posted Apr. 8, 2015
                                                                             310-229-9900




                                                                                            14   222.     “Husky Teaches Other Dogs       “How A Husky Deals With Stress”
                                                                                            15            How To Howl”                    (http://www.break.com/video/how-a-
                                                                                            16            (https://www.youtube.com/wat    husky-deals-with-stress-2843662) –
                                                                                            17            ch?v=LOwTgGivGN8) –             posted Apr. 8, 2015
                                                                                            18            acquired Apr. 7, 2015
                                                                                            19   223.     “Boy Plays with Stunt Kite at   “How Do You Get This Level Of
                                                                                            20            Beach”                          Control Over A Kite?”
                                                                                            21            (https://www.youtube.com/wat    (http://www.break.com/video/check-out-
                                                                                            22            ch?v=87JvCGMC514) –             this-amazing-kite-control-2843667) –
                                                                                            23            acquired Apr. 7, 2015           posted Apr. 8, 2015
                                                                                            24   224.     “High Fiver Accidentally        “Sometimes A High Give Gets Out Of
                                                                                            25            Smacks Girl in Head”            Hand”
                                                                                            26            (https://www.youtube.com/wat    (http://www.break.com/video/high-five-
                                                                                            27            ch?v=XJKbcwtms24) –             and-a-mid-height-one-2843658) – posted
                                                                                            28            acquired Apr. 3, 2015           Apr. 8, 2015
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                                                                                                 9783177-v1
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                                                                                             1   225.     “Elmo and Cookie Monster        “Elmo And Cookie Monster After
                                                                                             2            Share Some Adult Fun”           Hours”
                                                                                             3            (https://www.youtube.com/wat    (http://www.break.com/video/elmo-and-
                                                                                             4            ch?v=-_49VS4nuao) –             cookie-monster-after-hours-2842795) –
                                                                                             5            acquired Apr. 3, 2015           posted Apr. 6, 2015
                                                                                             6   226.     “School Fight Ends in Patty     “Now That’s A School Fight”
                                                                                             7            Cake”                           (http://www.break.com/video/now-that-
                                                                                             8            (https://www.youtube.com/wat    s-a-school-fight-2842793) – posted Apr.
                                                                                             9            ch?v=ioTiEZCGekA) –             6, 2015
                                                                                            10            acquired Apr. 3, 2015
                                                                                            11   227.     “Pool Jumper Trips on Spiked    “Spiked Fence? Just Avoid It”
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            Fence”                          (http://www.break.com/video/spiked-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            (https://www.youtube.com/wat    fence-just-avoid-it-2842801) – posted
                                                                             310-229-9900




                                                                                            14            ch?v=h-Uyl3aPsGQ) –             Apr. 6, 2015
                                                                                            15            acquired Apr. 9, 2015
                                                                                            16   228.     “GoPro Falls off Skydiver and   “Someone Found A GoPro And This
                                                                                            17            Lands Intact”                   Was On It”
                                                                                            18            (https://www.youtube.com/wat    (http://www.break.com/video/footage-
                                                                                            19            ch?v=gF4TTPXu9r0) –             from-a-found-gopro-2842744) – posted
                                                                                            20            acquired Apr. 8, 2015           Apr. 6, 2015
                                                                                            21   229.     “Kids Body Slamming Cars        “Instant Justice! Dumb Kids Jumping On
                                                                                            22            Get Arrested”                   Cars Live To Regret It”
                                                                                            23            (https://www.youtube.com/wat    (http://www.break.com/video/instant-
                                                                                            24            ch?v=udBtfZMQkJU) –             justice-dumb-kids-jumping-on-cars-in-
                                                                                            25            acquired Apr. 6, 2015           plaza-2842624) – posted Apr. 6, 2015
                                                                                            26   230.     “DeAndre Levy Wing Walk”        “Detroit Linebacker Deandre Levy Is
                                                                                            27            (https://www.youtube.com/wat    Absolutely Insane”
                                                                                            28            ch?v=_dBrBr1YhBo) –             (http://www.break.com/video/detroit-
                                                                                                                                          78
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                                                                                                 9783177-v1
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                                                                                             1            acquired Mar. 31, 2015         linebacker-deandre-levy-is-absolutely-
                                                                                             2                                           insane-2841248) – posted Apr. 3, 2015
                                                                                             3   231.     “Guy Pokes Anaconda with       “Why You Don’t Poke An Anaconda
                                                                                             4            Stick”                         With A Short Stick”
                                                                                             5            (https://www.youtube.com/wat   (http://www.break.com/video/why-you-
                                                                                             6            ch?v=ux8O2xI1qV4) –            dont-poke-an-anaconda-with-a-short-
                                                                                             7            acquired Apr. 5, 2015          stick-2841605) – posted Apr. 3, 2015
                                                                                             8   232.     “Teacher Gets Hit in Nuts      “Full Aftermath Video: World’s
                                                                                             9            During Demonstration”          Toughest Man Takes Axe To The Groin,
                                                                                            10            (https://www.youtube.com/wat   Doesn’t Quit”
                                                                                            11            ch?v=ax2HRGd8Rcg) –            (http://www.break.com/video/full-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            acquired Apr. 2, 2015          aftermath-video-physics-teacher-axe-to-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                           penis-2840997) – posted Apr. 2, 2015
                                                                             310-229-9900




                                                                                            14   233.     “Physics Teacher Takes Ax to   “Making Physics Fun”
                                                                                            15            Nuts”                          (http://www.break.com/video/the-worst-
                                                                                            16            (https://www.youtube.com/wat   way-to-teach-kids-physics-2840102) –
                                                                                            17            ch?v=FyDiH_JC68w) –            posted Mar. 31, 2015
                                                                                            18            acquired Apr. 3, 2015
                                                                                            19   234.     “Dad Pulls Son's Baby Tooth    “How They Pull Teeth In Florida”
                                                                                            20            with Chevy Camaro”             (http://www.break.com/video/loose-
                                                                                            21            (https://www.youtube.com/wat   tooth-grab-a-camaro-2840689) – posted
                                                                                            22            ch?v=imtLQS2W7CA) –            Apr. 1, 2015
                                                                                            23            acquired Apr. 7, 2015
                                                                                            24   235.     “Teacher Performs Liquid       “When Chemistry Class Gets Out Of
                                                                                            25            Methane Demo”                  Hand”
                                                                                            26            (https://www.youtube.com/wat   (http://www.break.com/video/chemistry-
                                                                                            27            ch?v=W_5m71oyNys) –            teacher-s-lesson-is-a-bit-intense-
                                                                                            28            acquired Apr. 7, 2015          2840618) – posted Apr. 1, 2015
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                                                                                             1   236.     “Man Gets Stuck in Seatbelt”    “Old People Problems: Seatbelt Edition”
                                                                                             2            (https://www.youtube.com/wat    (http://www.break.com/video/old-
                                                                                             3            ch?v=diQKUWACkQY) –             people-problems-seatbelt-edition-
                                                                                             4            acquired Apr. 14, 2015          2845892) – posted Apr. 14, 2015
                                                                                             5   237.     “Guy Gets Rear-Ended into       “This Is Why You Leave Your Wheels
                                                                                             6            Oncoming Truck”                 Straight While Waiting To Turn”
                                                                                             7            (https://www.youtube.com/wat    (http://www.break.com/video/dashcam-
                                                                                             8            ch?v=tADvFcj7Cm4) –             accident-2845416) – posted Apr. 13,
                                                                                             9            acquired Apr. 11, 2015          2015
                                                                                            10   238.     “Birds Infiltrate Chimney and   “Couple Come Home To Find This In
                                                                                            11            Fly inside Living Room (Part    Their Living Room”
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            1/2)”                           (http://www.break.com/video/couple-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            (https://www.youtube.com/wat    come-home-to-find-this-in-their-living-
                                                                             310-229-9900




                                                                                            14            ch?v=PaRrHpkIBUw) –             room-2845399) – posted Apr. 13, 2015
                                                                                            15            acquired Apr. 13, 2015
                                                                                            16   239.     “Toddler Shows off Dance        “Little Kid Dancing Like It’s His Job”
                                                                                            17            Moves”                          (http://www.break.com/video/this-kid-
                                                                                            18            (https://www.youtube.com/wat    has-a-future-in-dance-2844414) – posted
                                                                                            19            ch?v=AuCIdW6fIik) –             Apr. 12, 2015
                                                                                            20            acquired Apr. 8, 2015
                                                                                            21   240.     “Laid Back Guy Paddle Boards “When You Want To Chill But You
                                                                                            22            on Beach Chair”                 Want To Paddleboard”
                                                                                            23            (https://www.youtube.com/wat    (http://www.break.com/video/paddleboar
                                                                                            24            ch?v=27s33sfLxwo) – acquired ding-for-the-truly-lazy-2844415) –
                                                                                            25            Apr. 2, 2015                    posted Apr. 10, 2015
                                                                                            26   241.     “Gun Flies out of Man's         “The Craziest Gun Recoil Ever”
                                                                                            27            Hands”                          (http://www.break.com/video/you-ll-
                                                                                            28            (https://www.youtube.com/wat    need-a-helmet-to-use-this-gun-2844067)
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                                                                                                                                                                        COMPLAINT
                                                                                                 9783177-v1
                                                                                 Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 82 of 88 Page ID #:82



                                                                                             1            ch?v=kv4ZsFTwbwM) –              – posted Apr. 9, 2015
                                                                                             2            acquired Apr. 9, 2015
                                                                                             3   242.     “Silverback Gorilla Cracks       “This Gorilla Got Close To Killing That
                                                                                             4            Protective Glass at Zoo”         Whole Human Family”
                                                                                             5            (https://www.youtube.com/wat     (http://www.break.com/video/gorilla-
                                                                                             6            ch?v=KK67kaMWN-8) –              got-close-to-killing-that-whole-human-
                                                                                             7            acquired Apr. 16, 2015           family-2847110) – posted Apr. 17, 2015
                                                                                             8   243.     “Principal Refuses To Give       “She Can’t Do That! Thieving Principal
                                                                                             9            Man's Daughter's iPhone Back” Refuses To Give Back iPhone 6 To
                                                                                            10            (https://www.youtube.com/wat     Parent”
                                                                                            11            ch?v=tsTEV2AJ_Gg) –              (http://www.break.com/video/thief-
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            acquired Apr. 16, 2015           principal-refuses-to-return-iphone-6-to-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                             parent-2846716) – posted Apr. 16, 2015
                                                                             310-229-9900




                                                                                            14

                                                                                            15                            Harm Caused by the Infringement;
                                                                                            16                     Jukin’s Efforts to Stop Defendant’s Infringement
                                                                                            17            181. As described above, Defendant has engaged in at least 315 instances
                                                                                            18   of infringement of Jukin’s Original Videos.
                                                                                            19            182. Both Jukin and the individual video creators are harmed by
                                                                                            20   Defendant’s infringement. For example, the infringement causes them to lose
                                                                                            21   license fees that Defendant should have paid for use of the videos, as well as losing
                                                                                            22   the ability to monetize the videos through ad placement and the revenue derived
                                                                                            23   from the network effects of viewers coming to Jukin-owned and managed
                                                                                            24   properties to view the Jukin content (e.g., repeated viewing within Jukin’s
                                                                                            25   channels, conversion of single-time viewers to long-term subscribers, etc.).
                                                                                            26            183. Since Defendant is either using the entire Jukin videos or is using the
                                                                                            27   most significant and valuable portions of Jukin’s videos, after viewers watch the
                                                                                            28   Infringing Videos on Break.com, they are unlikely to go to Jukin’s channels to
                                                                                                                                            81
                                                                                                                                                                           COMPLAINT
                                                                                                 9783177-v1
                                                                                 Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 83 of 88 Page ID #:83



                                                                                             1   watch the Original Videos. As such, Jukin is losing views on its own channels and
                                                                                             2   is missing out on capturing potential new viewers who otherwise may have
                                                                                             3   watched the videos on Jukin’s channels and become repeat viewers. While Jukin
                                                                                             4   derives significant market value from its licenses, Defendant’s actions produce an
                                                                                             5   adverse effect to the licensing market by exposing the material to a significant
                                                                                             6   number of viewers who no longer have a need to view the video from Jukin or
                                                                                             7   Jukin licensee.
                                                                                             8            184. As mentioned above, the Infringing Videos on Break.com are not
                                                                                             9   attributed to Jukin or to the original creator of the video content. However, even if
                                                                                            10   Defendant did attribute some of the videos to Jukin, this does not undo
                                                                                            11   Defendant’s infringement, nor is it acceptable to Jukin.
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12            185. Defendant’s spreading of false and misleading information about
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                                                                                            13   Jukin’s business to potential licensees, in an attempt to persuade them to license
                                                                             310-229-9900




                                                                                            14   their content with Defendant rather than Jukin, harms Jukin’s reputation in the
                                                                                            15   industry and harms potential licensees by providing them with false information to
                                                                                            16   satisfy Defendant’s ulterior motive.
                                                                                            17            186. Jukin has undertaken various efforts to stop Defendant’s infringement,
                                                                                            18   such as filing copyright claims and DMCA takedown notices with Break.com and
                                                                                            19   corresponding with Defendant’s representatives to try to resolve the infringement
                                                                                            20   issues. Despite these efforts, Defendant not only continues to regularly and
                                                                                            21   willfully infringe Jukin’s videos, but the instances of infringement have increased
                                                                                            22   exponentially and require more action by Jukin and involvement of the Court to
                                                                                            23   adjudicate this dispute.
                                                                                            24                               FIRST CLAIM FOR RELIEF
                                                                                            25                COPYRIGHT INFRINGEMENT (17 U.S.C. §§ 106 and 501)
                                                                                            26            187. Jukin incorporates and references the allegations asserted in each of
                                                                                            27   the preceding paragraphs, as if fully set forth herein.
                                                                                            28            188. Defendant has infringed Jukin’s copyright in the Original Videos in
                                                                                                                                            82
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                                                                                                 9783177-v1
                                                                                 Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 84 of 88 Page ID #:84



                                                                                             1   violation of Sections 106 and 501 of the Copyright Act, 17 U.S.C. §§ 106 and 501
                                                                                             2   by copying videos owned or exclusively licensed by Jukin without a license or
                                                                                             3   permission.
                                                                                             4            189. Defendant’s acts of infringement are willful, intentional, continuous,
                                                                                             5   and purposeful, in disregard of and with indifference to Jukin’s rights.
                                                                                             6            190. As a direct and proximate result of said infringement by Defendant,
                                                                                             7   Jukin is entitled to damages in an amount to be proven at trial.
                                                                                             8            191. Jukin is also entitled to Defendant’s profits attributable to the
                                                                                             9   infringement, pursuant to 17 U.S.C. § 505 and otherwise according to law.
                                                                                            10            192. Jukin is entitled to injunctive relief and redress for Defendant’s
                                                                                            11   willful, intentional, and purposeful use and exploitation of the Jukin Original
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   Videos for its own financial benefit with full knowledge that such use constituted
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                                                                                            13   infringement of, and was in disregard of, Jukin’s rights. Defendant’s conduct is
                                                                             310-229-9900




                                                                                            14   causing and, unless immediately enjoined, will continue to cause enormous and
                                                                                            15   irreparable harm to Jukin. Jukin is suffering lost revenue from loss of licensing
                                                                                            16   fees, decreased monetization via YouTube viewers diverted to Defendant’s site,
                                                                                            17   and reputational harm. Defendant may not continue to exploit Jukin’s video
                                                                                            18   compositions without authorization. Defendant’s conduct must immediately be
                                                                                            19   stopped and Jukin must be compensated for its willful acts of infringement.
                                                                                            20            193. As a direct and proximate result of the foregoing acts and conduct,
                                                                                            21   Jukin has sustained and will continue to sustain substantial, immediate, and
                                                                                            22   irreparable injury, for which there is no adequate remedy at law. Jukin is informed
                                                                                            23   and believes, and on that basis avers, that unless enjoined and restrained by this
                                                                                            24   Court, Defendant will continue to infringe Jukin’s rights in the Original Videos.
                                                                                            25   Jukin Media is entitled to preliminary and permanent injunctive relief to restrain
                                                                                            26   and enjoin Counterclaim Defendants’ continuing infringing conduct.
                                                                                            27                              SECOND CLAIM FOR RELIEF
                                                                                            28     STATE UNFAIR COMPETITION (Cal. Bus. & Prof. Code § 17200 et seq.)
                                                                                                                                             83
                                                                                                                                                                            COMPLAINT
                                                                                                 9783177-v1
                                                                                 Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 85 of 88 Page ID #:85



                                                                                             1            194. Jukin incorporates and references the allegations asserted in each of
                                                                                             2   the preceding paragraphs, as if fully set forth herein.
                                                                                             3            195. Upon information and belief, Defendant has engaged in unfair
                                                                                             4   competition by utilizing unfair, deceptive, and fraudulent business practices in its
                                                                                             5   creation of or acquiescence to false user identities that routinely post infringing
                                                                                             6   content on the Break.com site and potentially other means of Defendant’s digital
                                                                                             7   distribution.
                                                                                             8            196. Upon information and belief, Defendant has engaged in unfair
                                                                                             9   competition by intentionally tracking Jukin’s video posting behaviors and copying
                                                                                            10   its videos shortly after they are published, at the time when they are most likely to
                                                                                            11   be monetized, and with the same or similar target audience as Jukin with the intent
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   to directly affect Jukin’s business and siphon viewers to Defendant’s digital
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   properties.
                                                                             310-229-9900




                                                                                            14            197. Upon information and belief, Defendant has engaged in unfair
                                                                                            15   competition by intentionally spreading false and misleading information about
                                                                                            16   Jukin to Jukin’s potential licensors, in an attempt to persuade these video creators
                                                                                            17   to license their content to Defendant instead of with Jukin.
                                                                                            18            198. Defendant’s fraudulent and deceptive acts of unfair competition are
                                                                                            19   willful, intentional, and purposeful, in disregard of and with indifference to Jukin’s
                                                                                            20   rights, and have caused Jukin direct injury and the loss of revenue.
                                                                                            21            199. As a direct and proximate result of said unfair competition by
                                                                                            22   Defendant, Jukin is entitled to damages in an amount to be proven at trial.
                                                                                            23            200. Jukin is also entitled to injunctive relief and redress for Defendant’s
                                                                                            24   willful, intentional, and purposeful acts of unfair competition in disregard of
                                                                                            25   Jukin’s rights.
                                                                                            26                               THIRD CLAIM FOR RELIEF
                                                                                            27         TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC
                                                                                            28                                       ADVANTAGE
                                                                                                                                             84
                                                                                                                                                                            COMPLAINT
                                                                                                 9783177-v1
                                                                                 Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 86 of 88 Page ID #:86



                                                                                             1            201. Jukin incorporates and references the allegations asserted in each of
                                                                                             2   the preceding paragraphs, as if fully set forth herein.
                                                                                             3            202. Upon information and belief, Defendant has engaged in tortious
                                                                                             4   interference with Jukin’s business relations by communicating with individual
                                                                                             5   video creators that Defendant knew were existing or potential licensors of Original
                                                                                             6   Videos to Jukin, and intentionally disrupting the existing or potential business
                                                                                             7   relationship between the video creators and Jukin by providing false and
                                                                                             8   misleading information about Jukin to those video creators.
                                                                                             9            203. Upon information and belief, Defendant has intentionally attempted to
                                                                                            10   persuade individual video creators not to license their videos to Jukin, by falsely
                                                                                            11   informing such potential licensors that Jukin is a much smaller company than
              2049 CENTURY PARK EAST, SUITE 2 100




                                                                                            12   Defendant, and that Jukin’s ability to earn licensing revenue for the licensor is
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   limited because Jukin will only use licensed videos for its own show, instead of
                                                                             310-229-9900




                                                                                            14   further licensing them to a variety of television and video outlets.
                                                                                            15            204. Upon information and belief, Defendant has communicated such false
                                                                                            16   and misleading information to potential licensors in order to persuade them to
                                                                                            17   license their videos to Defendant instead of to Jukin, and to thereby obtain for itself
                                                                                            18   the economic benefit that Jukin was already earning or was expecting to earn.
                                                                                            19            205. Jukin is aware of at least one occasion in which the above allegations
                                                                                            20   occurred because Jukin’s licensor informed Jukin of Defendant’s communications.
                                                                                            21   At this stage, it is impossible for Jukin to know the number of existing or potential
                                                                                            22   licensors to whom Defendant has made similar communications, or the number of
                                                                                            23   existing or potential licensors whom Defendant has successfully convinced to
                                                                                            24   terminate or forego a licensing relationship with Jukin.
                                                                                            25            206. On information and belief, Defendant has engaged in a pattern and
                                                                                            26   practice of malicious, unfair, and deceptive business practices, including regular
                                                                                            27   attempts to solicit and interfere with Jukin’s licensors and potential licensors.
                                                                                            28            207. Defendant’s malicious and deceptive acts of tortious interference are
                                                                                                                                            85
                                                                                                                                                                           COMPLAINT
                                                                                                 9783177-v1
                                                                                 Case 2:15-cv-04411-BRO-GJS Document 1 Filed 06/10/15 Page 87 of 88 Page ID #:87



                                                                                             1   willful, intentional, and purposeful, in disregard of and with indifference to Jukin’s
                                                                                             2   rights, and have caused Jukin direct injury and the loss of revenue.
                                                                                             3            208. As a direct and proximate result of said tortious interference by
                                                                                             4   Defendant, Jukin is entitled to damages in an amount to be proven at trial.
                                                                                             5            209. Jukin is also entitled to injunctive relief and redress for Defendant’s
                                                                                             6   willful, intentional, and purposeful acts of tortious interference in disregard of
                                                                                             7   Jukin’s rights.
                                                                                             8                                  PRAYER FOR RELIEF
                                                                                             9            WHEREFORE, Jukin prays for judgment against Defendant as follows:
                                                                                            10            A.    For damages, or statutory damages, in amount to be determined at
                                                                                            11   trial;
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                                                                                            12            B.    For an accounting of Defendant’s profits attributable to its
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                                                                                            13   infringements of Jukin’s copyright in the Original Videos;
                                                                             310-229-9900




                                                                                            14            C.    For a preliminary and permanent injunction prohibiting Defendant,
                                                                                            15   and its respective agents, servants, employees, officers, successors, licensees and
                                                                                            16   assigns, and all persons acting in concert or participation with it, from continuing
                                                                                            17   to infringe Jukin’s copyrights in the Original Videos;
                                                                                            18            D.    For a preliminary and permanent injunction prohibiting Defendant,
                                                                                            19   and its respective agents, servants, employees, officers, successors, licensees and
                                                                                            20   assigns, and all persons acting in concert or participation with it, from continuing
                                                                                            21   to intentionally interfere with Jukin’s business relations;
                                                                                            22            E.    For prejudgment interest according to law;
                                                                                            23            F.    For Jukin’s reasonable attorneys’ fees and costs incurred in this
                                                                                            24   action; and
                                                                                            25            G.    For such other and further relief as the Court may deem just and
                                                                                            26   proper.
                                                                                            27
                                                                                                 Dated: June 10, 2015                        VENABLE LLP
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                                                                                                                                             By: /s/ Tamany Vinson Bentz
                                                                                             2                                                  Douglas C. Emhoff
                                                                                             3
                                                                                                                                                Tamany Vinson Bentz
                                                                                                                                                Melissa C. McLaughlin
                                                                                             4                                                  Attorneys for Plaintiff Jukin Media,
                                                                                             5                                                  Inc.

                                                                                             6
                                                                                                                             DEMAND FOR JURY TRIAL
                                                                                             7
                                                                                                          Plaintiff Jukin Media, Inc. hereby demands a trial by jury for all issues to
                                                                                             8
                                                                                                 which it is so entitled.
                                                                                             9

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                                                                                                 Dated: June 10, 2015                        VENABLE LLP
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              2049 CENTURY PARK EAST, SUITE 2 100




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                                                                                                                                             By: /s/ Tamany Vinson Bentz
                                                    LOS ANG ELES, CA 90067




                                                                                                                                                Douglas C. Emhoff
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                                                                                            13                                                  Tamany Vinson Bentz
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                                                                                                                                                Melissa C. McLaughlin
                                                                                                                                                Attorneys for Plaintiff Jukin Media,
                                                                                            15                                                  Inc.
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